    Case 2:85-cv-04544-DMG-AGR Document 351-1 Filed 03/16/17 Page 1 of 131 Page ID
                                     #:13076



1       CENTER FOR HUMAN RIGHTS & CONSTITUTIONAL LAW
        Peter A. Schey (Cal. Bar No. 58232)
2       Carlos Holguín (Cal. Bar No. 90754)
3       256 South Occidental Boulevard
        Los Angeles, CA 90057
4       Telephone: (213) 388-8693
5       Facsimile: (213) 386-9484
        Email: pschey@centerforhumanrights.org
6              crholguin@centerforhumanrights.org
7
8       ORRICK, HERRINGTON & SUTCLIFFE LLP
9
        Elena Garcia (Cal. Bar No. 299680)
        egarcia@orrick.com
10      777 South Figueroa Street, Suite 3200
11
        Los Angeles, CA 90017
        Telephone: (213) 629-2020
12
13
        Attorneys for plaintiffs (listing continues on following page)

14                                  UNITED STATES DISTRICT COURT
15                      CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
16
17      JENNY LISETTE FLORES, et al.,    )             Case No. CV 85-4544 DMG (AGRx) 
18                                       )
                Plaintiffs,              )             EXHIBIT A - MOTION FOR ATTORNEYS’
19      - vs -                           )             FEES AND COSTS UNDER THE EQUAL
20                                       )             ACCESS TO JUSTICE ACT AND EXHIBITS
        JEH JOHNSON, SECRETARY, U.S.     )             IN SUPPORT OF MOTION [PART 1 OF 2]
21      DEPARTMENT OF HOMELAND SECURITY, )
        et al.,                          )             Hearing: None scheduled
22
                                         )
23              Defendants.              )
                                      _
24
25      Plaintiffs’ counsel, continued on next page:
26
27
28
    Case 2:85-cv-04544-DMG-AGR Document 351-1 Filed 03/16/17 Page 2 of 131 Page ID
                                     #:13077

1
2       LA RAZA CENTRO LEGAL, INC.
        Michael S. Sorgen (Cal. Bar No. 43107)
3       474 Valencia Street, #295
4       San Francisco, CA 94103
        Telephone: (415) 575-3500
5
6       THE LAW FOUNDATION OF SILICON VALLEY
        LEGAL ADVOCATES FOR CHILDREN AND YOUTH
7       PUBLIC INTEREST LAW FIRM
8       Jennifer Kelleher Cloyd (Cal. Bar No. 197348)
        Katherine H. Manning (Cal. Bar No. 229233)
9       Kyra Kazantzis (Cal. Bar No. 154612)
10      152 North Third Street, 3rd floor
        San Jose, CA 95112
11      Telephone: (408) 280-2437
12      Facsimile: (408) 288-8850
        Email: jenniferk@lawfoundation.org
13            kate.manning@lawfoundation.org
14            kyrak@lawfoundation.org
15      Of counsel:
16
        YOUTH LAW CENTER
17
        Virginia Corrigan (Cal. Bar No. 292035)
18      200 Pine Street, Suite 300 
        San Francisco, CA 94104
19
        Telephone: (415) 543-3379
20
21
22
23
24
25
26
27
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                                                                                     (1 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-1,
                                                                Page
                                                                   Page
                                                                      3 of
                                                                        1 of
                                                                           131
                                                                             34 Page ID
                                       #:13078




                                       No. 15-56434


    IN THE UNITED STATES COURT OF APPEALS FOR THE NINTH CIRCUIT


                           JENNY LISETTE FLORES, et al.
                               Plaintiffs-Appellees,

                                            v.

         LORETTA E. LYNCH, Attorney General of the United States, et al.
                        Defendants-Appellants.


                    ON APPEAL FROM A FINAL JUDGMENT OF
                    THE UNITED STATES DISTRICT COURT FOR
                     THE CENTRAL DISTRICT OF CALIFORNIA
                         D.C. No. 2:85-cv-04544-DMG-AGR


                  MOTION FOR FEES AND COSTS UNDER THE
                      EQUAL ACCESS TO JUSTICE ACT


  PETER A. SCHEY                                 ELENA GARCIA
  CARLOS R. HOLGUIN                              ORRICK, HERRINGTON &
  CENTER FOR HUMAN RIGHTS AND                    SUTCLIFFE LLP
  CONSTITUTIONAL LAW                             777 South Figueroa Street, # 3200
  256 S. Occidental Blvd.                        Los Angeles, CA 90017
  Los Angeles, CA. 90057                         Tel: (213) 629-2020
  Tel: (213) 388-8693                            Email: egarcia@orrick.com
  Fax: (213) 386-9484
  Email: pschey@centerforhumanrights.org
  crholguin@centerforhumanrights.org

  Attorneys for Plaintiffs-Appellees


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                                                                                     (2 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-1,
                                                                Page
                                                                   Page
                                                                      4 of
                                                                        2 of
                                                                           131
                                                                             34 Page ID
                                       #:13079


  Attorneys for Plaintiffs-Appellees continued:


  MICHAEL S. SORGEN
  LA RAZA CENTRO LEGAL, INC.
  474 Valencia Street, #295
  San Francisco, CA 94103
  Telephone: (415) 575-3500

  JENNIFER KELLEHER CLOYD
  KATHERINE H. MANNING
  KYRA KAZANTZIS
  ANNETTE KIRKHAM
  THE LAW FOUNDATION OF SILICON VALLEY
  LEGAL ADVOCATES FOR CHILDREN AND YOUTH
  PUBLIC INTEREST LAW FIRM
  152 North Third Street, 3rd floor
  San Jose, CA 95112
  Telephone: (408) 280-2437
  Facsimile: (408) 288-8850
  Email: jenniferk@lawfoundation.org
         kate.manning@lawfoundation.org
         kyrak@lawfoundation.org
         annettek@lawfoundation.org

  Attorneys for Plaintiffs-Appellees


  Of counsel for Plaintiffs-Appellees

  ALICE BUSSIERE
  VIRGINIA CORRIGAN
  YOUTH LAW CENTER
  200 Pine Street, Suite 300
  San Francisco, CA 94104
  Telephone: (415) 543-3379
  Email: abussiere@ylc.org
         vcorrigan@ylc.org

  ///

                                           2
                                                                                     (3 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-1,
                                                                Page
                                                                   Page
                                                                      5 of
                                                                        3 of
                                                                           131
                                                                             34 Page ID
                                       #:13080


                 Plaintiffs/Appellees hereby move the Court for an Order awarding

  them attorney’s fees and costs pursuant to the Equal Access to Justice Act, 28

  U.S.C. § 2412(d), for prosecution of their February 2, 2015, motion to enforce the

  Flores Agreement [Doc. # 100]1 and the appeal before this Court which resulted in

  a decision in favor of Plaintiffs/Appellants entered July 6, 2016. Ninth Cir. Docket

  # 63.

           As set forth in the accompanying memorandum in support of this motion,

  Plaintiffs allege they are prevailing parties, defendants’ position in this litigation

  was not substantially justified, and no special circumstances make an award of fees

  unjust.

  Dated: November 2, 2016                         Respectfully submitted,

                                                  CENTER FOR HUMAN RIGHTS &
                                                  CONSTITUTIONAL LAW
                                                  Peter A. Schey
                                                  Carlos Holguín

                                                  ORRICK, HERRINGTON & SUTCLIFFE LLP
                                                  Elena García

                                                  LA RAZA CENTRO LEGAL, INC.
                                                  Michael Sorgen
                                                  Maria Victoria Castro
                                                  Amanda Alvarado Ford




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      Unless otherwise noted, citations to the docket are to the District Court’s docket.

                                              3
                                                                                     (4 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-1,
                                                                Page
                                                                   Page
                                                                      6 of
                                                                        4 of
                                                                           131
                                                                             34 Page ID
                                       #:13081




                                               LAW FOUNDATION OF SILICON
                                               VALLEY - LEGAL ADVOCATES FOR
                                               CHILDREN & YOUTH
                                               Jennifer Kelleher Cloyd
                                               Katherine H. Manning
                                               Kyra Kazantzis
                                               Annette Kirkham

                                               Of counsel:
                                               YOUTH LAW CENTER
                                               Alice Bussiere
                                               Virginia Corrigan

                                               /s/__Peter Schey_____
                                               Attorneys for Plaintiffs/Appellees


        ///




                                           4
                                                                                     (5 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-1,
                                                                Page
                                                                   Page
                                                                      7 of
                                                                        5 of
                                                                           131
                                                                             34 Page ID
                                       #:13082




                                           TABLE OF CONTENTS

   I.	   Introduction ........................................................................................................ 1	  

   II.	   Plaintiffs are eligible for an award of EAJA attorney’s fees............................. 2	  

     A.	   Plaintiffs are “prevailing” parties. .................................................................. 3	  

     B.	   Plaintiffs’ net worth is far below the EAJA’s $2,000,000.00 ceiling............. 5	  

   III.	   Defendants’ position was without substantial justification and no special
   circumstances make an award of fees unjust. ......................................................... 6	  

   IV.	   Plaintiffs’ lodestar fee calculation. ................................................................. 13	  

     A.	   Inflation-adjusted EAJA hourly rate. ........................................................... 14	  

     B.	   Hours. ........................................................................................................... 15	  

     C.	   Lodestar computation. .................................................................................. 16
     	  
   V.	   Special factors warrant a fee award above the inflation-adjusted
   statutory rate. ......................................................................................................... 16	  

   VI.	   Plaintiffs should be awarded costs. ................................................................ 21	  

   VII.	  Conclusion ..................................................................................................... 22	  

     CERTIFICATE OF SERVICE ........................................................................... 24	  




                                                                  i
                                                                                     (6 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-1,
                                                                Page
                                                                   Page
                                                                      8 of
                                                                        6 of
                                                                           131
                                                                             34 Page ID
                                       #:13083


                                         TABLE OF AUTHORITIES

  Cases	  

  Animal Lovers Vol. Assn. v. Carlucci, 867 F.2d 1224 (9th Cir. 1989) ................... 14

  Bank of West v. Superior Court, 2 Cal. 4th 1254 (1998) .......................................... 8

  Bay Area Peace Navy v. United States, 914 F.2d 1224 (9th Cir. 1990) ................... 9

  Blum v. Stenson, 465 U.S. 886, (1984) ................................................................... 21

  Buchannon Bd. & Care Home, Inc. v. West Virginia Dep’t of Health and Human

     Res., 532 U.S. 598 (2000) ..................................................................................... 4

  Buckhannon Board & Care Home, Inc. v. West Virginia Department of Health &

     Human Resources, 532 U.S. 598 (2001) .............................................................. 3

  Bunikyte, ex rel. Bunikiene v. Chertoff, No. A-07-CA-164-SS, 2007 WL 1074070,

     at *3 (W.D. Tex. Apr. 9, 2007) ............................................................................. 9

  Cobell v. Norton, 407 F. Supp. 2d 140 (D. D.C. 2005) ............................................ 5

  Fang v. Gonzales, No. 03-71352, 2006 WL 5669901, *3 (9th Cir. Oct. 30, 2006)

     (Unpub. Disp.) .................................................................................................... 17

  Flores v. Lynch, No. CV 85-04544 DMG, 2015 WL 9115880 (C.D. Cal. August

     21, 2015) ............................................................................................................... 3

  Gutierrez v. Barnhart, 274 F.3d 1255 (9th Cir. 2001) ............................................. 6

  Hensley v. Eckerhart, 461 U.S. 424 (1983) ............................................................ 14

  Hoang Ha v. Schweiker, 707 F.2d 1104 (9th Cir. 1983) .......................................... 6



                                                               ii
                                                                                     (7 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-1,
                                                                Page
                                                                   Page
                                                                      9 of
                                                                        7 of
                                                                           131
                                                                             34 Page ID
                                       #:13084


  Ibrahimin v. US Dep’t Homeland Security, 2016 WL 4527560, *4-6 (9th Cir. Aug.

     30, 2016) ............................................................................................................... 6

  In re Mgndichian, 312 F. Supp. 2d 1250 (C.D. Cal. 2003) .................................. 3, 7

  Kali v. Bowen, 854 F.2d 329 (9th Cir. 1988) ............................................................ 6

  Li v. Keisler, 505 F.3d 913 (9th Cir. 2007)............................................................... 8

  Love v. Reilly, 924 F.2d 1492 (9th Cir. 1991) .................................................... 5, 17

  Meier v. Colvin, 727 F.3d 867 (9th Cir. 2013) ......................................................... 6

  Miller v. French, 530 U.S. 327 (2000) ................................................................... 10

  Muhur v. Ashcroft, 382 F.3d 653 (7th Cir. 2004) ................................................... 17

  Nadarajah v. Holder, 569 F.3d 906 (9th Cir. 2009) ............................................... 17

  Orantes-Hernandez v. Holder, 713 F. Supp. 2d 929 (C.D. Cal. 2010) .................. 18

  Perez-Arellano v. Smith, 279 F.3d 791 (9th Cir. 2002) ............................................ 4

  Pierce v. Underwood, 487 U.S. 552 (1988) ............................................................. 6

  Pierce v. Underwood, 487 U.S. 552 (1988) ........................................................... 17

  Prandine v. National Tea Co., 585 F.2d 47 (3d Cir. 1978) .................................... 16

  Ramon-Sepulveda v. INS, 863 F.2d 1458 (9th Cir. 1988) ...................................... 15

  Rufo v. Inmates of Suffolk Cnty. Jail, 522 U.S. 367 (1992) .................................... 11

  Ruiz ex rel. E.R. v. U.S., No. 13-CV-1241 (KAM)(SMG), 2014 WL4662241, at *7

     (E.D.N.Y. September 18, 2014) ........................................................................... 9

  Sorenson v. Mink, 239 F.3d 1140, 1145 n.2 (9th Cir. 2001) .................................. 14


                                                               iii
                                                                                      (8 of 273)
Case 2:85-cv-04544-DMG-AGR
          Case: 15-56434, 11/02/2016,
                               Document
                                      ID: 10184263,
                                          351-1 Filed
                                                    DktEntry:
                                                      03/16/1765-1,
                                                                 Page
                                                                    Page
                                                                      10 8ofof131
                                                                               34 Page ID
                                        #:13085


  Sorenson v. Mink, 239 F.3d 1140, 1148 (9th Cir. 2001) ........................................ 15

  Sorenson v. Mink, supra, 239 F.3d at 1145 ............................................................ 14

  Stanford Dailey v. Zurcher, 64 F.R.D. 680 (N.D. Cal. 1974) ................................ 16

  Thangaraja v. Gonzales, 428 F.3d 870, 876 (9th Cir. 2005) .................................. 17

  Thompson v. Enomoto, 915 F.2d 1383, 1388 (9th Cir. 1990) .................................. 8

  United States v. 22249 Dolorosa St., 190 F.3d 977 (9th Cir. 1999) ......................... 6

  Statutes

  28 U.S.C. § 1920..................................................................................................... 21

  28 U.S.C. § 2412(a), (d)(1)(A) ............................................................................... 21

  28 U.S.C. § 2412(d) ...................................................................................... 1, 2, 3, 7

  28 U.S.C. § 2412(d)(1)(A) ............................................................................ 2, 13, 21

  28 U.S.C. § 2412(d)(2)(A) (1994) .......................................................................... 14

  28 U.S.C. § 2412(d)(2)(B)(i) .................................................................................... 5

  28 U.S.C. 2412(d)(1)(A) ........................................................................................... 6

  28 U.S.C. § 2412(a) ................................................................................................ 21

  Pub. L. No. 96-481, 94 Stat. 2325 ............................................................................ 2


  Other Authorities

  H.R. Report No. 96-1418, 96th Cong., 2d Sess. at 11 (1980), reprinted in 1980

     U.S. Code Cong. & Admin. News 4989-90 ......................................................... 7

  Trafficking Victim Protection Reauthorization Act of 2008 (TVPRA) ................. 11

                                                             iv
                                                                                      (9 of 273)
Case 2:85-cv-04544-DMG-AGR
          Case: 15-56434, 11/02/2016,
                               Document
                                      ID: 10184263,
                                          351-1 Filed
                                                    DktEntry:
                                                      03/16/1765-1,
                                                                 Page
                                                                    Page
                                                                      11 9ofof131
                                                                               34 Page ID
                                        #:13086


  Pub. L. No. 96-481, 94 Stat. 2325………………………………………………….1

  H.R. Report No. 96-1418, 96th Cong., 2d Sess. at 11 (1980), reprinted in 1980

     U.S. Code Cong. & Admin. News 4989-90 ......................................................... 6



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                                                   v
                                                                                     (10 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-1,
                                                                Page
                                                                   Page
                                                                      1210
                                                                         of of
                                                                            13134 Page ID
                                        #:13087


       PLAINTIFFS’/APPELLEES’ MEMORANDUM IN SUPPORT OF MOTION FOR FEES AND
                    COSTS UNDER THE EQUAL ACCESS TO JUSTICE ACT

  I.      Introduction

          Plaintiffs/Appellees (“Plaintiffs”) move the Court for an Order awarding

  them attorney’s fees and costs pursuant to the Equal Access to Justice Act, 28

  U.S.C. § 2412(d), for prosecution of their February 2, 2015, motion to enforce the

  Flores Agreement. [Doc. # 100] and appeal before this Court.2

          Plaintiffs allege (1) they are prevailing parties; (2) defendants’ position in

  this litigation was not substantially justified; and (3) no special circumstances

  make an award of fees unjust.

          Plaintiffs’ claims and the District Court’s and this Court’s disposition

  thereof are explained in detail in the lower courts’ orders granting relief [Doc. ##

  177 and 189] and this Court’s decision affirming the lower court’s Orders in all

  significant respects. [9th Cir. Docket # 63].

          Pursuant to the Equal Access to Justice Act, Plaintiffs now seek attorney’s

  fees for work performed before the District Court and this Court, and for costs

  incurred in the prosecution of this action in the District Court.




  2
    In the event this Court determines that the District Court should adjudicate this
  fees motion in the first instance, the matter may be remanded to the lower court for
  that purpose.

                                              1
                                                                                     (11 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-1,
                                                                Page
                                                                   Page
                                                                      1311
                                                                         of of
                                                                            13134 Page ID
                                        #:13088


         The EAJA allows litigants to recover fees and costs in actions certain against

  the United States, thus encouraging the vindication of rights by persons who would

  otherwise be deterred from challenging governmental action because of the

  expense of litigation. Pub. L. No. 96-481, 94 Stat. 2325. In pertinent part, the

  EAJA provides:

         Except as otherwise specifically provided by statute, a court shall award to a
         prevailing party other than the United States fees and other expenses, in
         addition to any costs awarded pursuant to subsection (a), incurred by that
         party in any civil action (other than cases sounding in tort), including
         proceedings for judicial review of agency action, brought by or against the
         United States in any court having jurisdiction of that action, unless the court
         finds that the position of the United States was substantially justified or that
         special circumstances make an award unjust.

  28 U.S.C. § 2412(d)(1)(A).

         As will be seen, Plaintiffs satisfy all requirements for an award of EAJA fees

  and costs; the Court should accordingly grant the instant motion and award fees

  and costs as herein requested.

  II.    Plaintiffs are eligible for an award of EAJA attorney’s fees.

         Pursuant to 28 U.S.C. § 2412(d), applicants for an award of EAJA attorney’s

  fees must show they are “eligible” parties: that is, (i) that they prevailed on their

  claims; and (ii) have income under the EAJA’s limit.

         Thereafter, the burden shifts to the Government to prove that its position

  before and during the litigation was substantially justified or that special



                                             2
                                                                                     (12 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-1,
                                                                Page
                                                                   Page
                                                                      1412
                                                                         of of
                                                                            13134 Page ID
                                        #:13089


  circumstances make an award of attorney’s fees unjust. See generally In re

  Mgndichian, 312 F. Supp. 2d 1250, 1255 (C.D. Cal. 2003); 28 U.S.C. § 2412(d)

  (“A party seeking an award of fees ... shall also allege that the position of the

  United States was not substantially justified.”).

         A.    Plaintiffs are “prevailing” parties.

         The first requirement for EAJA fees is that the requesting party prevailed in

  the underlying litigation. Under Buckhannon Board & Care Home, Inc. v. West

  Virginia Department of Health & Human Resources, 532 U.S. 598, 604-05 (2001),

  to prove prevailing party status, an EAJA petitioner must establish (1) a “material

  alteration of the legal relationship of the parties,” and (2) a “judicial imprimatur on

  the change.” The Petitioner class is the prevailing party in this litigation. Id.

         This Court’s July 2016 Opinion affirmed two holdings made by the District

  Court in Flores v. Lynch, No. CV 85-4544 DMG (C.D. Cal. July 24, 2015) (“July

  2015 Order”) and Flores v. Lynch, No. CV 85-04544 DMG, 2015 WL 9115880

  (C.D. Cal. August 21, 2015) (“August 2015 Order”).

         The District Court’s first holding required that the Government treat

  accompanied minors apprehended immigrating to the United States consistent with

  its obligations under the parties’ Settlement Agreement. This Court agreed with

  the District Court that “[t]he plain language of the Agreement clearly encompasses

  accompanied minors” consistent with the Settlement agreement’s text, structure,


                                             3
                                                                                     (13 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-1,
                                                                Page
                                                                   Page
                                                                      1513
                                                                         of of
                                                                            13134 Page ID
                                        #:13090


  policy scope, provisions specifying instructions on how to manage situations

  involving unaccompanied minors (as opposed to “minors” more generally), and

  explicit exceptions to the definition of the minor class.

         The District Court’s decisions also denied the Government’s precautionary

  motion to modify the Agreement to exclude accompanied minors. This Court

  affirmed this Court’s denial of the Government’s motion to modify the Agreement

  pursuant to Rule 60(b)(5).

         Because the Plaintiff class obtained the relief sought in all substantial

  respects and further review of that relief is no longer possible, the Plaintiff class is

  the prevailing party in this litigation.

         A party prevails under the EAJA when it has been granted “some relief by a

  court.” Buchannon Bd. & Care Home, Inc. v. West Virginia Dep’t of Health and

  Human Res., 532 U.S. 598, 603 (2000).3 In Buckhannon the Court made clear that

  a party’s obtaining an enforceable, court-approved settlement satisfies this test. 532

  U.S. at 604.

         Here, the District Court Orders and this Court’s decision affirming in all

  substantial respects those Orders establish Plaintiffs’ status as prevailing parties for

  EAJA purposes. The District Court’s Orders grant relief to class members and

  3
   Although Buckhannon involved other fee-shifting statutes and not the EAJA, the
  Ninth Circuit has held that the requirements of a prevailing party announced in that
  decision are applicable to EAJA awards as well. Perez-Arellano v. Smith, 279 F.3d
  791, 793 (9th Cir. 2002).

                                              4
                                                                                     (14 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-1,
                                                                Page
                                                                   Page
                                                                      1614
                                                                         of of
                                                                            13134 Page ID
                                        #:13091


  Defendants have adjusted their policies and practices in response to the Court’s

  Orders.

         B.    Plaintiffs’ net worth is far below the EAJA’s $2,000,000.00 ceiling.

         28 U.S.C. § 2412(d)(2)(B)(i) defines a “party” eligible to receive attorney’s

  fees as “an individual whose net worth did not exceed $2,000,000 at the time the

  civil action was filed...”

         Here, it is all but self-evident that plaintiff class members meet this

  requirement: all are undocumented immigrant or refugee children who in

  Defendants’ custody in family detention centers. Declaration of Peter A. Schey,

  Exhibit 1. Such class members are indigent. Id. There is no substantial dispute that

  these class members have far less than the maximum net worth the EAJA

  prescribes. See, e.g., Cobell v. Norton, 407 F. Supp. 2d 140, 148-49 (D. D.C. 2005)

  (“affidavits signed by the class representatives, attesting to the fact that their net

  worth fell within EAJA statutory guidelines at the time the litigation was initiated

  ... amply satisfy the requirements of the statute for the entire class.”).

         In sum, plaintiffs have both prevailed and meet the EAJA’s financial

  standard for a fee award. Therefore, “an award of fees is mandatory under the

  EAJA unless the government’s position is substantially justified or special

  circumstances exist that make an award of fees unjust.” Love v. Reilly, 924 F.2d

  1492, 1495 (9th Cir. 1991).


                                              5
                                                                                     (15 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-1,
                                                                Page
                                                                   Page
                                                                      1715
                                                                         of of
                                                                            13134 Page ID
                                        #:13092


  III.   Defendants’ position was without substantial justification and no special
         circumstances make an award of fees unjust.

         The second and third requirements for an award of EAFA fees are that the

  Government’s position was not “substantially justified” and no “special

  circumstances make a fee award unjust.” 28 U.S.C. § 2412(d)(1)(A).

         The Government has the burden of proof with respect to both matters.

  United States v. 22249 Dolorosa St., 190 F.3d 977, 982 (9th Cir. 1999); Hoang Ha

  v. Schweiker, 707 F.2d 1104, 1106 (9th Cir. 1983). Following an applicant’s

  allegation, “[t]he burden of establishing ‘that the position of the United States was

  substantially justified,’ . . . must be shouldered by the Government.” Scarborough

  v. Principi, 541 U.S. 401, 414 (2004).4


  4
    “To show substantial justification for [its] position, the [government] has the
  burden of establishing that the conduct had a ‘reasonable basis both in law and
  fact.’” Kali v. Bowen, 854 F.2d 329, 332 (9th Cir. 1988) (quoting Pierce v.
  Underwood, 487 U.S. 552, 565 (1988)) (emphasis added). In evaluating the
  Government’s showing, courts consider its conduct both prior to and during
  litigation. Abela v. Gustafson, 888 F.2d 1258, 1264 (9th Cir. 1989); Gutierrez v.
  Barnhart, 274 F.3d 1255, 1259 (9th Cir. 2001) (“Thus we ‘must focus on two
  questions: first, whether the government was substantially justified in taking its
  original action; and, second, whether the government was substantially justified in
  defending the validity of the action in court.’”). The “position of the United States”
  includes both the underlying agency action that gave rise to the civil action as well
  as the Government’s litigation position. Meier v. Colvin, 727 F.3d 867, 870 (9th
  Cir. 2013). Either of these aspects, standing alone, “could be sufficiently
  unreasonable . . . to render the entire Government position not ‘substantially
  justified’ …” Healey v. Leavitt, 485 F.3d 63, 67 (2d Cir. 2007)
  While the legitimacy of the Government’s position may not be determined per
  each of its argument on any single issue, Ibrahimin v. US Dep’t Homeland
  Security, 2016 WL 4527560, *4-6 (9th Cir. Aug. 30, 2016) that determination may

                                            6
                                                                                     (16 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-1,
                                                                Page
                                                                   Page
                                                                      1816
                                                                         of of
                                                                            13134 Page ID
                                        #:13093


         Plaintiffs have alleged Defendants’ position was without substantantial

  justification and that no special circumstances make a fee award unjust. At this

  juncture, they accordingly satisfy the “substantial justification” and “special

  circumstances” prongs of the test. In re Mgndichian, 312 F. Supp. 2d 1250, 1255

  (C.D. Cal. 2003) (prevailing party need only “alleg[e] that the government's

  position was not substantially justified and that no special circumstances exist that

  make an award unjust.”); see also 28 U.S.C. § 2412(d) (“A party seeking an award

  of fees ... shall also allege that the position of the United States was not

  substantially justified.”).

         Nevertheless, it is clear in this case that the Government’s pre-litigation and

  litigation position that accompanied children were not class members lacked

  substantial justification.

         First, Defendants ignored the requirements of the Agreement to meet and

  confer before changing their practices under the Agreement. They also failed to




  be made on the basis of any particular, discrete stage of the litigation, including the
  Government’s appeal. Meier v. Colvin, 727 F.3d 867, 873 (9th Cir. 2013)
  (Recognizing that “the government’s litigation position,” defending an
  administrative law judge’s errors on appeal, “lacked the requisite
  justification.”).The legislative history of the EAJA makes clear that the District
  Court may consider whether the court was able to resolve the case on the pleadings
  alone and whether the Government had lost other cases on the same or similar
  issues. See H.R. Report No. 96-1418, 96th Cong., 2d Sess. at 11 (1980), reprinted
  in 1980 U.S. Code Cong. & Admin. News 4989-90.

                                             7
                                                                                     (17 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-1,
                                                                Page
                                                                   Page
                                                                      1917
                                                                         of of
                                                                            13134 Page ID
                                        #:13094


  seek modification of the Settlement before beginning to treat accompanied children

  as if they were not class members.

         Second, the act of unlawfully detaining accompanied minors was

  inconsistent with the Government’s previous practice of releasing minors pursuant

  to the Agreement without regard to their accompanied or unaccompanied status.

  July 2015 Order at *9 (“It is uncontroverted that, prior to June 2014, ICE generally

  released children and parents upon determining that they were neither a significant

  flight risk nor a danger to safety.”)

         Third, the argument made to the courts in support of its primary position

  required the adoption of a doctrinal rule opposite of that expressed by California

  contract law.

         It is well established that federal courts interpret a consent decree according

  to the contract law of the forum state. Thompson v. Enomoto, 915 F.2d 1383, 1388

  (9th Cir. 1990). California contract law recognizes that the plain language of a

  legally enforceable agreement’s terms control its construction, unless such

  language is vague or ambiguous. Bank of West v. Superior Court, 2 Cal. 4th 1254,

  1264 (1998). The plain meaning of the term “minor” extends to all those under the

  age of 18, and thus the Government’s position found no support in basic contract

  interpretation principles. See Li v. Keisler, 505 F.3d 913, 921 (9th Cir. 2007) (the




                                             8
                                                                                     (18 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-1,
                                                                Page
                                                                   Page
                                                                      2018
                                                                         of of
                                                                            13134 Page ID
                                        #:13095


  existence of clearly established law related to the Government’s position prevents a

  finding of substantial justification).

         Other courts had already drawn that conclusion when interpreting the

  Agreement to apply to all minors, including accompanied children. Bunikyte, ex

  rel. Bunikiene v. Chertoff, No. A-07-CA-164-SS, 2007 WL 1074070, at *3 (W.D.

  Tex. Apr. 9, 2007) (“[T]he Flores Settlement, by its terms, applies to all ‘minors in

  the custody of ICE and DHS, not just unaccompanied minors”) (emphasis added);

  Ruiz ex rel. E.R. v. U.S., No. 13-CV-1241 (KAM)(SMG), 2014 WL4662241, at *7

  (E.D.N.Y. September 18, 2014) (“[B]y its terms [the Settlement Agreement]

  applies to ‘any person under the age of eighteen (18) years who is detained in the

  legal custody of the INS.’”). Because there existed meaningful precedent deciding

  the question at the heart of the Government’s primary position, the Government

  lacked substantial justification first to implement its detention practices, second to

  proffer that position to the District Court, and third to rehash that position on

  appeal. Bay Area Peace Navy v. United States, 914 F.2d 1224, 1231 (9th Cir.

  1990).

         Fourth, the arguments made on appeal in support of the Government’s

  primary position came after the District Court had clearly and methodically already

  rejected them. August 2015 Order at *7 (“Defendants reiterate a number of

  arguments they raised in earlier briefing—which this Court rejected—including on


                                             9
                                                                                     (19 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-1,
                                                                Page
                                                                   Page
                                                                      2119
                                                                         of of
                                                                            13134 Page ID
                                        #:13096


  the central issue of whether the consent decree applies to accompanied children”);

  July 2016 Opinion at *14, *22-23 (“The government nevertheless argues that

  certain terms of the Settlement show that it was never meant to cover accompanied

  minors. . . . The government first argues that the Settlement should be modified

  because of the surge in family units . . . The government also argues that the law

  has changed substantially . . . The government also argues that some provisions of

  the TVPRA . . . are inconsistent with the Settlement.”).

         Both the Government’s pre-litigation conduct and its litigation position

  before the District Court and the Court of Appeals that the Agreement only

  protected unaccompanied minors “lacked the requisite justification.” Meier, 727

  F.3d at 873.

         The Government’s fallback position seeking modification of the Agreement

  was similarly unjustified for several reasons.

         An equitable modification of a consent decree under Rule 60(b)(5) is proper

  in only limited circumstances. Rufo v. Inmates of Suffolk Cnty. Jail, 522 U.S. 367,

  383 (1992). Such circumstances are largely limited to instances where either a

  change in law makes compliance with both the consent decree and new law

  “impermissible,” Miller v. French, 530 U.S. 327, 347-48 (2000), or a change in

  fact, unanticipated at the time of agreement, makes complying with the consent




                                            10
                                                                                     (20 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-1,
                                                                Page
                                                                   Page
                                                                      2220
                                                                         of of
                                                                            13134 Page ID
                                        #:13097


  decree unduly burdensome. Rufo v. Inmates of Suffolk Cnty. Jail, 522 U.S. 367,

  385 (1992).

         Here, the Government unilaterally modified its policy as if the Court had

  granted a motion to modify the Agreement long before Defendants bothered to

  seek modification allowing them to treat accompanied children as if they were not

  class members and therefore were entitled to none of the Agreement’s protections.

         The Government offered the magnitude of a temporary 2014 “influx” as the

  supposed change in fact justifying its change in policy and belated proposed

  modification. What matters for purpose of receiving an equitable modification of

  the Agreement is whether the Government anticipated influxes when agreeing to

  the Agreement’s terms—not whether its anticipated specifications later proved

  accurate. Because the Government obviously anticipated an influx before adopting

  the Agreement, its occurrence could not be a reasonable basis for its modification.

  The Government also proffered three changes to federal immigration laws to

  justify its proposed modification. The first two include the adoption of the

  Homeland Security Act, Pub. L. No. 107-296, 116 Stat. 2135 (Nov. 25, 2002), and

  the Trafficking Victims Protection Reauthorization Act of 2008 (TVPRA), Pub. L.

  No. 110-457, 122 Stat. 5044 (2008). This Court and the Court of Appeals made

  clear that these changes in no way made the Government’s compliance with the

  Agreement impermissible or impossible. The third is the Illegal Immigration


                                            11
                                                                                     (21 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-1,
                                                                Page
                                                                   Page
                                                                      2321
                                                                         of of
                                                                            13134 Page ID
                                        #:13098


  Reform and Immigrant Responsibility Act of 1996, Pub. L. No. 104-208, 110 Stat.

  3009-546 (1996). This law was passed before the Agreement was executed by all

  parties and became legally enforceable.

         As the District Court pointed out, the HSA included a savings clause for

  agreements completed by an affected agency prior to the HSA’s adoption in 2002.

  July 2015 Order at *21. Because the Government consented to the Settlement

  Agreement six years before the HSA was adopted, its obligations under that

  agreement were not affected. This conclusion is further supported by the District

  Court’s finding that the Government had performed its obligations to accompanied

  minors during the thirteen years following the HSA’s passage. July 2015 Order at

  *21. With respect to the TVPRA, as the District Court pointed out, the Agreement

  controls the release of minors as opposed to affecting the grounds for removal, at

  which the TVPRA is directed. July 2015 Order at *22.

         The IRRIRA was passed into law before the Settlement Agreement became

  legally enforceable. July 2016 Opinion at *22. How the Government explains the

  relationship between IIRIRA’s adoption and the Agreement shows that it lacked a

  reasonable basis to seek the modification. The Government did not claim that the

  change in law occurred after it adopted the Agreement. Rather, the Government

  ties IIRIRA’s adoption to the time the Agreement was being drafted. Appellant

  9th Cir. Opening Br. At 68 (“the Agreement when drafted did not foresee the need


                                            12
                                                                                     (22 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-1,
                                                                Page
                                                                   Page
                                                                      2422
                                                                         of of
                                                                            13134 Page ID
                                        #:13099


  to detain families . . . pursuant to IIRIRA, which created expedited removal”)

  (emphasis added). Because Congress passed the IIRIRA before the Agreement was

  executed by all parties and later approved by the District Court, there was no

  change upon which the Government could reasonably base its proposed

  modification seventeen years later.

         As this Court points out, the Government’s position lacks substantial

  justification because its proposed modifications to the Agreement—excluding an

  entire class of minors of all protections offered by the Agreement—could not be

  reasonably described as “suitably-tailored,” a point that this Court also

  acknowledged. July 2016 Opinion at 22 (“[W]e cannot fathom how a ‘suitably

  tailored’ response to the change in circumstances would be exempt an entire

  category of migrants from the Settlement, as opposed to, say relaxing certain

  requirements applicable to all migrants.”).

         Finally, no special circumstances exist that would make the mandatory

  award of fees unjust. 28 U.S.C. § 2412(d)(1)(A). The Agreement’s plain language

  requires that the Government’s obligations under the Agreement apply to all

  minors and that no change in law or fact justified equitable modification under

  Rule 60(b)(5).

  IV.    Plaintiffs’ lodestar fee calculation.




                                                 13
                                                                                     (23 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-1,
                                                                Page
                                                                   Page
                                                                      2523
                                                                         of of
                                                                            13134 Page ID
                                        #:13100


         An EAJA fee award “lodestar” figure is calculated by multiplying the

  number of hours reasonably expended on the litigation by the inflation-adjusted

  EAJA hourly rate. Hensley v. Eckerhart, 461 U.S. 424, 433 (1983).5

         A.    Inflation-adjusted EAJA hourly rate.

         The EAJA provides that for work performed after March 29, 1996,

  “attorney fees shall not be awarded in excess of $125 per hour unless the court

  determines that an increase in the cost of living or a special factor, such as the

  limited availability of qualified attorneys for the proceedings involved, justifies a

  higher fee.” 28 U.S.C. § 2412(d)(2)(A) (1994).6

         A cost of living increase in the base EAJA rate is granted in all but unusual

  circumstances. Animal Lovers Vol. Assn. v. Carlucci, 867 F.2d 1224, 1227 (9th

  Cir. 1989). “To withhold an inflation adjustment without reason would undermine

  the purpose of EAJA to remove the financial disincentive to challenge wrongful

  government action.” Id.

         The cost-of-living adjustment is calculated by multiplying the $125 hourly

  statutory rate by the consumer price index for urban consumers (CPI-U) for the

  5
    Hensley addresses the definition of a “prevailing party” under 42 U.S.C. 1988; its
  holding, however, is applicable to EAJA fee awards as well. See Sorenson v. Mink,
  239 F.3d 1140, 1145 n.2 (9th Cir. 2001).
  6
    On March 29, 1996, the EAJA was amended to increase the maximum fee to
  $125 per hour, plus any “cost of living” and “special factor” adjustments. The $125
  per hour cap applies to cases commenced on or after March 29, 1996. See
  generally, Sorenson v. Mink, supra, 239 F.3d at 1145. Since this action
  commenced in 2005, the apposite statutory base rate is $125 hourly.

                                             14
                                                                                     (24 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-1,
                                                                Page
                                                                   Page
                                                                      2624
                                                                         of of
                                                                            13134 Page ID
                                        #:13101


  year in which the services were performed, and by then dividing the product by the

  CPI-U for the month in which the statutory hourly rate was set (March 1996).

  Sorenson v. Mink, 239 F.3d 1140, 1148 (9th Cir. 2001); Ramon-Sepulveda v. INS,

  863 F.2d 1458, 1463 (9th Cir. 1988).

          The consumer price index has increased significantly since March 1996,

  when according to the U.S. Department of Labor, Bureau of Labor Statistics, it

  stood at 155.7.

          The year-by-year inflation adjusted rates during the years plaintiffs worked

  on this case may be calculated as follows:7

          Year                 CPI-U                Multiplier         Adj. rate

          2014                 236.7                152%               $190.06

          2015                 237.0                152%               $190.28

          2016                 239.5                153%               $191.70



          B.     Hours.

          The itemized time records filed concurrently herewith reflect the time class

  and co-counsel devoted to prosecuting this action. Declaration of Peter A. Schey,

  Exhibit 3; Declaration of Carlos R. Holguin, Exhibit 5; Declaration of Marchela

  Iahdjian, Exhibit 5; Declaration of Chapman Noam, Exhibit 6; Declaration of Alice

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      See http://www.ca9.uscourts.gov/content/view.php?pk_id=0000000039

                                             15
                                                                                     (25 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-1,
                                                                Page
                                                                   Page
                                                                      2725
                                                                         of of
                                                                            13134 Page ID
                                        #:13102


  Bussiere, Exhibit 7; Declaration of Virginia Corrigan, Exhibit 8; Declaration of

  Richard Pearl, Exhibit 9; Declaration of Elena Garcia Exhibit 10; Declaration of

  Kate Manning Exhibit 11; Declaration of Kyra Kazantzis, Exhibit 12; Declaration

  of Abigail Trillin, Exhibit 13; Declaration of Katie Annand, Exhibit 14.8

         From these totals, plaintiffs have endeavored to deduct hours that were

  poorly documented, excessive, the result of overstaffing, or unrelated to

  prosecution of this action. Id.

         C.    Lodestar computation.

         The calculations yielding the EAJA lodestar figure (hours by year x

  inflation-adjusted EAJA rate) appears in Exhibit 2, and reflects a total of $386,349

  in attorney’s fees at the statutory rate.

         However, as will be seen next, the Court should award Plaintiffs fees at

  hourly rates above the inflation-adjusted EAJA rate.

  V.    Special factors warrant a fee award above the inflation-adjusted statutory
  rate.

         The EAJA authorizes the award of attorney’s fees at enhanced, or market,

  hourly rates upon a showing of “limited availability of qualified attorneys for the

  proceedings involved,” or where plaintiffs’ counsel possess “distinctive

  knowledge” and “specialized skill” that was “needful to the litigation in question”
  8
   Plaintiffs have included hours spent preparing the instant EAJA motion, which
  are also compensable. See Prandine v. National Tea Co., 585 F.2d 47, 54 (3d Cir.
  1978); Stanford Dailey v. Zurcher, 64 F.R.D. 680 (N.D. Cal. 1974).

                                              16
                                                                                     (26 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-1,
                                                                Page
                                                                   Page
                                                                      2826
                                                                         of of
                                                                            13134 Page ID
                                        #:13103


  and “not available elsewhere at the statutory rate.” Thangaraja v. Gonzales, 428

  F.3d 870, 876 (9th Cir. 2005); Love v. Reilly, 924 F.2d 1492, 1498 (9th Cir. 1991);

  see also Pierce v. Underwood, 487 U.S. 552, 572 (1988) (“Examples . . . would be

  an identifiable practice specialty such as patent law, or knowledge of foreign law

  or language.”).

         In Nadarajah v. Holder, 569 F.3d 906, 912 (9th Cir. 2009), the Ninth Circuit

  recognized that attorneys may demonstrate "distinctive knowledge and specialized

  skill in immigration law and, in particular … litigation involving the rights of

  detained immigrants." See also Fang v. Gonzales, No. 03-71352, 2006 WL

  5669901, *3 (9th Cir. Oct. 30, 2006) (Unpub. Disp.) ("Counsel Smith's specialized

  skills and distinctive 'knowledge of . . . particular, esoteric nooks and crannies of

  immigration law,' as established by the affidavit and a review of the case file,

  enabled her to address effectively in the briefs and at oral argument the application

  of two complicated state and federal statutory schemes and to succeed in obtaining

  relief from removal for Fang," quoting Muhur v. Ashcroft, 382 F.3d 653, 656 (7th

  Cir. 2004)).

         The Ninth Circuit awarded a $500 hourly rate for the prevailing party’s most

  experienced attorney, and rates between $300 and $335 per hour for less

  experienced attorneys. The Ninth Circuit awarded this rate because few lawyers

  had the expertise in immigration detention issues the case required. 569 F.3d at


                                             17
                                                                                     (27 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-1,
                                                                Page
                                                                   Page
                                                                      2927
                                                                         of of
                                                                            13134 Page ID
                                        #:13104


  912-15. This litigation was, if anything, much broader in scope and significance

  and of greater complexity than Nadarajah.

         In Orantes-Hernandez v. Holder, 713 F. Supp. 2d 929 (C.D. Cal. 2010), the

  Government moved to dissolve an injunction mandating that immigration

  authorities use specific procedures when detaining, processing and removing

  Salvadoran immigrants. The court largely denied the motion, and the plaintiffs

  sought an award of attorney’s fees under the EAJA at enhanced hourly rates on the

  grounds that opposing the Government’s motion to dissolve required specialized

  knowledge of immigration law and procedure. Id. at 959-60.

         The court approved an award of attorney’s fees at enhanced hourly rates. In

  addition to requiring special knowledge of immigration law and procedure, the

  court held, among the prevailing parties’ counsel were attorneys with specialized

  knowledge of the proceedings that had led to the entry of the challenged

  injunction, id. at 960, and specialized skills, such as proficiency in Spanish, that

  were necessary to defend the injunction. Id. The court approved an award of

  attorney’s fees at an enhanced rate of $625-675 for the prevailing parties’ senior

  counsel. Id. at 964.

         Plaintiffs’ class counsel Holguin and Schey have knowledge and highly

  specialized skill in immigration law, and in particular, the rights of immigrant and

  refugee children. See Exhibits 1 and 2. As reflected in their declarations, class


                                             18
                                                                                     (28 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-1,
                                                                Page
                                                                   Page
                                                                      3028
                                                                         of of
                                                                            13134 Page ID
                                        #:13105


  counsel in this case are among the leading attorneys in the nation litigating cases

  involving the rights of immigrants and refugees. They have successfully litigated

  multiple statewide and nationwide class actions cases involving the rights of

  immigrant youth for over 35 years. Id. This work was highighted in the recent

  article entitled Meet the father of the landmark lawsuit that secured basic rights for

  immigrant minors published by the American Bar Association Journal. Lorelei

  Laird, Meet the father of the landmark lawsuit that secured basic rights for

  immigrant minors, February 1, 2016, at

  http://www.abajournal.com/magazine/article/meet_the_father_of_the_landmark_la

  wsuit_that_secured_basic_rights_for_immig.

         Here, prosecuting Plaintiffs’ action required specialized expertise in

  immigration law, the Flores Agreement and application of California contract law

  to the interpretation of federal consent decrees as these distinct areas of the law

  affect a discrete and otherwise defenseless subclass: immigrant and refugee youth

  in federal detention facilities. Distinctive knowledge of the Flores Agreement, the

  meaning of its terms under federal immigration laws, and the Government’s

  policies and practices in implementing the Agreement, as well as the ability to

  converse in Spanish, were necessary to the successful resolution of this litigation.

  See Declaration of Peter Schey, Exhibit 1 at ¶ 6 (“Co-counsel Holguin is fluent in

  English and Spanish. I am able to converse with class members and their mothers


                                             19
                                                                                     (29 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-1,
                                                                Page
                                                                   Page
                                                                      3129
                                                                         of of
                                                                            13134 Page ID
                                        #:13106


  in Spanish. The majority of class members in the litigation the CHRCL conducts,

  including Flores, are monolingual Spanish-speakers, and the ability to

  communicate with these class members in their native language is invaluable.”).

         Further, few, if any, other lawyers in the country could or would have

  brought a complex federal class action motion on behalf of a class of indigent, non-

  English-speaking detained minors, many detained in remote locations, at the

  inflation-adjusted EAJA rate. Market rates for lawyers with skills and experience

  comparable to plaintiffs’ class counsel are in the range of $750-$900 hourly.

         Co-counsel Alice Bussiere is entitled to an enhanced rate in light of her

  expertise in child welfare, including licensing standards and nationally recognized

  standards for the detention and release of children in government custody, which

  was necessary in negotiation discussions and responses to the government’s

  arguments. See Declaration of Richard Pearl, Exhibit 9.

         Co-counsel Kate Manning is also entitled to an enhanced rate in light of the

  expertise in child welfare law that she contributed to the motion and its

  prosecution. See Declaraton of Peter Schey, Exhibit 1, ¶ 12; see also Declaration of

  Kyra Kazantzis, Exhibit 12; Declaration of Abigail Trillin, Exhibit 13; Declaration

  of Katie Annand, Exhibit 14.

         The factors discussed above warrant the Court’s awarding attorney’s fees at

  enhanced rates for class counsel and co-counsel Bussiere and Manning “‘in line


                                            20
                                                                                     (30 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-1,
                                                                Page
                                                                   Page
                                                                      3230
                                                                         of of
                                                                            13134 Page ID
                                        #:13107


  with those [rates] prevailing in the community for similar services by lawyers of

  reasonably comparable skill, experience and reputation.’” Nadarajah v. Holder,

  supra, 569 F.3d at 916, quoting Blum v. Stenson, 465 U.S. 886, 895 & n.11 (1984).

         Plaintiffs accordingly seek fees at enhanced rates for several of their counsel

  as reflected in the following table:

         Attorney               Hrs.                Hourly Rate           Totals

  Peter Schey                   656                 875                   574,000

  Carlos Holguin                433                 725                   313,686

  Kate Manning                  209.2               543                   113,596

  Alice Bussiere                65.2                800                   52,160


  See Exhibit 2 (fee calcs).

  VI.    Plaintiffs should be awarded costs.

         The EAJA provides for the award of costs as enumerated in 28 U.S.C. §

  1920 and for “fees and other expenses.” 28 U.S.C. § 2412(a), (d)(1)(A). “[F]ees

  and other expenses includes the reasonable cost of any study, analysis, engineering

  report, test, or project which is found the court to be necessary for the preparation

  of the party’s case, ...” 28 U.S.C. § 2412(d)(2)(A).

         Plaintiffs accordingly request an Order granting Plaintiffs their reasonable

  costs and related expenses as follows:



                                               21
                                                                                     (31 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-1,
                                                                Page
                                                                   Page
                                                                      3331
                                                                         of of
                                                                            13134 Page ID
                                        #:13108


         Center for Human Rights and Constitutional Law
         (Ex. C attached to Exhibit 3)                                      $7,175

         Law Foundation of Silicon Valley -
         Legal Advocates for Children & Youth
         (Ex. B attached to Exhibit 12)                                     $2,995

         Other counsel are waiving their costs.

      VII      Conclusion

         For the foregoing reasons, the Court should grant Plaintiffs attorneys’ fees

  and costs as requested herein.

  Dated: November 2, 2016                         Respectfully submitted,

                                                  CENTER FOR HUMAN RIGHTS &
                                                  CONSTITUTIONAL LAW
                                                  Peter A. Schey
                                                  Carlos Holguín

                                                  ORRICK, HERRINGTON & SUTCLIFFE LLP
                                                  Elena García

                                                  LA RAZA CENTRO LEGAL, INC.
                                                  Michael Sorgen
                                                  Maria Victoria Castro
                                                  Amanda Alvarado Ford

                                                  LAW FOUNDATION OF SILICON
                                                  VALLEY - LEGAL ADVOCATES FOR
                                                  CHILDREN & YOUTH
                                                  Jennifer Kelleher Cloyd
                                                  Katherine H. Manning
                                                  Kyra Kazantzis
                                                  Annette Kirkham




                                            22
                                                                                     (32 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-1,
                                                                Page
                                                                   Page
                                                                      3432
                                                                         of of
                                                                            13134 Page ID
                                        #:13109


  Of counsel:
                                                 YOUTH LAW CENTER
                                                 Alice Bussiere
                                                 Virginia Corrigan

                                                 /s/__Peter Schey_____
                                                 Attorneys for Plaintiffs/Appellees




                                            23
                                                                                     (33 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-1,
                                                                Page
                                                                   Page
                                                                      3533
                                                                         of of
                                                                            13134 Page ID
                                        #:13110



                             CERTIFICATE OF SERVICE

     I hereby certify that on November 2, 2016, I electronically filed the foregoing

                   MOTION FOR FEES AND COSTS UNDER THE
                       EQUAL ACCESS TO JUSTICE ACT

   with the Clerk of the Court for the United States Court of Appeals for the Ninth

   Circuit by using the appellate CM/ECF system. I certify that all participants in

   the case are registered CM/ECF users and that service will be accomplished by

   the appellate CM/ECF system.


                                     By: /s/
                               _________________

                                   Peter Schey
                                   Attorney for Plaintiffs-Appellees




                                            24
                                                                                     (34 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-1,
                                                                Page
                                                                   Page
                                                                      3634
                                                                         of of
                                                                            13134 Page ID
                                        #:13111




                                            25
                                                                                     (35 of 273)
Case 2:85-cv-04544-DMG-AGR
          Case: 15-56434, 11/02/2016,
                               Document
                                      ID: 10184263,
                                          351-1 Filed
                                                    DktEntry:
                                                      03/16/1765-2,
                                                                 Page
                                                                    Page
                                                                      37 1ofof131
                                                                               94 Page ID
                                        #:13112




                                       No. 15-56434


    IN THE UNITED STATES COURT OF APPEALS FOR THE NINTH CIRCUIT


                           JENNY LISETTE FLORES, et al.
                               Plaintiffs-Appellees,

                                            v.

          LORETTA E. LYNCH, Attorney General of the United States, et al.
                         Defendants-Appellants.


                    ON APPEAL FROM A FINAL JUDGMENT OF
                    THE UNITED STATES DISTRICT COURT FOR
                     THE CENTRAL DISTRICT OF CALIFORNIA
                         D.C. No. 2:85-cv-04544-DMG-AGR


     EXHIBITS IN SUPPORT OF PLAINTIFF’S MOTION FOR ATTORNEY’S
       FEES UNDER THE EQUAL ACCESS TO JUSTICE ACT VOLUME 1


  PETER A. SCHEY                                 ELENA GARCIA
  CARLOS R. HOLGUIN                              ORRICK, HERRINGTON &
  CENTER FOR HUMAN RIGHTS AND                    SUTCLIFFE LLP
  CONSTITUTIONAL LAW                             777 South Figueroa Street, # 3200
  256 S. Occidental Blvd.                        Los Angeles, CA 90017
  Los Angeles, CA. 90057                         Tel: (213) 629-2020
  Tel: (213) 388-8693                            Email: egarcia@orrick.com
  Fax: (213) 386-9484
  Email: pschey@centerforhumanrights.org
  crholguin@centerforhumanrights.org

  Attorneys for Plaintiffs-Appellees



                                            i
                                                                                     (36 of 273)
Case 2:85-cv-04544-DMG-AGR
          Case: 15-56434, 11/02/2016,
                               Document
                                      ID: 10184263,
                                          351-1 Filed
                                                    DktEntry:
                                                      03/16/1765-2,
                                                                 Page
                                                                    Page
                                                                      38 2ofof131
                                                                               94 Page ID
                                        #:13113


  Attorneys for Plaintiffs-Appellees continued:


  MICHAEL S. SORGEN
  LA RAZA CENTRO LEGAL, INC.
  474 Valencia Street, #295
  San Francisco, CA 94103
  Telephone: (415) 575-3500

  JENNIFER KELLEHER CLOYD
  KATHERINE H. MANNING
  KYRA KAZANTZIS
  ANNETTE KIRKHAM
  THE LAW FOUNDATION OF SILICON VALLEY
  LEGAL ADVOCATES FOR CHILDREN AND YOUTH
  PUBLIC INTEREST LAW FIRM
  152 North Third Street, 3rd floor
  San Jose, CA 95112
  Telephone: (408) 280-2437
  Facsimile: (408) 288-8850
  Email: jenniferk@lawfoundation.org
         kate.manning@lawfoundation.org
         kyrak@lawfoundation.org
         annettek@lawfoundation.org

  Attorneys for Plaintiffs-Appellees


  Of counsel for Plaintiffs-Appellees

  ALICE BUSSIERE
  VIRGINIA CORRIGAN
  YOUTH LAW CENTER
  200 Pine Street, Suite 300 
  San Francisco, CA 94104
  Telephone: (415) 543-3379
  Email: abussiere@ylc.org
         vcorrigan@ylc.org

  ///

                                            ii
                                                                                     (37 of 273)
Case 2:85-cv-04544-DMG-AGR
          Case: 15-56434, 11/02/2016,
                               Document
                                      ID: 10184263,
                                          351-1 Filed
                                                    DktEntry:
                                                      03/16/1765-2,
                                                                 Page
                                                                    Page
                                                                      39 3ofof131
                                                                               94 Page ID
                                        #:13114




                                INDEX OF EXHIBITS
  VOLUME ONE

  1.   Ninth Circuit Form 9: Application for Attorney’s Fees……………………………1

  2.   EAJA Fee Calculation Spreadsheet………………………………………...………3

  3.   Declaration of Peter Schey…………………………………………………………5

  4.   Declaration of Carlos Holguin……………………………………………………44

  5.   Declaration of Marchela Iahdjian…………………………………………………54

  6.   Declaration of Chapman Noam………………………………………………...…63

  7.   Declaration of Alice Bussiere…………………………………………………….71

  8.   Declaration of Virginia Corrigan…………………………………………………85

  VOLUME TWO

  9.   Declaration of Richard Pearl……………………………………………………...91

  10.  Declaration of Elena Garcia…………………………………..…………………179

  11.  Declaration of Kate Manning……………………………..……………………..189

  12.  Declaration of Kyra Kazantzis…………………………………………………..196

  13.  Declaration of Abigail Trillin……………………………………………………212

  14.  Declaration of Katie Annand…………………………………………………….225




                                           iii
                                                                                     (38 of 273)
Case 2:85-cv-04544-DMG-AGR
          Case: 15-56434, 11/02/2016,
                               Document
                                      ID: 10184263,
                                          351-1 Filed
                                                    DktEntry:
                                                      03/16/1765-2,
                                                                 Page
                                                                    Page
                                                                      40 4ofof131
                                                                               94 Page ID
                                        #:13115




                                    Exhibit 1

                                                                                     1
                                                                                     (39 of 273)
Case 2:85-cv-04544-DMG-AGR
          Case: 15-56434, 11/02/2016,
                               Document
                                      ID: 10184263,
                                          351-1 Filed
                                                    DktEntry:
                                                      03/16/1765-2,
                                                                 Page
                                                                    Page
                                                                      41 5ofof131
                                                                               94 Page ID
                                        #:13116




                                                                                     2
                                                                                     (40 of 273)
Case 2:85-cv-04544-DMG-AGR
          Case: 15-56434, 11/02/2016,
                               Document
                                      ID: 10184263,
                                          351-1 Filed
                                                    DktEntry:
                                                      03/16/1765-2,
                                                                 Page
                                                                    Page
                                                                      42 6ofof131
                                                                               94 Page ID
                                        #:13117



                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                    Exhibit 2

                                                                                     3
                                                                                                                                                                                                (41 of 273)
                                        Case 2:85-cv-04544-DMG-AGR
                                                  Case: 15-56434, 11/02/2016,
                                                                       Document
                                                                              ID: 10184263,
                                                                                  351-1 Filed
                                                                                            DktEntry:
                                                                                              03/16/1765-2,
                                                                                                         Page
                                                                                                            Page
                                                                                                              43 7ofof131
                                                                                                                       94 Page ID
                                                                                #:13118




                                                           2014	  Fees	                    2015	  Fees	                  2016	  Fees	                             Total	  fees	  
                                          2014	           at	  stat	  rate	   2015	     at	  stat	  rate	   2016	   at	  stat	  rate	   Total	  stat	     enhanced	  rates	  
                                          hours            (190.06)               hours      (190.28)               hours (191.70)                  fees                certain	  counsel
Center	  forxxx
	  	  	  Peter	  Schey	  ($875/hr)        46.75           $8,885.31 372.45 $70,869.79 236.8 $45,394.56 $125,149.65                                                     $574,000.00
	  	  	  Carlos	  Holguin	  
($725/hour)                                   254.59 $48,387.38 171.69 $32,669.17 6.39 $1,224.96                                                        $82,281.51          $313,685.75
	  	  	  Marchela	  Iahdjian                   0      $0.00 109.8 $20,892.74     0      $0.00                                                       $20,892.74           $21,002.54
	  	  	  Chapman	  Noam                        0      $0.00    5.5 $1,046.54 54.33 $10,415.06                                                       $11,461.60           $11,521.43

Orrick	  etc	  
	  	  	  	  ElenaGarcia                    58.26 $11,072.90 104.56 $19,895.68 54.52 $10,451.48                                                      $41,420.06           $41,579.14
	  	  	  	  William	  Molinski              0.2     $38.01    9.7 $1,845.72      0      $0.00                                                       $1,883.73            $1,893.43
	  	  	  	  T.	  Wayne	  Harman           13.3 $2,527.80 137.6 $26,182.53     0.7   $134.19                                                       $28,844.52           $28,982.82

Foundation	  etc.
	  	  	  Kate	  Manning	  
($543/hour)                                      35.1          $6,671.11             170.1 $32,366.63                      4          $766.80           $39,804.53          $113,595.60

Youth	  Law	  Center
Alice	  Bussiere	  
($800/hour)                                          5.1        $969.31                54.6 $10,389.29  5.5 $1,054.35                                   $12,412.94           $52,160.00
Virginia	  Corrigan                                 5.6       $1,064.34               45.5 $8,657.74 65.08 $12,475.84                                  $22,197.91           $22,308.49

                                                                                                                               Totals                $386,349.20 $1,180,729.20




                                                                                                                                                                                                4
                                                                                     (42 of 273)
Case 2:85-cv-04544-DMG-AGR
          Case: 15-56434, 11/02/2016,
                               Document
                                      ID: 10184263,
                                          351-1 Filed
                                                    DktEntry:
                                                      03/16/1765-2,
                                                                 Page
                                                                    Page
                                                                      44 8ofof131
                                                                               94 Page ID
                                        #:13119



                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                    Exhibit 3

                                                                                     5
                                                                                     (43 of 273)
Case 2:85-cv-04544-DMG-AGR
          Case: 15-56434, 11/02/2016,
                               Document
                                      ID: 10184263,
                                          351-1 Filed
                                                    DktEntry:
                                                      03/16/1765-2,
                                                                 Page
                                                                    Page
                                                                      45 9ofof131
                                                                               94 Page ID
                                        #:13120


                                Declaration of Peter Schey

         I, Peter Schey, declare and say as follows:

         1. I am one of the attorneys representing plaintiffs in this action. I am

  employed by, and serve as President of the Center for Human Rights and

  Constitutional Law (CHRCL), a non-profit, public interest law firm that provides

  free legal representation to indigent immigrants and refugees. I execute this

  declaration in support of plaintiffs' motion for an award of attorney's fees pursuant

  to the Equal Access to Justice Act, 28 U.S.C. § 2412(d).

         2. I was admitted to practice before the Supreme Court of the State of

  California in December 1973. I have since then been admitted to practice in the

  United States District Court for the Central District of California, the United States

  District Court for the Eastern District of California, the United States District Court

  for the Southern District of California, the United States District Court for the

  Northern District of California, the United States Circuit Court of Appeals for the

  Ninth Circuit and the United States Supreme Court.

         3. Since 1974 my practice has focused on complex litigation, advocacy and

  technical support in furtherance of the rights of vulnerable communities, in

  particular immigrants and refugees. As regards legal support services, the California

  Legal Services Trust Fund has funded CHRCL since 1982 to provide technical

  support and training to qualified legal services programs and attorneys serving pro



  	                                         1
                                                                                          6
                                                                                     (44 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      4610
                                                                         of of
                                                                            13194 Page ID
                                        #:13121


  bono publico in the areas of immigration law, constitutional law, and impact

  litigation. In my capacity as CHRCL’s President, I regularly provide technical

  support, advocacy support and training to legal aid and pro bono lawyers on

  immigration law, constitutional law, and complex litigation.

         4. In the area of litigation, I have served as lead or co-counsel in numerous

  major class actions on behalf of immigrants and refugees, including Plyler v. Doe,

  457 U.S. 202 (1982), a state-wide class action that established the right of children

  to a public elementary education regardless of their immigration status; Reno v.

  Flores, 507 U.S. 292 (1993), which resulted in a nationwide settlement fixing

  standards for the housing and release of children arrested pending deportation

  proceedings; Perez-Olano v. Gonzalez, 248 F.R.D. 248 (C.D. Cal. 2008), which

  resulted in a nationwide settlement expanding eligibility for special immigrant

  status, an immigration benefit for abused, abandoned and neglected children; We

  Are America v. Maricopa County, 297 F.R.D. 373 (D. Ariz. 2013), a state-wide

  class injunction against prosecuting migrants for conspiring to transport themselves;

  Orantes-Hernandez v. Smith, 541 F.Supp. 351 (C.D. Cal. 1982), a national class

  action on behalf of Salvadoran nationals blocked from applying for political asylum;

  League of United Latin American Citizens v. Wilson, 908 F. Supp. 755 (C.D. Cal.

  1995), a state-wide class action that overturned a state proposition that would have

  denied health care, social services and education to suspected undocumented



  	                                        2
                                                                                          7
                                                                                     (45 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      4711
                                                                         of of
                                                                            13194 Page ID
                                        #:13122


  immigrants; Catholic Social Services v. Immigration and Naturalization Service,

  232 F.3d 1139 (9th Cir. 2000) (en banc), a national class action that restored the

  right of some 500,000 class members to apply for legalization under the

  Immigration Reform and Control Act of 1986; Lopez v. INS, Cv. No. 78-1912-

  WB(xJ), nation-wide settlement impacting requiring persons arrested by the INS to

  be provided written advisal of their legal rights, including the right to apply for

  political asylum and a period of time to consult with attorneys before post-arrest

  interrogation and deportation; Munoz v. Bell, Cv. No. 77-3765-WG (C.D. Cal.

  1978), federal case resulting in court-approved nation-wide settlement requiring

  Immigration Judges to advise all persons in deportation proceedings of free legal

  services available to indigent immigrants.

         5. My market rate based on my years in practice, experience and rate when

  working on private cases is $900/hour. My resume is attached as Exhibit B.

         6. Co-counsel Holguin is fluent in English and Spanish. I am able to converse

  with class members and their mothers in Spanish. The majority of class members in

  the litigation the CHRCL conducts, including Flores, are monolingual Spanish-

  speakers, and the ability to communicate with these class members in their native

  language is invaluable.

         7. The successful prosecution of the instant motion and appeal required an

  unusual combination of skills, knowledge and experience. Since 1985 CHRCL



  	                                         3
                                                                                        8
                                                                                     (46 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      4812
                                                                         of of
                                                                            13194 Page ID
                                        #:13123


  General Counsel Carlos Holguin and I have devoted a substantial part of our

  practice to working with immigrant and refugee minors; I believe that the insight we

  have developed with this population through, for example, our work in litigating,

  negotiating and monitoring the settlement in Flores v. Lynch, was invaluable to the

  success of this litigation.

         8. I have attached records of time spent on the Flores motion to enforce

  [District Court Docket #100] and appeal of the District Court Orders. Exhibit A to

  this declaration sets forth an itemization of this time. My activities sometimes

  comprise of several related tasks. For example, when shepardizing a case I normally

  review cases identified and then often further shepardize those cases and review

  other significant sources relied upon by decisions including statutes, regulations,

  legislative history, etc.

         9. I routinely exercise billing judgment by not seeking reimbursement for

  multiple tasks including for example routine brief discussions about the litigation

  with co-class counsel Carlos Holguin, other co-counsel, consultants and advocates

  representing class members in their individual cases, brief email traffic with co-

  counsel, consultants and counsel representing class members, review of media

  reports regarding the challenged policies or practices, etc.

         10. The total time I believe compensable for my work on plaintiffs’ motion to

  enforce the Flores settlement, and tasks related thereto, including opposing



  	                                        4
                                                                                        9
                                                                                     (47 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      4913
                                                                         of of
                                                                            13194 Page ID
                                        #:13124


  defendants’ motion to modify the settlement, Dkt. No. 120, is 656 hours, as

  reflected in the attached itemization.

         11. At my direction, administrative staff of the CHRCL have reviewed the

  program’s costs relating to prosecution of the motion to enforce and appeal.

  Including telephone, postage, copying, and related litigation expenses. However,

  Plaintiffs’ class counsel are only seeking reimbursement of costs relating to travel

  and certain overnight delivery charges in the amount of $7174.51. A report of these

  costs is attached as Exhibit C.

         12. Plaintiffs’ class counsel requested that the Katherine Manning of the Law

  Foundation of Silicon Valley join prosecution of the motion to enforce as co-

  counsel in this case due to her experience and expertise serving dependent and at

  risk youth in the state of California. Ms. Manning has over ten years of experience

  advocating for the interests of dependent children in court-appointed cases, as well

  as experience representing children who have been through Customs and Border

  Protection stations and ICE family detention centers.

         I declare under penalty of perjury that the foregoing is true and correct.

  Executed this 2nd day of November, 2016, at Los Angeles, California.




                                                       Peter Schey

                                             5
                                                                                         10
                                                                                     (48 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      5014
                                                                         of of
                                                                            13194 Page ID
                                        #:13125




                                     Schey Declaration

                                         Exhibit A




                                                                                     11
                                                                                     (49 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      5115
                                                                         of of
                                                                            13194 Page ID
                                        #:13126



                                                  Peter	  Schey	  Flores	  Time	  Records	  
   Date	         Hours	         Mins	       Task	  
       7/9/14	             3	     40	       Emails,	  telecons.	  Research	  re	  surge	  and	  Govt	  response	  
                                               Review	  news	  reports	  re	  Govt	  response	  to	  surge,	  review	  list	  servs	  etc	  re	  
      7/17/14	               1	     10	     advocates	  observations/reports	  
      7/17/14	               1	     30	     Conf	  call	  co-­‐counsek	  re	  surge	  &	  aettlement	  complaince	  
      7/22/14	               0	     50	     Conf	  calls	  re	  compliance	  
      7/25/14	               0	     30	     Call	  Womens	  Commission	  re	  surge/compliance	  
                                               Call	  AILA	  re	  surge/compliance,	  update	  research	  of	  listserves/media	  re	  
      7/29/14	               1	     10	     Govt	  response	  to	  surge	  
      8/13/14	                       15	     Conf	  with	  Carlos	  Holguin	  re	  site	  visits	  re	  complaince	  
                                               Telecon	  ACLU	  re	  Flores	  violations,	  deterrence	  justification	  for	  
      8/16/14	               0	     20	     detention	  

      8/22/14	                       45	   Review	  notes/telecon	  CH	  re	  site	  visit	  infor	  gathered	  re	  complaince	  

                                             Review	  settlement	  and	  current	  info	  on	  compliance,	  outreach	  potential	  
      8/26/14	               1	     45	   co-­‐counsel,	  review	  avail	  reports	  re	  history	  of	  compliance	  
                                             Telecons,	  emails,	  research	  re	  surge	  &	  settlement	  compliance	  Texas	  pro	  
        9/3/14	              1	     10	   bono	  grps	  
                                               Review	  reports	  re	  non-­‐compliance;	  conf	  with	  CH	  re	  visit	  to	  Artesia;	  
                                               upate	  research	  published	  reports	  re	  detention	  of	  class	  members	  w/	  
      9/17/14	               2	     30	     mothers	  
      9/22/14	               1	     40	     Telecon	  CH	  re	  site	  visit	  and	  claims	  in	  compliance	  motion	  
      9/23/14	               2	     15	     research	  and	  review	  and	  edit	  Flores	  six	  month	  questions	  
                                               Research	  re	  deterrence,	  surges	  under	  settlement,	  detention	  
      9/27/14	               2	      5	     compliance	  
      9/30/14	                       20	     Conf	  CH	  re	  meet	  &	  confer	  letter,	  review,	  telecon	  AILA	  re	  same	  
                                               Reviewed	  email	  to	  Defendants	  Re	  Implementation	  of	  Flores	  
      10/2/14	                       10	     Settlement	  

                                               Review/research	  re	  meet	  and	  confer	  letter,	  emails	  re	  compliance,	  
      10/5/14	               4	     20	     telecons	  RAICES/CARA	  re	  attorney	  observations	  of	  det	  policies	  
     10/15/14	                       45	     Review	  Meet	  and	  Confer	  Request	  
     10/21/14	                       15	     Conf	  CH	  re	  emails	  to	  advocates	  re	  compliancemotion	  
                                               Prep/confs	  re	  Meet	  and	  Confer	  with	  Opp	  Counse;	  post-­‐M&C	  conf	  w/	  
     10/30/14	               1	              co-­‐counsel	  re	  samel	  
                                               Telecon	  co-­‐counsel;	  review	  email	  to	  advocates	  re	  status	  and	  potential	  
      11/6/14	               2	     20	     motion	  




                                                                                                                                             12
                                                                                     (50 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      5216
                                                                         of of
                                                                            13194 Page ID
                                        #:13127



                                                              Review,	  research	  re	  outline	  of	  compliance	  claims;	  preliminary	  research	  
     11/13/14	                     2	              15	     re	  standards,	  evidentiary	  issues	  	  
     11/19/14	                     2	              20	     Research/review	  draft	  motion	  to	  enforce	  
                                                              Email	  overview	  of	  case,	  claims,	  likelihood	  of	  success,	  etc.	  to	  Law	  
     11/25/14	                     1	               0	     Foundation	  re	  joining	  as	  pro	  bono	  co-­‐counsel	  
      12/1/14	   	  	                             15	     Reviewed	  email	  re:	  attorney	  declarations	  and	  Flores	  litigation	  
      12/1/14	                     4	              45	     Research	  &	  review	  draft	  motion	  re	  compliance	  
                                                              Telecon	  RAICES	  re	  non-­‐compliance;	  policy	  of	  detention;	  high	  bonds;	  no	  
       12/4/14	   	  	                            15	     Flores	  processing	  of	  accompaniedminors	  
                                                              Telecon	  Am.	  Gateways	  re	  non-­‐compliance,	  deterrence	  policy,	  non-­‐
      12/9/14	   	  	                             20	     release	  of	  accom	  cl	  members	  
     12/12/14	                     1	   	  	              Conf	  Call	  w/	  co-­‐counsel	  re	  Flores	  enforcement	  
                                                              Telecon	  Am	  Immig	  Council	  re	  pro	  bono	  reports	  re	  detention	  of	  accom	  
     12/15/14	   	  	                             15	     class	  members/motion	  to	  enf.	  

     12/19/14	                     1	            30	   Prep	  for	  &	  Conference	  Call	  with	  Elena,	  Virginia,	  Michael,	  Rojena,	  CH	  
     12/26/14	   	  	                           50	   Conf	  call	  with	  co-­‐counsel	  re	  draft	  mo	  enforce	  
     12/27/14	                     1	   	  	          Research	  &	  email	  outlining	  edits	  to	  Flores	  MTE	  
     12/30/14	   	  	                           15	   Revie	  &	  conf	  reCHl	  email	  to	  Defendants	  re:	  site	  visits	  

         1/5/15	   	  	                           15	   Review	  &	  emails	  re	  site	  visits	  to	  interview	  class	  members/mothers	  

        1/6/15	         	  	                      45	     Draft	  email	  soliciting	  consultant/	  review/conf	  re	  cl	  member	  decs	  
       1/10/15	                    2	              30	     Review/respond	  draft	  exhibits,	  experts,	  info	  from	  site	  visits	  
       1/12/15	         	  	                      15	     Review/respond	  draft	  Motion	  to	  Enforce	  &	  exhibits	  
       1/16/15	         	  	                      50	     Review/confs	  re	  drafts	  of	  MTE	  no	  release	  policy	  
       1/17/15	         	  	                      10	     Reviewed	  Co-­‐counsel	  comments	  on	  MTE	  draft	  
       1/19/15	         	  	                      30	     Reviewed	  Co-­‐Counsel	  edits	  to	  draft	  
       1/20/15	                    1	   	  	              Email	  to	  Defendants	  arranging	  a	  meet	  and	  confer	  
       1/20/15	         	  	                      30	     Drafted	  email	  re	  filing	  under	  seal	  
       1/21/15	         	  	                      50	     Meet	  and	  Confer	  Conference	  Call	  with	  Opposing	  counsel	  
       1/21/15	         	  	                      30	     Drafted	  email	  re	  Karnes	  documents	  
       1/22/15	         	  	                      30	     Reviewed	  motion	  edits	  by	  Co-­‐Counsel	  
       1/25/15	         	  	                      15	     Drafted	  email	  re	  current	  draft	  of	  MTE	  
       1/27/15	                    2	              30	     Review/confs/edit	  draft	  MTE	  &	  co-­‐counsel	  comments	  
       1/28/15	                    1	               0	     Conf	  call	  with	  co-­‐counsel	  
        2/2/15	         	  	                      10	     Reviewed	  Notice	  of	  Motion	  and	  Motion	  to	  Enforce	  
        2/2/15	                    1	   	  	              Reviewed	  Memorandum	  in	  Support	  of	  Motion	  to	  Enforce	  
        2/5/15	                    1	            10	       Telecons/confs/review	  proposed	  Order	  re	  MTE	  
        2/6/15	         	  	                    15	       Reviewed	  Initial	  Standing	  Order	  



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                                                                                     (51 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      5317
                                                                         of of
                                                                            13194 Page ID
                                        #:13128


        2/6/15	   	  	                          5	   Reviewed	  Civil	  Minutes	  Re	  Sumission	  of	  Sealed	  Documents	  
        2/9/15	   	  	                         30	   Conference	  Call	  re	  Flores	  Proposed	  Order	  
        2/9/15	                   1	   	  	          Telecon	  with	  Call	  w/	  Jessica	  Jones	  re	  legislation	  

       2/9/15	   	  	                       10	      Reviewed	  Stipulated	  Application	  to	  File	  Declarations	  Under	  Seal	  
       2/9/15	   	  	                       10	      Reviewed	  Proposed	  Order	  Granting	  Leave	  to	  File	  Under	  Seal	  
       2/9/15	                    1	         40	      Mtg	  with	  CH	  re	  litigation	  strategy/case	  management	  
      2/13/15	   	  	                       30	      Telecon	  CARA/AILA	  re	  pending	  motion,	  evidence,	  etc.	  
                                                         Reviewed	  Declaration	  of	  Sarah	  Fabian,	  proposed	  order	  contin	  hrg,	  
      2/13/15	   	  	                         5	     proposed	  order	  enforcing	  settlement	  
                                                         Review&	  conf	  CH	  re	  Order	  Continuing	  Hearing;	  review/conf	  re	  draft	  
      2/19/15	   	  	                       15	      letter	  re	  prep-­‐discovery	  
                                                         Reviewed	  D's	  Protective	  Notice	  of	  Motion	  to	  Modify	  Settlement	  
      2/27/15	         	  	                 45	      Agreement	  
      2/27/15	         	  	                 40	      Review	  Declaratiosn	  of	  Tae	  Johnso,	  Oaks,	  Antkowiak	  
      2/27/15	         	  	                  5	      Reviewed	  Proposed	  Order	  Modifying	  Settlement	  
      2/27/15	         	  	                 45	      Reviewed	  D's	  Response	  in	  Opposition	  to	  P's	  Motion	  to	  Enforce	  
                                                      Reviewed	  USBP	  Unaccompanied	  and	  Accompanied	  Aliem	  Children	  
                                                      Apprehensions	  Average	  Hours	  in	  Custody	  FY2014,	  Memo	  to	  all	  Chief	  
      2/27/15	   	  	                       10	   Patrol	  Agents	  from	  USBP	  Chief	  
                                                      Review	  Defs	  Opp	  Mo	  enforce,	  Mo	  Modify,	  Conf	  w/	  CH;	  Conf	  to	  
        3/2/15	                   3	         30	   coordinate	  w/	  Co-­‐counsel	  
        3/4/15	                   8	         10	   Draft	  Opp	  to	  Motion	  to	  Modify	  -­‐	  Section	  III	  A	  

        3/5/15	   	  	                      40	   Review	  Co-­‐Counsel	  email	  re:	  TVPRA	  and	  Flores;	  research	  re	  same	  
        3/5/15	                   7	         20	   Research	  &	  draft	  Opp	  to	  Motion	  to	  Modify	  -­‐	  Section	  III	  B,	  C	  
                                                      Research	  &	  Draft	  Opp	  to	  Motion	  to	  Modify	  -­‐	  Section	  III	  D	  and	  
        3/6/15	                   8	          0	   Conclusion	  
        3/8/15	   	  	                      30	   Email	  re	  draft	  reply	  to	  Defendants	  Opposition	  to	  MTE	  

       3/9/15	                    4	         30	   Review	  exhibits	  and	  res	  re	  P's	  Objections	  to	  Defendant's	  Evidence	  
       3/9/15	   	  	                       30	   Review	  emails/research	  objections	  to	  Defendants'	  evidence	  
      3/12/15	   	  	                       25	   Review	  Co-­‐Counsel	  edits	  to	  reply	  to	  opposition	  
                                                      Review	  and	  research	  re	  D's	  Reply	  in	  Support	  of	  Motion	  to	  Modify	  
      3/13/15	                    3	         50	   Settlement	  
                                                      Telecon	  Antonio	  Alvarado	  (Legal	  Assistant)	  re	  outreach	  to	  
      3/18/15	                     	  	     55	   advocates/consultants;	  extracting	  exhibits;	  etc.	  
      3/22/15	   	  	                       45	   email	  to	  Co-­‐Counsel	  re	  Flores	  Motion	  Arguments	  
                                                      Reviewed	  D's	  Objections	  to	  P's	  Evidence	  in	  Support	  of	  Motion	  to	  
      3/24/15	   	  	                       30	   Enforce	  Settlement	  



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                                                                                     (52 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      5418
                                                                         of of
                                                                            13194 Page ID
                                        #:13129



                                                     Draft	  P's	  Response	  to	  D's	  Objections	  to	  Evidence	  in	  Support	  of	  Motion	  
        4/5/15	             8	   	  	            to	  Enforce	  p.	  1-­‐4	  
                                                     Draft	  P's	  Response	  to	  D's	  Objections	  to	  Evidence	  in	  Support	  of	  Motion	  
        4/6/15	             8	   	  	            to	  Enforce	  p.	  5-­‐8	  
                                                     Draft	  P's	  Response	  to	  D's	  Objections	  to	  Evidence	  in	  Support	  of	  Motion	  
        4/7/15	             8	   	  	            to	  Enforce	  p.	  9-­‐12	  
                                                     Draft	  P's	  Response	  to	  D's	  Objections	  to	  Evidence	  in	  Support	  of	  Motion	  
        4/8/15	             8	   	  	            to	  Enforce	  p.	  13-­‐16	  
                                                     Draft	  P's	  Response	  to	  D's	  Objections	  to	  Evidence	  in	  Support	  of	  Motion	  
       4/9/15	              8	   	  	            to	  Enforce	  p.	  17-­‐20	  
      4/14/15	   	  	                      15	   Reviewed	  email	  re	  declarations	  
                                                     Call	  Antonio	  Alvarenga	  re	  communications	  w/	  co-­‐counsel/pro	  bono	  
                                                     attys	  re	  hearing,	  issues,	  consolidating	  email	  addresses	  for	  pro	  bono	  
      4/16/15	                	  	         40	   lawyers/advocates	  
                                                     Review	  D's	  Response	  to	  Objections	  to	  D's	  Evidence	  in	  Support	  of	  
      4/21/15	   	  	                      10	   Motion	  to	  Modify	  Settlement	  

      4/21/15	              6	   	  	          Drafted	  P's	  Request	  for	  Judicial	  Notice	  in	  Support	  of	  Motion	  to	  Enforce	  
      4/22/15	              1	            45	   Review	  files/prep	  for	  oral	  argument/conf	  w/	  CH	  re	  same	  
      4/24/15	              3	             0	   Travel(1	  hr)	  	  to	  and	  oral	  argument	  (2	  hr)	  on	  MTE	  and	  MTM	  
                                                   Mtg	  CH	  re	  hearing	  and	  drafting	  memo	  to	  pro	  bono	  
      4/27/14	              1	            30	   counsel/advocates/etc.	  &	  litigation	  next	  steps	  
      4/28/15	               	  	        35	   Call	  Antonio	  Alvarenga	  re	  email	  to	  advocates	  re	  hearing	  
      4/29/15	   	  	                    15	   Reviewed	  email	  from	  constultant	  re	  Berks	  

      4/29/15	              1	               0	   Telecons	  Antonio	  Alvarenga	  (Leg	  Asst)	  re	  coordinating	  consultants,	  
                                                     prep	  conf	  call	  with	  advocates,	  materials	  for	  call,	  etc.	  
      4/29/15	                	  	         25	   Telecon	  Antonio	  Alvarenga	  re	  web/FB/email	  outreach	  to	  reps	  of	  cl	  
                                                     members	  re	  status	  of	  case	  and	  next	  steps	  
                                               0	  
      4/31/15	              1	                     Prep	  for	  and	  Conference	  Call	  with	  Pro	  bono	  attorneys	  &	  Advocates	  	  
       5/1/15	   	  	                      25	   Review,	  confs,	  and	  respond	  to	  email	  re	  Mediation	  dates	  
                                               0	   Conf	  with	  pro	  bono	  counsel/advocates	  re	  issues	  to	  be	  addrssed	  in	  
        5/1/15	             1	                     negotiations	  
                                                     Telecon	  Hayley	  Upshaw,	  Immig	  Project	  Director	  rep	  cl	  members	  	  
        5/2/15	             1	               0	   (Hayley@lsc-­‐SF.org)	  
                                                     Telecon	  A.	  Alvarenga	  &	  Marchela	  Iahdjian	  re	  updating	  digital	  files,	  
        5/4/15	               	  	         50	   updating	  contact	  info	  for	  counsel	  rep	  cl	  members	  at	  detention	  
                                                     facilities,	  travel	  to	  DC	  etc.	  




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                                                                                     (53 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      5519
                                                                         of of
                                                                            13194 Page ID
                                        #:13130



                                                              Drafted	  Stipulation	  and	  Proposed	  Order	  Re	  Confidentiality	  of	  
       5/6/15	                    2	   	  	               Settlement	  Discussions	  
       5/7/15	   	  	                            40	      Reviewed	  and	  responded	  to	  email	  re	  negotion	  goals	  
       5/7/15	   	  	                            45	      Reviewed	  email	  recap	  of	  mediation	  prep	  call	  
       5/7/15	                    1	              20	      Conf	  call	  with	  co-­‐counsel	  
      5/10/15	                    9	               0	      Travel	  to	  Washington	  DC	  
      5/11/15	                    1	               0	      Telecon	  co-­‐counsel	  and	  consultants	  
                                                              Prep	  for	  and	  meeting	  with	  Defendants'	  counsel	  re	  resolution	  of	  
      5/11/15	                    8	                0	  
                                                              pendjng	  motions	  
      5/12/15	                    4	              30	      Meeting	  with	  Defendants	  re	  resolution	  of	  MTE	  
                                                              Telecon	  w/	  Chapman	  Noam	  re	  status	  case,	  meetings	  with	  Defs'	  
      5/12/15	                    1	              20	  
                                                              counsel	  
      5/13/15	                    1	   	  	               Reviewed	  email	  re	  DHS	  residential	  center	  initiatives	  
      5/13/15	   	  	                            30	      Reviewed	  Co-­‐Counsel	  email	  re	  settlement	  negotiations	  
      5/13/15	                     	  	          16	      Telecon	  w/	  Marchela	  re	  meeting	  with	  Defs'	  counsel	  
      5/13/15	                     	  	          25	      Telecon	  w/	  Marchela	  re	  meeting	  with	  Defs'	  counsel	  
      5/13/15	                    8	               0	      Travel	  Washington	  DC	  to	  Los	  Angeles	  
      5/14/15	                       	  	        20	  
                                                         Telecon	  Antonio	  Alvarenga/Marchela	  re	  status	  negotiations,	  next	  steps	  
      5/15/15	                    1	   	  	          prep	  for	  &	  Co-­‐Counsel	  Conference	  Call	  
      5/18/15	   	  	                          15	   Reviewed	  email	  re	  Dilley	  conditions	  
      5/19/15	                    1	            25	   Telecon	  Marchela	  re	  settlement	  positions	  Defs	  and	  Pltfs	  
                                                         Meeting	  with	  co-­‐counsel	  Manning	  and	  Natarajan	  prep	  for	  meeting	  
      5/19/15	                    4	            30	   with	  Defgs'	  counsel	  re	  settlement	  	  

      5/20/15	                    1	              15	   Drafted	  email	  and	  circulated	  proposed	  settlement	  to	  Defendants	  
      5/20/15	                    9	               0	   Preparation	  for	  and	  meeting	  with	  D's	  Counsel	  in	  Marina	  del	  rey	  
                                                           Review	  research	  	  and	  notes	  re	  DHS	  ReportICE	  ICE	  	  Alternatives	  to	  
      5/21/15	                    1	              10	   Detention	  (OIG-­‐15-­‐22)	  
                                                           Reviewed	  Stipulation	  for	  Extension	  of	  Meet	  and	  Confer	  Period	  and	  
      5/22/15	   	  	                            45	   Joint	  Status	  Report	  Deadline	  

      5/22/15	   	  	                            30	   Reviewed	  Proposed	  Order	  Re	  Extension	  of	  Meet	  and	  Confer	  Period	  

      5/22/15	         	  	                      15	      Drafted	  email	  and	  circulated	  proposed	  settlement	  to	  Co-­‐Counsel	  
      5/22/15	         	  	                      15	      Draft	  email	  and	  circulated	  proposed	  settlement	  to	  consultants	  
      5/22/15	                       	  	        42	      Call	  w/	  Kate	  Manning	  resettlement	  
      5/24/15	         	  	                      30	      Reviewed	  consultant	  notes	  on	  Flores	  Settlement	  draft	  
      5/25/15	         	  	                      15	      drafted	  email	  re	  current	  settlement	  draft	  to	  consultants	  
      5/26/15	         	  	                      30	      Reviewed	  email	  re	  comments	  on	  Settlement	  draft	  



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                                                                                     (54 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      5620
                                                                         of of
                                                                            13194 Page ID
                                        #:13131


        6/1/15	   	  	                      30	   Reviewed	  and	  responded	  to	  Co-­‐Counsel	  email	  re	  case	  update	  
        6/3/15	   	  	                      30	   Drafted	  email	  to	  Co-­‐Counsel	  re	  abuse	  proposal	  
        6/3/15	                 	  	        41	  
                                                      Telecon	  Martchela	  re	  settlement	  developments/positionstresearch	  
        6/4/15	   	  	                      15	   Reviewed	  email	  from	  opp.	  Counsel	  re	  Flores	  
        6/4/15	              2	               0	   Drafting	  settlement	  proposals	  

                                                         Review	  160	  pages	  released	  by	  Karnes	  County	  4/22/15	  re	  licensing	  of	  
        6/6/15	              2	                5	     Karnes	  including	  service	  agreement	  &	  modificattions	  	  
                                                         Review	  and	  notes	  re	  ICE	  contrcat/modification	  of	  contract	  City	  of	  Eloy	  
        6/6/15	   	  	                      50	      re	  Flores	  compliance/licensing	  etc.	  
                                                         Research	  re	  Eloy	  management	  agreement	  with	  Corrections	  
        6/6/15	              2	              10	      Corporation	  of	  America	  re	  Flores;	  amendments	  to	  agreement	  
                                                         Research,	  review	  notes	  re	  168-­‐page	  ICE-­‐City	  of	  Eloy	  service	  agreement	  
        6/6/15	              1	              20	      re	  Flores	  and	  licensing	  compliance	  
                                                         Research	  &	  review	  &	  notations	  re	  167-­‐pg	  Karnes-­‐ICE	  service	  
       6/6/15	               0	              40	      agreement	  re	  detention	  of	  class	  members	  
      6/11/15	   	  	                       15	      Drafted	  email	  to	  consultant	  re	  breach	  of	  confidentiality	  
                                                         Drafted	  P's	  Notice	  Re:	  Courts	  Order	  Re:	  Confidentiality	  of	  Settlement	  
      6/11/15	               5	   	  	               Discussions	  
      6/11/15	   	  	                       30	      Drafted	  email	  to	  court	  explaining	  breach	  of	  confidentiality	  	  
      6/11/15	               1	   	  	               Conference	  call	  with	  Orrick	  &	  Law	  Foundation	  of	  Silicon	  Valley	  	  
      6/11/15	                	  	        42	        Call	  w/	  Leon	  Fresco	  
                                                         Review	  exhibits	  (#1-­‐50)	  re	  class	  	  cert	  motion	  in	  Does	  v.	  Johnson	  re	  AZ	  
      6/12/15	               1	              45	      CBP	  detention	  conditions	  
                                                         Telecons	  co-­‐counsel	  Marchela	  re	  status	  case,	  settlement	  drafts,	  issues	  
      6/12/15	               1	              30	  
                                                         to	  research	  re	  settlement	  
      6/12/15	               1	              16	      Call	  w/	  Jessica	  Jones	  
                                                         Telecon	  Antonio	  Alvarenga	  re	  coordinating	  fact	  gathering	  for	  
      6/12/15	                  	  	        43	  
                                                         additional	  briefing	  	  
      6/14/15	               1	   	  	               Conference	  Call	  with	  Opposing	  Counsel	  Re	  Settlement	  
      6/16/15	   	  	                       15	      Reviewed	  consultant	  email	  re	  settlement	  
      6/16/15	   	  	                       45	      Conf	  call	  co-­‐counsel	  re	  settlement	  discussions	  
      6/16/15	                  	  	        51	      Calls	  to/from	  the	  office	  
      6/17/15	   	  	                       15	      Wrote	  email	  to	  DHS	  Counsel	  re	  conference	  call	  
      6/17/15	               1	              30	      Prep	  &	  Conference	  Call	  with	  Opposing	  Counsel	  Re	  Settlement	  
      6/18/15	                	  	          25	      Telecos	  Marchela	  re	  litigation	  next	  steps	  	  
      6/18/15	                	  	          29	      Call	  w/	  Kate	  Manning	  
      6/19/15	                	  	          30	      Telecon	  co-­‐counsel	  Kate	  Manning	  re	  settlement	  discussions	  




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                                                                                     (55 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      5721
                                                                         of of
                                                                            13194 Page ID
                                        #:13132



                                                             Reviewed	  Stipulation	  for	  Extension	  of	  Meet	  and	  Confer	  Period	  and	  
      6/19/15	   	  	                             5	     Joint	  Status	  Report	  Deadline	  
      6/23/15	   	  	                            15	     Reviewed	  email	  re	  call	  with	  opp.	  Counsel	  
      6/23/15	                    1	   	  	              Conference	  Call	  with	  Opposing	  Counsel	  Re	  Settlement	  
      6/24/15	   	  	                            15	     Reviewed	  email	  re	  call	  with	  opp.	  Counsel	  
      6/24/15	                       	  	        28	     Calls	  to/from	  the	  office	  
                                                             Conference	  Call	  w/	  Call	  w/	  Leon	  Fresco	  and	  David	  Shahoulian	  Re	  Jeh	  
      6/25/15	                    1	   	  	              Johnson	  Statement	  
      6/25/15	   	  	                            30	     Conference	  Call	  w/	  Co-­‐Counsel	  
      6/25/15	                       	  	        33	     Teleconl	  w/	  Barbara	  Hines	  re	  status	  of	  case,	  next	  steps	  
      6/26/15	                       	  	        19	     Call	  w/	  Leon	  Fresco	  
                                                             P's	  communications/emails	  re	  confidentiality	  and	  non-­‐Disclosure	  of	  
      6/27/15	                    3	   	  	              Settlement	  Discussions	  
      6/29/15	         	  	                      45	     Reviewed	  updated	  settlemet	  draft	  from	  opp.	  Counsel	  
      6/29/15	                    1	               0	     Telecons	  and	  emails	  re	  settlement	  draft	  
      6/30/15	         	  	                      15	     Reviewed	  email	  re	  draft	  stipulation	  
      6/30/15	                    1	               3	     Co-­‐counsel+consultants	  conf	  calls	  
       7/1/15	         	  	                      15	     Reviewed	  email	  re	  stipulation	  for	  extension	  
       7/1/15	                    1	              15	     Telecon	  Marchela	  re	  settlement	  positions/status	  
       7/2/15	                     	  	          15	     Call	  w/	  Leon	  Fresco	  
       7/7/15	         	  	                      30	     Wrote	  email	  to	  opp.	  Counsel	  following	  up	  on	  conference	  call	  
       7/8/15	         	  	                       5	     Reviewed	  DHS	  6/24/15	  Press	  Release	  
       7/8/15	         	  	                      15	     Reviewed	  RILR	  v	  Johnson	  Order	  
      7/10/15	                    1	              30	     Prep	  for	  and	  Conf	  Call	  w/	  Consultants	  Re	  Settlement	  
      7/10/15	                    2	              30	     Co-­‐counsel+consultants	  conf	  calls	  
      7/11/15	         	  	                      30	     Wrote	  email	  to	  Co-­‐Counsel	  re	  revised	  draft	  settlement	  
      7/12/15	                    1	   	  	              Reviewed	  Co-­‐Counsel	  email	  re	  notes	  to	  settlement	  draft	  
      7/12/15	                    1	   	  	              Wrote	  email	  update	  to	  Co-­‐Counsel	  	  
      7/13/15	         	  	                      30	     Reviewed	  email	  re	  Jimenez	  Moreno	  Settlement	  
      7/13/15	                    1	   	  	              Conference	  Call	  Case	  Update	  with	  Consultants	  	  
      7/13/15	                    2	            20	       Co-­‐counsel+consultants	  conf	  calls	  
      7/14/15	         	  	                    15	       Reviewed	  and	  Responded	  to	  Consultant	  Email	  
      7/15/15	                     	  	        15	       Telecon	  coc-­‐ounsel	  Marchela	  re	  status	  case	  
      7/17/15	         	  	                    15	       Revised	  and	  Responded	  to	  email	  Re	  Proposed	  Order	  
      7/17/15	                    1	            30	       Drafted	  Joint	  Status	  Report	  
      7/18/15	         	  	                    30	       Reviewed	  Email	  Re	  Suggested	  Edits	  to	  Proposed	  Order	  

      7/20/15	                    1	              35	   Mtg	  Marchela	  re	  status	  briefing,conf	  call	  co-­‐counsel,	  proposed	  Order	  

      7/20/15	                    1	              20	   Prep	  for	  (20	  min)	  &	  Conf	  Call	  w/	  Co-­‐Counsel	  re	  filing	  Proposed	  Order	  



                                                                                                                                                           18
                                                                                     (56 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      5822
                                                                         of of
                                                                            13194 Page ID
                                        #:13133


      7/22/15	                      8	            15	   Drafted	  Proposed	  Order	  Enforcing	  Settlement	  of	  Class	  Action	  
      7/24/15	   	  	                            45	   Reviewed	  OSC	  Re	  Motion	  to	  Enforce	  and	  Motion	  to	  Amend	  
      7/24/15	                       	  	        45	   Telecons	  Chapman,	  CH	  and	  Marchela	  re	  OSC	  
      7/27/15	                      1	   	  	          Conf	  Call	  Case	  Update	  w/	  Co-­‐Counsel	  
      7/30/15	                       	  	        10	   Call	  w/	  Leon	  Fresco	  
                                                           Drafted	  P's	  Opposition	  to	  Ex	  Parte	  Application	  for	  Extension	  of	  
      7/31/15	                      6	   	  	          Response	  Dates	  

      7/31/15	   	  	                           15	   Drafted	  Email	  re	  Draft	  of	  Opp	  to	  D's	  Ex	  Parte	  App	  to	  Extend	  Time	  
       8/4/15	   	  	                           39	   Telecon	  Marchela	  re	  responding	  to	  OSC	  
                                                          Review&Research	  re	  D's	  Response	  to	  7/24/15	  OSC,	  Decs	  of	  Homan,	  
       8/6/15	                    12	            50	   Vitiello,	  Lafferty	  etc.	  &	  prelim	  drafting	  Ps'	  resp	  to	  OSC	  
       8/9/15	                     7	            30	   Drafted	  P's	  Response	  to	  7/24/15	  OSC	  
      8/10/15	                     8	            15	   Drafted	  P's	  Response	  to	  7/24/15	  OSC	  
      8/10/15	         	  	                     45	   Review	  Research	  by	  Co-­‐Counsel	  
      8/11/15	                      8	           10	   Draft	  Ptf's	  Response	  to	  7/24/15	  OSC	  
      8/11/15	         	  	                     30	   Wrote	  email	  Re	  Flores	  Research	  
      8/12/15	         	  	                     30	   Reviewed	  Declaration	  of	  Carol	  Anne	  Donohoe	  
      8/12/15	         	  	                     30	   Drafted	  email	  and	  notes	  Re	  Declaration	  
      8/12/15	         	  	                     30	   Reviewed	  Declaration	  of	  Manoj	  Govindaiah	  
      8/12/15	         	  	                     45	   Reviewed	  Declarations	  of	  David	  Thompson	  &	  Denise	  Gilman	  
      8/12/15	         	  	                     40	   Reviewed	  Declaration	  of	  Luis	  Zayas	  
      8/12/15	         	  	                     30	   Reviewed	  Declaration	  of	  Susana	  Volpe	  
      8/12/15	         	  	                     35	   Reviewed	  Declaration	  of	  Aseem	  Mehta	  
      8/12/15	         	  	                     25	   Reviewed	  Declaration	  of	  Brian	  Hoffman	  
      8/13/15	         	  	                     30	   Reviewed	  Declaration	  Karen	  Lucas	  
      8/13/15	                      7	           40	   Drafted	  P's	  Response	  to	  7/24/15	  OSC	  
      8/14/15	         	  	                     45	   Drafted	  email	  to	  Co-­‐Counsel	  	  	  
      8/21/15	                      1	           20	   Review/res	  re	  Order	  Denying	  Motion	  for	  Reconsideration	  
      8/21/15	         	  	                     48	   Telecon	  Marchela	  re	  Judge	  Gee's	  Order	  
      8/24/15	                      1	           45	   Conf	  CH	  et	  al	  re	  re	  settlement	  compliance	  
      8/26/15	         	  	                     48	   Conference	  Call	  Line	  
       9/2/15	                         	  	     50	   Telecon	  Marchela	  re	  research	  re	  potential	  pltf	  appeal	  
       9/2/15	                         	  	     35	   Telecon	  Marchela	  re	  planning	  monitoring	  of	  Aug	  Order	  
       9/2/15	                         	  	     25	   Telecon	  Marchela	  re	  planning	  monitoring	  of	  Aug	  Order	  
      9/18/15	         	  	                      5	   Reviewed	  Docketing	  Information	  
      10/1/15	                      1	           21	   Telecon	  Chapman	  Noam	  re	  docketing	  statement	  
                                                          Review	  9-­‐2-­‐15	  Tx.	  Dept	  Fam	  Services	  adoption	  of	  emergency	  rules	  
      10/2/15	                       	  	       30	   amendment	  to	  40	  TAC	  &	  research	  re	  same748.7	  	  
      10/9/15	                      0	           45	   Conf	  call	  coordinators	  of	  pro	  bono	  work	  in	  Dilley	  and	  Karnes	  



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                                                                                     (57 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      5923
                                                                         of of
                                                                            13194 Page ID
                                        #:13134



                                                          Conf	  call	  DC	  pro	  bono	  lawyers/advocates/co-­‐counsel	  re	  status,	  amici,	  
       10/9/15	                    	  	       35	     appeal,monitoring	  
       10/9/15	                   2	           16	     Phone	  Call	  w/	  Carlos	  Holguin	  status	  case	  
                                                          Telecon	  Chapman	  Noam	  re	  coordinating	  monitoring	  and	  reports	  re	  
     10/13/15	                       	  	     25	     monitoring	  
     10/19/15	                       	  	     57	     Telecon	  Chapman	  re	  appeal,	  excerpts	  of	  record,	  etc.	  

     10/20/15	                       	  	     50	   Review	  Defs	  desig	  of	  record	  and	  review	  record	  re	  pltfs	  designation	  
     10/21/15	                       	  	     48	   Phone	  Call	  w/	  Carlos	  Holguin	  
                                                        Telecon	  Chapman	  Noam	  re	  coordinating	  monitoring	  and	  reports	  re	  
     10/22/15	                    1	           53	   monitoring/record	  on	  appeal	  
                                                        Telecon	  Chapman	  Noam	  re	  coordinating	  monitoring	  and	  reports	  re	  
     10/26/15	                       	  	     37	   monitoring	  
     10/26/15	                       	  	     20	   Telecon	  Chapman	  re	  9th	  Cir	  appeal	  

     10/30/15	                       	  	     41	   Telecon	  Chapman	  Noam	  reappeal,	  excerpts	  of	  record,	  transcripts,	  etc.	  
     11/17/15	   	  	                          5	   Reviewed	  Order	  Setting	  Assessment	  Conference	  
     11/18/15	                       	  	     15	   Telecon	  Chapman	  Noam	  re	  assessment	  conference	  


                                                        Review	  temporary	  injunction	  11/20/15	  &	  briefs	  &	  exhibits	  in	  
                                                        Grassroots	  Leadership	  v.	  Tex	  Dept	  of	  Family	  Services	  re	  references	  to	  
                                                        Flores,	  application	  to	  Dilley	  detention	  facility,	  review	  40	  TAC	  748.7	  
     11/24/15	                    2	           40	   (min	  standards),	  review	  transcript	  of	  12-­‐9-­‐15	  hearing	  
     11/25/15	                    1	            0	   Telecon	  with	  MTO	  and	  HRFirst	  attorneys	  re	  9th	  Cir	  amicus	  brief	  

     11/30/15	         	  	                   10	    Reviewed	  and	  Responded	  to	  Opp.	  Counsel	  Request	  to	  Expedite	  Appeal	  
     11/30/15	         	  	                   15	    Responded	  to	  Email	  Re	  Berks	  
     11/30/15	                     	  	       30	    Research	  re	  expedite	  appeal	  
     11/30/15	                     	  	       37	    Call	  w/	  Leon	  Fresco	  
     11/30/15	                    1	           57	    Telecons	  Chapman/interns	  re	  9th	  Cir	  research	  
      12/1/15	                    1	            0	    Prep	  for	  (15	  mins)	  &	  Conf	  call	  with	  co-­‐counsel	  
      12/1/15	         	  	                   15	    Reviewed	  D's	  Motion	  to	  Expedite	  Appeal	  and	  Exhibit	  
      12/5/15	                     	  	        2	    Phone	  Call	  w/	  Carlos	  Holguin	  
      12/7/15	         	  	                   15	    Wrote	  to	  Consultant	  Re	  Motion	  to	  Expedite	  
      12/8/15	                    1	            0	    Telecon	  with	  MTO	  and	  HRFirst	  attorneys	  re	  9th	  Cir	  amicus	  brief	  
      12/8/15	                    8	   	  	          P's	  Response	  to	  Motion	  to	  Expedite	  p.	  1-­‐4	  
      12/9/15	                     	  	        25	   Telecon	  ChapmanNoam	  re	  monitoring	  &	  9th	  Cir	  record	  

       12/9/15	                   1	            45	   Telecons	  Chapman	  Noam	  re	  implementation/reports	  Courts	  Aug	  order	  
       12/9/15	                   5	   	  	          P's	  Response	  to	  Motion	  to	  Expedite	  p.	  5-­‐7	  



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                                                                                     (58 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      6024
                                                                         of of
                                                                            13194 Page ID
                                        #:13135


      12/9/15	   	  	                                   30	   Drafted	  Email	  Re	  Motion	  to	  Expedite	  Declarations	  
     12/10/15	                     6	   	  	                  P's	  Response	  to	  Motion	  to	  Expedite	  p.	  7-­‐9	  
     12/10/15	   	  	                                    5	   Reviewed	  Order	  Re	  Mediation	  
     12/11/15	                     7	                    50	   P's	  Response	  to	  Motion	  to	  Expedite	  p.	  10-­‐13	  
     12/14/15	                      	  	                21	   Calls	  to/from	  the	  office	  
     12/16/15	                     1	   	  	                  Co-­‐counsel/	  consultants	  conf	  call	  
     12/16/15	   	  	                                    5	   Reviewed	  Order	  Expediting	  Briefing	  
                                                                  Telecon	  Chapman	  Noam	  re	  new	  briefing	  schedule,	  excerpt	  records,	  
     12/17/15	                      	  	                54	   emails	  to	  co-­‐counsel/consultants/advocates	  
     12/18/15	                     1	   	  	                  Reviewed	  Draft	  Amicus	  Brief	  from	  MTO	  and	  HRFirst	  
     12/21/15	                      	  	                30	   Telecon	  Noam	  Chapman/interns	  re	  amici	  briefs	  
                                                                  Review	  media	  reports,	  pro	  bono	  reports,	  internet	  re	  compliance	  re	  9th	  
        1/6/16	                     	  	                45	   Circuit	  review	  
       1/13/16	                    1	                     0	   Telecon	  with	  MTO	  and	  HRFirst	  attorneys	  re	  9th	  Cir	  amicus	  brief	  
       1/13/16	         	  	                            30	   Reviewed	  and	  Responded	  to	  Opp.	  Counsel	  Email	  
       1/15/16	         	  	                             5	   Reviewed	  Declaration	  of	  Sarah	  Fabian	  
       1/15/16	         	  	                            30	   Reviewed	  Record	  of	  Excerpts	  -­‐	  Volume	  One	  
       1/15/16	         	  	                            30	   Reviewed	  Record	  of	  Excerpts	  -­‐	  Volume	  Two	  
                                                                  Review	  DHS	  9th	  Cir	  brief,	  emails	  to	  co-­‐counsel	  and	  amicus	  counsel	  re	  
       1/16/16	                    1	                    10	   same	  and	  re	  conf	  calls,	  summary	  of	  DHS	  positions	  
       1/16/16	                    4	                    50	   Review	  and	  research	  D's	  Opening	  Brief	  
       1/17/16	                    5	                    30	   Review	  and	  research	  D's	  Opening	  Brief	  
       1/19/16	                    1	                     0	   Co-­‐counsel	  conf	  call	  with	  Alice,	  Virgina,	  Kate,	  Amanda,	  Elena.	  
       1/22/16	                    1	                     1	   Conference	  Call	  Line	  
       1/25/16	   	  	                                  30	   Drafted	  Email	  to	  Co-­‐Counsel	  Re	  9th	  Circ.	  Brief	  
       1/28/16	                    1	                    30	   Calls	  to/from	  the	  office	  
       1/29/16	                    1	         	  	            Confcall	  with	  consultants	  re	  status	  case	  
       1/31/16	                    4	                    10	   Prep	  for	  site	  visits	  and	  clas	  smember	  interviews	  
       1/31/16	                     	  	                51	   Call	  w/	  Kate	  Manning	  re	  status	  case/9th	  Cir	  briefing	  
       1/31/16	                     	  	                16	   Call	  w/	  Kate	  Manning	  re	  status	  case/9th	  Cir	  briefing	  
       1/31/16	                    6	         	  	            Travel	  to	  McAllen,	  TX	  for	  Class	  Member	  Interviews	  
        2/1/16	                    3	                    30	   Interviews	  with	  Class	  Members	  and	  Mothers	  at	  McAllen	  Facility	  
        2/1/16	                    4	         	  	            Interviews	  with	  Class	  Members	  and	  Mothers	  at	  Ursula	  Facility	  
        2/1/16	                    3	                    36	   Travel	  to	  Dilley,	  TX	  for	  Class	  Member	  Interviews	  
        2/2/16	                    8	         	  	            Interviews	  with	  Class	  Members	  and	  Mothers	  at	  Dilley	  Facility	  
        2/2/16	                    1	                    42	   Travel	  to	  Karnes	  City,	  TX	  for	  Class	  Member	  Interviews	  
                                                                  Prep	  for	  &	  Interviews	  with	  Class	  Members	  and	  Mothers	  at	  Karnes	  
         2/3/16	                   8	   	  	                  Facility	  
         2/3/16	                   1	                    20	   Travel	  to	  San	  Antonio	  
         2/4/16	                   3	                    29	   Travel	  to	  Los	  Angeles	  



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                                                                                     (59 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      6125
                                                                         of of
                                                                            13194 Page ID
                                        #:13136



                                            Review	  OIG	  report	  re	  ICE'sRelease	  of	  Immigration	  Detainees	  (OIG-­‐14-­‐
       2/4/16	        	  	        50	   116)	  	  
       2/5/16	        	  	        45	   Phone	  Call	  w/	  CH	  re	  appeal,	  CBP	  conditions,	  etc.	  
       2/5/16	       8	   	  	          Draft	  Answering	  Brief	  -­‐	  Summary	  of	  the	  Argument	  
                                            Drafted	  Answering	  Brief	  -­‐	  Jurisdictional	  Statement,	  Statement	  of	  
       2/6/16	       8	   	  	          issues,	  statement	  of	  case	  
       2/7/16	       8	   	  	          Drafted	  Answering	  Brief	  -­‐	  	  statement	  of	  case	  

                                              Res	  &	  draft	  rafted	  Answering	  Brief	  -­‐	  District	  Court	  Properly	  Held	  that	  
       2/8/16	       8	   	  	            the	  Settlement	  Applies	  to	  Accompanied	  Minors,	  (d)(i),	  (d)(ii)	  
       2/8/16	        	  	        15	     Telecon	  Chapman	  Noam	  re	  citations	  for	  answering	  brief	  
       2/8/16	        	  	        24	     Phone	  Call	  w/	  Carlos	  Holguin	  re	  answering	  brief	  
                                              Drafted	  answering	  brief	  -­‐	  The	  district	  court	  properly	  denied	  the	  Gov.'s	  
      2/13/16	       7	          30	       motiopn	  to	  amend	  the	  Agreement	  	  (a)(iv)	  
      2/14/16	       4	          20	       Prep	  for	  site	  visits,	  class	  member	  interviews	  
      2/14/16	       1	          30	       Reviewed	  Proposed	  Edits	  to	  9th	  Circuit	  Brief	  
                                              Research	  &	  draft	  Answering	  Brief	  -­‐	  district	  court	  properly	  denied	  the	  
      2/15/16	       7	          20	       Gov.'s	  motion	  to	  amend	  the	  Agreement	  	  (b)	  
      2/16/16	       4	          10	       Prep	  for	  site	  visit	  and	  class	  memger	  interviews	  
      2/16/16	       5	           0	       Finalize,	  cite	  check	  Plaintiffs'Opening	  Brief	  

      2/17/16	        	  	        20	   Conf	  call	  pro	  bono	  counsel	  &	  advocates	  re	  status	  case,	  answering	  brief	  
      2/17/16	       5	             9	   Travel	  to	  Philidelphia	  for	  Class	  Member	  Interviews	  
      2/17/16	       1	            15	   Travel	  to	  Reading,	  PA	  for	  Class	  Member	  Interviews	  
      2/18/16	       8	   	  	          Interviews	  with	  Class	  Members	  and	  Mothers	  at	  Berks	  Facility	  
      2/19/16	       6	   	  	          Interviews	  with	  Class	  Members	  and	  Mothers	  at	  Berks	  Facility	  
      2/19/16	       1	            15	   Travel	  to	  Philadelphia	  
      2/19/16	       6	            30	   Travel	  to	  Los	  Angeles	  
      2/20/16	       1	            15	   Reviewed	  Draft	  AACAP	  Amicus	  Brief	  
                                            Review	  20-­‐p	  Tx	  DFPS	  adoption	  of	  §748.7	  defining	  family	  residential	  
      2/22/16	        	  	        50	   centers	  
      2/22/16	       1	            15	   Reviewed	  and	  responded	  to	  email	  Re	  ACLU/AIC	  Amicus	  brief	  

      2/23/16	       2	            45	   Reviewed	  AACAP	  and	  NASW	  Amici	  Curiae	  Brief,	  exhibits	  &	  Motion	  
      2/23/16	       1	            45	   Reviewed	  UNHCR	  Amicus	  Curiae	  Brief	  and	  Motion	  to	  File	  
                                            Reviewed	  	  Fried,	  Frank,	  and	  Harriset	  al.	  	  Motion	  to	  File	  Amici	  Curiae	  
      2/23/16	       1	   	  	          Brief	  and	  Brief	  
                                            Reviewed	  Social	  Scientist	  Amici	  Curiae	  Brief,	  Motion	  to	  File,	  and	  
      2/23/16	       2	            10	   Exhibits	  




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                                                                                     (60 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
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                                                                            13194 Page ID
                                        #:13137



                                                        Conf	  call	  with	  advocates/consultants	  re	  status	  case	  9th	  Cir.,	  amici	  
       2/24/16	              1	              15	     briefs,	  etc.	  
                                                        Telecon	  legal	  assistant	  Chapman	  Noam	  re	  coordinating	  with	  
       2/25/16	                 	  	        30	     consultants,	  amicus	  briefs,	  etc.	  
       2/25/16	   	  	                       5	     Reviewed	  Order	  Granting	  Plaintiff's	  Amici	  
                                                        Telecon	  w/	  Chapman	  Noam	  re	  updating	  co-­‐counsel,	  scheduling	  conf	  
       2/26/16	                 	  	        20	     call	  w/consultants,	  research	  re	  next	  steps	  
       2/28/16	   	  	                      30	     Wrote	  Update	  Email	  to	  Co-­‐Counsel	  
                                                        Conf	  call	  with	  consultants	  re	  status	  case,	  next	  steps,	  9th	  Cir	  amicus	  
        3/4/16	              2	              10	     briefs	  etc.	  
        3/9/16	              4	              45	     Review	  &	  research	  re	  D's	  Reply	  Brief	  
       3/10/16	              4	              35	     Review	  &	  research	  re	  Defs'	  Reply	  Brief	  
        4/8/16	               	  	          55	     Telecon	  Chapman	  Noam	  re	  outreach	  amicus	  briefs,	  etc.	  
       4/15/16	               	  	          28	     Phone	  Call	  w/	  CH	  re	  amicus	  briefs	  
       4/20/16	               	  	          25	     Calls	  to/from	  the	  office	  
                                                        Review	  Sam	  Dykstra	  (Fried	  Frank	  et	  al)	  memo	  re	  decisions	  enforci	  ng	  
       4/26/16	              1	              30	     court	  orders,	  settlements	  and	  consent	  decrees	  
        5/4/16	   	  	                      30	     Wrote	  To	  Consultants	  Re	  Moot	  Court	  
       5/20/16	              1	              24	     Phone	  Call	  w/	  Phone	  Call	  w/	  Carlos	  Holguin	  
       5/27/16	               	  	          13	     Telecon	  Chapman	  Noam	  re	  9th	  Cir	  argument	  
       5/31/16	   	  	                      15	     Completed	  and	  Filed	  P's	  Acknowledgement	  of	  Hearing	  Notice	  
        6/2/16	                 	  	        30	     Telecon	  Chapman	  Noam	  re	  9th	  Cir	  argument	  

         6/3/16	             8	   	  	              Prep	  for	  (5	  hrs)	  &	  Ninth	  Circuit	  Oral	  Argument	  Moot	  Court	  (3	  hrs)	  
                                                        Conference	  Call	  w/	  Co-­‐Counsel	  -­‐	  Case	  Update;	  review	  CH	  email	  re	  
        6/4/16	              1	             0	       argument	  
        6/5/16	              3	            30	       Prep	  9th	  Cir	  argument	  
        6/6/16	              7	            30	       Prep	  for	  9th	  Cir	  oral	  argument	  
        6/7/16	              3	   	  	              Trvel	  to	  &	  from	  court	  &	  Ninth	  Circuit	  Oral	  Argument	  	  	  
       6/13/16	              2	             5	       Conf	  w/	  CH	  re	  discovery,	  crt	  hearing,	  etc.	  

       6/14/16	              3	   	  	              Telecons/emails	  re	  and	  Draft	  P's	  Citation	  of	  Supplemental	  Authorities	  

      6/16/16	   	  	                       15	   Reviewed	  D's	  Response	  to	  P's	  Citation	  of	  Supplemental	  Authorities	  
       7/6/16	               1	               0	   Reviewed	  9th	  Circuit	  Opinion	  
       7/8/16	   	  	                       30	   Conf	  w/	  CH	  re	  9th	  Cir.	  Decision	  
       7/9/16	   	  	                       25	   Conf	  w/	  CH	  re	  discovery,	  monitoring,	  etc.	  
     10/26/16	               6	              40	   Research	  and	  drafting	  EAJA	  motion	  
                                                      Review	  Joseph's	  (Orrick)	  EAJA	  memo;	  research	  and	  drafting	  EAJA	  
     10/27/16	               5	              30	   motion	  



                                                                                                                                                        23
                                                                                     (61 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      6327
                                                                         of of
                                                                            13194 Page ID
                                        #:13138



                                                                         Research	  and	  drafting	  EAJA	  motion	  &	  declaration;	  review	  co-­‐counsel	  
                    10/31/16	                     5	            50	   decs	  
         	  	                    	  	                	  	          	  	  
         	  	                    	  	                  	  	     	  	  
         	  	                    	  	                  	  	     	  	  
         Total	  
         Hours	                              656	   	  	          	  	  
         Enhanced	  
         rate	                        $875	   	  	                	  	  
         	  Total	                $574,073	   	  	               	  	  
  	  




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Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
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                                                                      6428
                                                                         of of
                                                                            13194 Page ID
                                        #:13139




                                      Schey Declaration

                                          Exhibit B




                                                                                     25
                                                                                     (63 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      6529
                                                                         of of
                                                                            13194 Page ID
                                        #:13140




                             PETER A. SCHEY RESUME (2016)


      This resume should not be used in any legal proceeding without
      contacting Peter A. Schey to determine whether information
      contained in this document requires updating.

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      PERSONAL:

      Place of Birth: Durban, South Africa

      Telephone: (323) 251-3223
      Facsimile: (310) 526-6537
      E-mail: pschey@centerforhumanrights.org
      The State Bar of California: Active # 58232

      Websites:
                www.centerforhumanrights.org
                www.casa-libre.org
                www.vocesunidas.org
                www.tents4homeless.org
      Facebook: www.facebook.com/center4humanrights

      ------------------------------------------------------------------------

      EDUCATION:

      Lowell High School, San Francisco, CA
      Graduated (honors) - June, 1964;

      University of California, Berkeley, CA
      Graduated (honors) - June, 1969
      Bachelor of Arts in Psychology

      California Western School of Law,
      San Diego, CA
      Juris Doctor (honors), June, 1973;
      Outstanding Service Award, March 2, 1972;


                                                                                     26
                                                                                     (64 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      6630
                                                                         of of
                                                                            13194 Page ID
                                        #:13141
      Peter Schey Resume
      Page 2


      California Western Law Review, 1971-72.

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      EMPLOYMENT HISTORY:

      LAW OFFICES OF PETER A. SCHEY

      Part-time private practice of law principally focusing on complex
      constitutional, transnational, criminal, immigration, and appellate
      litigation.

      UNIVERSITY OF SOUTHERN CALIFORNIA, LAW CENTER

      Adjunct Professor, University of Southern California Law Center,
      teaching courses on international human rights and immigration law
      (1987-1991).

      UNIVERSITY OF CALIFORNIA (LOS ANGELES) SCHOOL OF
      LAW

      Lecturer of Law, University of California School of Law teaching
      immigration and refugee law (Spring, 1989).

      SOUTHWESTERN UNIVERSITY SCHOOL OF LAW (LOS
      ANGELES)

      Adjunct Professor, University of Southern California Law Center,
      teaching courses on international human rights and administrative
      law

      LEGAL AID SOCIETY OF SAN DIEGO

      1973-1978: Established the first legal aid unit to provide
      representation for low-income immigrants in the Southern California
      area and initiated first class action cases on behalf of immigrants.



      NATIONAL CENTER FOR IMMIGRANTS RIGHTS


                                                                                     27
                                                                                     (65 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      6731
                                                                         of of
                                                                            13194 Page ID
                                        #:13142
      Peter Schey Resume
      Page 3



      1978-1980: Founded and served as Executive Director of the first
      national support center dedicated to the protection and promotion of
      the legal rights of immigrants. The program continues to function
      today as the National Immigration Law Center (NILC).


      CENTER FOR HUMAN RIGHTS AND CONSTITUTIONAL LAW
      FOUNDATION

      1980 – present: Founder and Executive Director of the Center for
      Human Rights and Constitutional Law Foundation (CHRCL
      Foundation). The Center is dedicated to the protection and
      promotion of fundamental civil liberties and human rights through
      major class action litigation, education, legal training and the
      presentation of petitions before international fora. The Center serves
      as a resource to social, legal, religious and community-based groups
      throughout the United States involved in civil and human rights
      advocacy.

      CENTER FOR HUMAN RIGHTS AND CONSTITUTIONAL LAW,
      INC.

      1997-present: Founder and Executive Director of the Center for
      Human Rights and Constitutional Law, Inc. (CHRCL Inc.), program
      that provides emergency services, including shelter, food, counseling,
      health, and educational services to unaccompanied homeless
      immigrant and refugee youth. Most of the youth served are from
      Mexico and Central America. See www.casa-libre.org

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      LITIGATION EXPERIENCE:

      Served as lead counsel or co-counsel in over 100 major civil rights
      and class action cases in federal courts throughout the United States
      involving access to education, health and welfare benefits,
      administrative law, the rights of immigrants, refugees and
      indigenous people, and complex individual cases involving
      constitutional, criminal, transnational, and corporate issues.


                                                                                     28
                                                                                     (66 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      6832
                                                                         of of
                                                                            13194 Page ID
                                        #:13143
      Peter Schey Resume
      Page 4


      Represented or supervised the representation of over 2,000 cases in a
      nation-wide project involving women who have suffered sexual
      harassment, abuse, or discrimination. Litigation against the federal
      government has resulted in the largest attorney fee awards in the
      country.


       (1) In re Alien Children Education Litigation, Doe v. Plyler, 457 U.S.
      202, 102 S.Ct. 2382, 95 L.Ed.2d 786 (1982) (U.S. Supreme Court) (lead
      counsel in State-wide class action case finding unconstitutional as a
      violation of Fourteenth Amendment equal protection a Texas statute
      which denied public education to undocumented children; over
      100,000 children admitted to Texas public schools annually as a result
      of United States District Court injunction affirmed by United States
      Supreme Court decision);
      (2) Enrique Fuenes v. City of Riverside (U.S. District Court, Central
      District of California) (lead counsel in lawsuit for damages following
      video-taped beating of Mexican national Mr. Fuenes by Riverside
      Sheriffs; Mr, Fuenes, a Mexican national migrant, was being
      smuggled in a high-speed chase; case settled and Mr. Fuenes received
      an award of $700,000)
      (3) Jane Doe v. State of Hawaii, Cv. No. 97-00169 (U.S. District Court
      for the District of Hawaii) (lead counsel in personal injury and
      injunction lawsuit involving Hawaii state hospital rules for
      physician-patient relations and sexual assault by psychiatrist;
      confidential settlement reached for monetary damages for plaintiff
      and State of Hawaii changes in policies and practices involving
      psychiatrist-patient relations);
      (4) American Apparel LLC: Legal counsel for American Apparel and
      CEO Dov Charney on range of cases including EEOC conciliation to
      achieve model sexual harassment policy, EEOC conciliation to
      achieve model ADA policy, litigation of individual cases,
      Immigration and Customs Enforcement (ICE) I-9 audit, public
      relations, and corporate social responsibility issues.
      (5) Directing attorney of Voces Unidas Project, a nationwide project
      involving representation of over 2,000 women victims of sexual
      harassment, abuse, or discrimination.


                                                                                     29
                                                                                     (67 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      6933
                                                                         of of
                                                                            13194 Page ID
                                        #:13144
      Peter Schey Resume
      Page 5


      (6) Thompson v. United States, Cv. No. 83-0903 (D. Hawaii) (civil
      action on behalf of prominent Hawaii lawyer resulting in broad
      injunction limiting manner in which Department of Justice criminal
      investigation could proceed against attorney target of criminal
      investigation);
      (7) Native American Heritage Commission v. Cal State Long Beach,
      No. BC 097212 (Los Angeles Superior Court) (lead counsel in State
      court lawsuit seeking to halt effort by California State University at
      Long Beach to build a shopping center over a historic Native
      American burial ground; preliminary injunction halted development
      plan);
      (8) California Medical Board v. Robbins (California Court of Appeals)
      (lead counsel in successful appeal and reversal of revocation of
      medical license of prominent surgeon in case involving turf battle
      with plastic surgeons resulting in unjustified charges; all charges
      dismissed and decision to revoke surgeon’s license reversed by the
      California Court of Appeals)
      (9) League of United Latin American Citizens, et al. v. Pete Wilson, et
      al., No. Cv. 94-7569-MRP (C.D. Cal.), LULAC v. Wilson, 908 F.Supp.
      755 (C.D. Cal. 1995) (lead counsel in California-wide class action case
      representing numerous elected officials and approximately one
      million families challenging the constitutionality of Proposition 187, a
      State-wide initiative denying health care, social services and
      education to wide classes of California immigrant residents; law
      declared unconstitutional in federal court decisions in 1995 and 1997);
      (10) People of the State of California v. Tariacuri Ramirez, Superior
      Court, Riverside County (counsel in obtaining full dismissal of first
      degree murder charge unjustly brought against the 17-year old
      defendant).
      (11) Development Disabilities Area Board 10 v. Smith, Cv. No. 500440
      (Los Angeles Superior Court) (lead counsel in state-wide class action
      leading to class-wide settlement allowing indigent children access to
      health care services);
      (12) Lopez v. INS, Cv. No. 78-1912-WB(xJ) (lead counsel in certified
      nation-wide class action case involving the right to legal counsel of



                                                                                     30
                                                                                     (68 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      7034
                                                                         of of
                                                                            13194 Page ID
                                        #:13145
      Peter Schey Resume
      Page 6


      persons arrested by INS; nation-wide settlement impacting over 1
      million class members per year reached requiring immigrants
      arrested by federal authorities to be provided written advisal of their
      legal rights and a period of time to consult with attorneys before
      post-arrest interrogation);
      (13) Charo v. United States, U.S. Ninth Circuit Court of Appeals, No.
      95-70574 (decided Feb, 20, 1997) (lead counsel for entertainer Charo
      in successful litigation for attorneys' fees following dismissal of
      employer sanctions charges brought by the United States
      Government against Charo's corporation in Hawaii).
      (14) Master Yungao Yi (aka Wan-Ko Yee) (Lead counsel for Master
      Yungao Yi, internationally renowned Buddhist leader and citizen of
      China now living in the United States in successful representation to
      have INTERPOL arrest warrant based on pending politically
      motivated criminal charges in China rescinded and cancelled);
      (15) United States v. Dr. Marcel Diennet, No. 90-202636 (U.S. District
      Court for the Western District of Tennessee) (favorable settlement of
      major multi-district federal criminal case involving alleged
      importation of scheduled drugs without proper import licenses by
      prominent French national physician);
      (16) Baliza v. INS, 709 F.2d 1231 (9th Cir. 1982) (lead counsel in
      federal Court of Appeals precedent case reversing federal agency's
      use of unauthenticated documents in contested administrative
      proceedings when maker of document is not made available by
      agency for cross-examination);
      (17) Moreno v. United States, Cv. No. 87-01431-TJH (C.D. Cal.), (lead
      counsel in settlement of Federal Tort Claim Act and Bivens action for
      wrongful arrest and deportation of a minor lawful resident by INS;
      child illegally deported by the INS awarded over $100,000 in
      damages);
      (18) American-Arab Anti-Discrimination Committee, et al., v. Anti-
      Defamation League of the B'Nai B'rith, et al., No. Cv. 93-6358-RP
      (C.D. Cal.) (lead counsel in civil rights federal court case against the
      City and County of San Francisco and other defendants challenging
      illegal invasions of privacy and surveillance of approximately 5,000



                                                                                     31
                                                                                     (69 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
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                                                                      7135
                                                                         of of
                                                                            13194 Page ID
                                        #:13146
      Peter Schey Resume
      Page 7


      individual class members and 1,000 organizations based solely on
      lawful First Amendment activities; final settlements required
      identification of thousands of pages of documents containing
      unlawful law enforcement information, redaction of documents from
      defendants' files, and injunctions regarding future policies and
      conduct; attorneys' fees awarded).
      (19) Catholic Social Services v. Meese, 113 S.Ct. 2485 (1993) (U.S.
      Supreme Court) (lead counsel in nation-wide class action case
      seeking legalization for 250,000 immigrants who briefly traveled
      abroad during one-time 1987-88 "amnesty" program and were
      therefore deemed ineligible to apply by Government; nation-wide
      injunction won permitted the filing of over 250,000 "late" amnesty
      applications after the statutory period expired; case settled by
      Department of Homeland Security following fifteen years of
      litigation);
      (20) Haitian Refugee Center v. Smith, 676 F.2d 1023 (1982) (U.S. Court
      of Appeals) (lead counsel in first major Florida class action case
      involving constitutional rights of Haitian refugees seeking political
      asylum in the United States; won permanent injunction reversing
      INS' denial of political asylum to over 5,000 Haitian refugees and
      prohibited their deportation from the United States to Haiti; federal
      legislation later granted class members permanent resident status);
      (21) Flores v. Meese, ___ U.S. ___ (U.S. Supreme Court 1993) (co-lead
      counsel in nationwide class action case challenging federal policies
      for apprehended children, including the conditions of detention;
      national settlement reached with the U.S. Government addressing the
      conditions of detention, requiring the federal government to (i) end
      commingling of detained children with unrelated adults, (ii) provide
      education and reading materials and visitation with friends and
      relatives; (iii) requiring release of detained minors in certain
      circumstances to unrelated responsible adults);
      (22) Immigrant Assistance Project of the Los Angeles County
      Federation Of Labor (AFL-CIO) v. Immigration and Naturalization
      Service, 306 F.3d 842 (9th Cir. 2002) (co-lead counsel in lawsuit
      challenging INS's denial of legalization to persons considered
      ineligible based on "known to government" statute; summary



                                                                                     32
                                                                                     (70 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      7236
                                                                         of of
                                                                            13194 Page ID
                                        #:13147
      Peter Schey Resume
      Page 8


      judgment won in favor of class of approximately 50,000 immigrants;
      INS appeal pending before the U.S. Court of Appeals);
      (23) Orantes-Hernandez v. Smith, 541 F.Supp. 351 (C.D. Cal. 1982)
      (co-lead counsel in nationwide class action case; won preliminary
      injunction covering about 30,000 Salvadorans fleeing the U.S.-
      sponsored war in their country regarding their right to seek and
      obtain political asylum in the United States, and their right to consult
      with lawyers);
      (24) Mendez v. INS, 563 F.2d 956 (1977) (lead counsel in federal
      Court of Appeals precedent case holding that when an immigrant's
      deportation by the INS was accomplished in violation of the due
      process guarantee of the U.S. Constitution, the immigrant must be
      allowed to return to the United States for further hearings);
      (25) Whetstone v. INS, 561 F.2d 1303 (1977) (lead counsel in federal
      Court of Appeals precedent case striking INS statutory interpretation
      of immigrant visa process);
       (26) Munoz v. Bell, Cv. No. 77-3765-WG (C.D. Cal. 1978) (lead
      counsel in major federal case resulting in court-ordered nation-wide
      settlement requiring the federal government to advise all persons in
      deportation proceedings of free legal services available to indigent
      immigrants);
       (27) Congressman R. Dellums v. Smith, Cv. No. 82-0040-G (S.D. Cal.
      1982) (lead counsel in class action resulting in injunction and
      settlement requiring the federal government to allow public access to
      administrative hearings at detention facilities);
       (28) Aviles-Torres v. INS, 790 F.2d 1433 (1986) (lead counsel in
      federal Court of Appeals case reversing Immigration Judge's denial
      of political asylum; interpretation of federal asylum and withholding
      statute)

      (29) United States v. Phra Winai (lead counsel in federal criminal and
      political asylum case involving high-profile Buddhist monk from
      Thailand; federal criminal case favorably resolved through settlement
      and political asylum granted avoiding extradition to Thailand where
      monk faced religious persecution).



                                                                                     33
                                                                                     (71 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      7337
                                                                         of of
                                                                            13194 Page ID
                                        #:13148
      Peter Schey Resume
      Page 9




      INTERNATIONAL WORK (PARTIAL LISTING):

      (1) South Africa Constitution Watch Commission (1990-1994)
      Founder and coordinator of an international commission to report on
      the constitutional positions of major parties in South Africa as
      evaluated under international human rights law. Commission
      included over 40 prominent jurists and political leaders, including
      former Costa Rican President Oscar Arias and former U.S. President
      Jimmy Carter.

      (2) Haitian Interdiction Petition (Sept. 1990-98) Lead counsel in
      successful human rights petition before the Inter-American
      Commission on Human Rights of the Organization of American
      States (OAS) challenging the U.S. Government's program of
      interdicting and returning Haitian refugee boatpeople without regard
      to their right to life, due process, to depart their country, and to seek
      asylum. Petition resulted in lengthy decision finding United States
      Government in violation of several binding international
      instruments; Commission's final decision was adopted by the General
      Assembly of the Organization of American States.

      (3) Stecel 11 Case,. Represented 11 leading trade unionists, longest
      held political prisoners in El Salvador during U.S.-backed war;
      petition filed with the Inter-American Commission on Human Rights
      of the OAS; release of prisoners negotiated and safe passage to
      Amsterdam obtained.

      (4) Dennis Quintanillia--Kidnapped Child. Negotiated release of U.S.
      citizen child kidnapped by Salvadoran National Guard after
      assassination of mother in El Salvador (New York Times, Feb. 20,
      1983, p. 1).

      (5) Legal counsel to President Bertrand Aristide of Haiti following his
      exile by military coup; successful entry into the United States
      following exile by coup; assisted in negotiations with U.S.
      Government for return to power; accompanied President Aristide
      when returned to Haiti.



                                                                                     34
                                                                                     (72 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      7438
                                                                         of of
                                                                            13194 Page ID
                                        #:13149
      Peter Schey Resume
      Page 10



      OTHER ACTIVITIES:

      (1) Founder and director of Voces Unidas, a nation-wide project
      undertaken in 2005 with the goal of identifying and representing
      low-income women and children victims of sexual harassment, abuse
      and discrimination and provide no cost legal representation.

      (2) Founder and director of "Safe Haven" and "Freedom House" ("Casa
      Libre") group homes for unaccompanied immigrant and refugee
      children; acquired $2 million funding to purchase and operate shelter
      facilities to provide youth with temporary housing, family
      reunification services, legal services, medical care, mental health
      counseling, etc. (www.casa-libre.org)


      EDITORIAL SERVICE (for dates of service contact Peter Schey):

      Migration Today
      Board of Editors of the Immigration Law and Procedure Reporter
      (Matthew Bender),
      Editorial Board, Immigration and Nationality Law Review (Clark
      Boardman),
      Advisory Board, Migration World Magazine (Center for Migration
      Studies).


      BAR ASSOCIATION AND COMMUNITY SERVICE:

      President of the Board, El Rescate (2004-2006), Board member 2006-
      present.
      Board member, People’s College of Law (2006-2009).
      President of Community Media Project (1993-1998).
      Vice-Chairperson of the Individual Rights Section of the Los Angeles
      County Bar Association (1986, 1990, 1992, 1994).
      General Counsel to the United California Mexican-American
      Association (1981-present).
      Board member Hermandad Mexicana Nacional (1988-1994).
      National Advisory Board Member, the National Asylum Appeals
      Project of the Lawyers Committee for Civil Rights (1986-1992).


                                                                                     35
                                                                                     (73 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      7539
                                                                         of of
                                                                            13194 Page ID
                                        #:13150
      Peter Schey Resume
      Page 11


      Board member The Resource Center (New Mexico) (1984-1986, 1990-
      1998);
      Board member CRISPAZ (Texas) (1986-87);
      Advisory Board, Bhopal Justice Campaign (1989-1993).
      Advisory Board, Guatemala Information Center (1989-1990).
      National Advisory Board, Guatemala Support Network (1992-
      present).
      Board member National Coalition for the Rights of Immigrants and
      Refugees (1990-1999).
      Executive Committee of the Immigration Section of the Los Angeles
      County Bar Association (1986).
      General Counsel to the Coalition for Humane Immigration Reform of
      Los Angeles (CHIRLA) (1987-88).
      Executive Committee, National Lawyers Guild Los Angeles Chapter
      (1988-1998).
      Chair, International Action Committee of the National Lawyers Guild
      (1995-2000).


      TREATISE:

      (1) Immigration Law and Procedure, chapter on political asylum (8-
      volume treatise on immigration and refugee law published by
      Mathew Bender)

      (2) Immigration Law & Crimes,, major contributor (published by
      Clark Boardman publishing company, 1984)


      AWARDS:

      2010 Loyola Marymount University recipient Intercultural Dialogue
      Person of the Year Award

      1996 County of Los Angeles and League of United Latin-American
      Citizens commendation for dedicated service to the affairs of the
      Latino community in the U.S.

      1988 Carol King Award for efforts "to secure justice for Salvadoran
      asylum seekers"


                                                                                     36
                                                                                     (74 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      7640
                                                                         of of
                                                                            13194 Page ID
                                        #:13151
      Peter Schey Resume
      Page 12



      1986 Commendation for Pro Bono Services by State Bar of California

      1985 Jack Wasserman Memorial Award by American Immigration
      Lawyers Association for "excellence in litigation" on behalf of
      immigrants

      1980 Clarence Darrow Foundation Award for civil rights litigation

      1980 Award for Outstanding Service to Hispanic Community by
      United California Mexican American Association


      PROFILES:

      *     New Times of Los Angeles (June 20, 2002)
      *     National Law Journal, Vol. 9, # 26 (March 1987)
      *     Los Angeles Times, Deja Vu for Rights Attorney (Nov. 10, 1994)


      PARTIAL LISTING OF CLIENTS SUCCESSFULLY REPRESENTED
      IN U.S. COURTS AND/OR INTERNATIONAL LAW PETITIONS:

      U.S. Representative Xavier Becerra
      U.S. Representative Ron Dellums
      California Senate Majority Leader Richard Polanco
      Chinese American Citizens Alliance (Washington, DC);
      United Farm Workers of America (AFL-CIO) (California);
      National Council of Churches (New York);
      United Methodist Church (Washington, DC);
      League of United Latin American Citizens (LULAC);
      American G.I. Forum (Dallas, Texas);
      American Apparel, Inc.
      Dov Charney, Founder and CEO of American Apparel
      Micro Solutions Enterprises (MSE)
      International Commission for the Defense of Salvadoran Refugees
      (San Salvador);
      Gerardo Hernandez (Cuba Five)
      Clergy and Laity Concerned (Washington, DC);
      Lutheran Council in the U.S.A. (Washington, DC);


                                                                                     37
                                                                                     (75 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      7741
                                                                         of of
                                                                            13194 Page ID
                                        #:13152
      Peter Schey Resume
      Page 13


      International Tribal Council (San Franscisco, Ca.);
      Guatemala Support Network (Washington, DC);
      Global Exchange (San Francisco, Ca.);
      California Catholic Conference (Sacramento, Ca.);
      Southern California Ecumenical Council (Los Angeles, Ca.),
      Arizona Farm Workers Union (Ariozna);
      California Native American Heritage Commission (Sacramento, Ca.);
      International Commission for the Defense of Salvadoran Refugees
      (San Salvador);
      Comisión Mexicana de Defensa y Promoción de Los Derechos
      Humanos, A.C. (Mexico);
      Central American Refugee Center (Washington, D.C.);
      ACLU Foundation of S. California (Los Angeles, Ca.);
      Center for Constitutional Rights (New York);
      American Friends Service Committee (AFSC) (Philadelphia, Pa.);
      National Farm Worker Ministries Washington, DC;
      Washington Office on Haiti (Washington, DC);
      Haitian Center for Human Rights (Port-au-Prince, Haiti);
      Palestine Aid Society (New York);
      National Coalition for Haitian Refugees (New York);
      Haitian Refugee Center (Miami, Fla.);
      United California Mexican American Association (San Diego, Ca.);
      Arab-American Anti-Discrimination Committee (Washington, DC);
      Committee in Solidarity with the People of El Salvador (Washington,
      DC);
      National Association of Arab Americans (Washington, DC);
      Association of Arab-American University Graduates, Inc.;
      Bay Area Anti-Apartheid Network (San Francisco, Ca.);
      International Jewish Peace Union;
      National Conference of Black Lawyers (New York);
      American Indian Movement (Colorado);
      National Lawyers Guild (New York);
      Coalition Against Police Abuse (Los Angeles, Ca.);
      Palestine Solidarity Committee (New York);
      Association for Residency and Citizenship of America
      Academia Mexicana de Derechos Humanos, A.C. (Mexico);

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                                                                                     38
                                                                                     (76 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      7842
                                                                         of of
                                                                            13194 Page ID
                                        #:13153




                                      Schey Declaration

                                          Exhibit C




                                                                                     39
                                                                                     (77 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      7943
                                                                         of of
                                                                            13194 Page ID
                                        #:13154


Center for Human Rights & Constitutional Law
Flores Expenses
January 2015 through July 2016
              Type          Date          Memo               Account         Clr   Amount
  American Airlines
       Credit Card Charge 01/29/16   Airfare to Texas     Travel                        379.10
       Credit Card Charge 02/04/16   Baggage Fee          Travel                         25.00
       Credit Card Charge 02/12/16   Texas Air Travel     Travel                        228.10
       Credit Card Charge 02/15/16   Air Travel to PA     Travel                        228.10
       Credit Card Charge 02/19/16   Air Travel to PA     Travel                         25.00
  Total American Airlines                                                               885.30
  Chapman Noam
                                  Best Buy -
                                  Portable Printer
       Bill              02/10/16 for Flores              Office Expense                194.39

                                     FedEx Office-
       Bill              03/07/16    BInding for Flores   Printing & Publishing          76.20
                                     FedEx Office -
                                     Shipping for
       Bill              03/07/16    Flores               Postage & Messenger           126.49
                                     9th Circuit Moot
                                     Court at Orrick
       Bill              06/27/16    FLORES               Office Expense                 30.00
                                     Mediation with
                                     Judge King
       Bill              06/27/16    FLORES               Office Expense                   8.00
                                     Snacks for Flores
                                     Mediation at
                                     CHRCL Office
       Bill               06/27/16   FLORES               Office Expense                 34.65
  Total Chapman Noam                                                                    469.73
  Curb
       Credit Card Charge 02/04/16 Taxi Fees              Travel                         32.56
  Total Curb                                                                             32.56
  Delia's
                                   Meals - Texas
       Credit Card Charge 02/01/16 Trip                   ConferencesTraining FoodLodging 7.08
  Total Delia's                                                                           7.08
  Eat At Joes's
                                   Meals during
       Credit Card Charge 02/19/16 travel to PA           ConferencesTraining FoodLodging 12.36
  Total Eat At Joes's                                                                     12.36
  El Charro

       Credit Card Charge 02/01/16 Meals, Texas Trip ConferencesTraining FoodLodging 22.94
  Total El Charro                                                                    22.94




                                                                                                  40
                                                                                     (78 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      8044
                                                                         of of
                                                                            13194 Page ID
                                        #:13155


  Gogoair.com
                                   In-flight internet
       Credit Card Charge 02/17/16 service              Travel           29.95
                                   In-flight internet
       Credit Card Charge 02/19/16 service              Travel           26.95
  Total Gogoair.com                                                      56.90
  Hertz Rent A Car
                                   Car Rental during
       Credit Card Charge 02/19/16 trip to PA           Travel           20.62
  Total Hertz Rent A Car                                                 20.62
  Homewood Suites Hotel
       Credit Card Charge 02/17/16 Travel in PA         Travel            2.00
  Total Homewood Suites Hotel                                             2.00
  LAX Airport
       Credit Card Charge 02/20/16 Parking              Travel           90.00
  Total LAX Airport                                                      90.00
  On-Line Hotel
                                   Hotel Booking
       Credit Card Charge 01/30/16 Texas                Travel           88.89
                                   Hotel Booking
       Credit Card Charge 01/30/16 Texas                Travel          113.20
  Total On-Line Hotel                                                   202.09
  Papa John's

       Credit Card Charge 02/01/16 Meals, Texas Trip Travel              21.11
  Total Papa John's                                                      21.11
  Pear Tree Inn
                                   Hotel Stay in San
       Credit Card Charge 02/04/16 Antonio             Travel            99.23
  Total Pear Tree Inn                                                    99.23
  Peter J Camiel Service Plaza
                                   Meals for travel in
       Credit Card Charge 02/17/16 PA.                 Travel            10.67
  Total Peter J Camiel Service Plaza                                     10.67
  Peter Schey
       Bill               05/11/15 Washington D.C. Travel               967.20
                                   United Airlines -
                                   Bag Fees Flores
       Bill               12/30/15 Travel              Travel            25.00
                                   United Airlines -
                                   Bag Fees Flores
       Bill               12/30/15 Travel              Travel            25.00
                                   The Eldon Luxury
                                   Suites - Flores
       Bill               12/30/15 Travel              Travel           712.84

                                   Cab Fairway 9 -
       Bill               12/30/15 Taxi Flores Travel Travel             78.23



                                                                                     41
                                                                                     (79 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      8145
                                                                         of of
                                                                            13194 Page ID
                                        #:13156


                                  Dulles Airport
                                  Taxi - Taxi Flores
       Bill              12/30/15 Travel             Travel                               70.00

                                  Taxi Cab F656 -
       Bill              12/30/15 Taxi Flores Travel Travel                               10.76

                                     Thally Restaurant
                                     - Meals Travel
       Bill              12/30/15    Flores              ConferencesTraining FoodLodging 50.00
                                     Au Bon Pain -
                                     Meals Flores
       Bill              12/30/15    Travel              ConferencesTraining FoodLodging 9.82
                                     Starbucks -
                                     Meals Flores
       Bill              12/30/15    Travel              ConferencesTraining FoodLodging 14.96
                                     Areas USA LAX -
                                     Meals Flores
       Bill              12/30/15    Travel              ConferencesTraining FoodLodging 15.23
                                     Brasserie Beck -
                                     Meals Flores
       Bill              12/30/15    Travel              ConferencesTraining FoodLodging189.40
                                     Starbucks -
                                     Meals Flores
       Bill              12/30/15    Travel              ConferencesTraining FoodLodging 4.02
  Total Peter Schey                                                                   2,172.46
  Philadelphia 1761
                                     Meals during
       Credit Card Charge 02/19/16   travel to PA        ConferencesTraining FoodLodging 11.49
  Total Philadelphia 1761                                                                11.49
  Priceline Hotel
       Credit Card Charge 02/13/16   Priceline Hotel     Travel                          121.89
       Credit Card Charge 02/17/16   Priceline Hotel     Travel                          296.80
  Total Priceline Hotel                                                                  418.69
  Roybal Cafe
       Credit Card Charge 06/24/16   Meals               ConferencesTraining FoodLodging 13.03
  Total Roybal Cafe                                                                      13.03
  Salt Marina Del Rey
       Credit Card Charge 05/18/15   flores              Litigation cost reimbursement    37.70
       Credit Card Charge 05/22/15   flores              Litigation cost reimbursement    17.08
       Credit Card Charge 05/22/15   flores              Litigation cost reimbursement    22.04
  Total Salt Marina Del Rey                                                               76.82
  Southern Inn and Suite
                                   Hotel in Kenedy,
       Credit Card Charge 02/03/16 TX               Travel                                58.75
  Total Southern Inn and Suite                                                            58.75
  Southwest Air
       Credit Card Charge 01/06/15 travel texas     Travel                               507.20




                                                                                                  42
                                                                                     (80 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      8246
                                                                         of of
                                                                            13194 Page ID
                                        #:13157


       Credit Card Charge 02/21/16 travel texas     Travel                         477.96
  Total Southwest Air                                                              985.16
  Starbucks
                                   Meals during
       Credit Card Charge 02/17/16 travel           ConferencesTraining FoodLodging 29.10
  Total Starbucks                                                                   29.10
  Subway

       Credit Card Charge 02/03/16 Meals, Texas Trip ConferencesTraining FoodLodging 18.35
  Total Subway                                                                       18.35
  Thrifty Car Rental
                                   Car Rental for
       Credit Card Charge 02/04/16 Texas Trip        Travel                         439.13
  Total Thrifty Car Rental                                                          439.13
  Travel Insurance Policy
       Credit Card Charge 01/29/16 Insurance         Travel                          23.69
       Credit Card Charge 01/30/16 Insurance         Travel                          45.00
       Credit Card Charge 02/13/16 Insurance         Travel                          21.00
       Credit Card Charge 02/13/16 Insurance         Travel                          21.88
  Total Travel Insurance Policy                                                     111.57
  United Air
       Credit Card Charge 01/29/16 Airfare to Texas Travel                          810.60
  Total United Air                                                                  810.60
  Wingate Inn & Suites
                                   Lodging, Texas
       Credit Card Charge 02/01/16 Trip              Travel                          96.77
  Total Wingate Inn & Suites                                                         96.77
TOTAL                                                                             7,174.51




                                                                                             43
                                                                                     (81 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      8347
                                                                         of of
                                                                            13194 Page ID
                                        #:13158



                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                    Exhibit 4

                                                                                     44
                                                                                     (82 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      8448
                                                                         of of
                                                                            13194 Page ID
                                        #:13159


                             DECLARATION OF CARLOS HOLGUIN

         I, Carlos Holguín, declare and say as follows:

         1. I am one of the attorneys representing plaintiffs in this action. I am employed

  by, and serve as General Counsel of, the Center for Human Rights and Constitutional

  Law (CHRCL), a non-profit, public interest law firm that provides free legal

  representation to indigent immigrants and refugees. I execute this declaration in

  support of plaintiffs' motion for an award of attorney's fees pursuant to the Equal

  Access to Justice Act, 28 U.S.C. § 2412(d). A true and correct copy of my resume

  detailing my experience and qualifications is included as Exhibit A to this declaration.

         2. I was admitted to practice before the Supreme Court of the State of California

  in November 1979; the United States District Court for the Central District of California

  in December 1979; the United States District Court for the Eastern District of California

  in December 1979; the United States Circuit Court of Appeals for the Ninth Circuit in

  May 1982, the United States Supreme Court in February 1992, the United States District

  Court for the Southern District of California in July 1992; and the United States District

  Court for the Northern District of California in March 2007.

         3. Since 1984 my practice has focused on litigation, advocacy and technical

  support in furtherance of the rights of immigrants and refugees. As regards legal

  support services, the California Legal Services Trust Fund has funded CHRCL since
  1982 to provide technical support and training to qualified legal services programs and

  attorneys serving pro bono publico in the areas of immigration law, constitutional law,

  and impact litigation. In my capacity as CHRCL’s general counsel, I regularly provide

  technical support, advocacy support, and training to legal aid and pro bono lawyers on

  immigration law, constitutional law, and complex litigation.

         4. In the area of litigation, I have served as lead or co-counsel in numerous major

  class actions on behalf of immigrants and refugees, including Reno v. Flores, 507 U.S. 292

  (1993), which resulted in a nationwide settlement fixing standards for the housing and



                                                                                             45
                                                                                     (83 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      8549
                                                                         of of
                                                                            13194 Page ID
                                        #:13160


  release of children arrested pending deportation proceedings; Perez-Olano v. Gonzalez,

  248 F.R.D. 248 (C.D. Cal. 2008), which resulted in a nationwide settlement expanding

  eligibility for special immigrant status, an immigration benefit for abused, abandoned

  and neglected children; We Are America v. Maricopa County, 297 F.R.D. 373 (D. Ariz.

  2013), a state-wide class injunction against prosecuting migrants for conspiring to

  transport themselves; Orantes-Hernandez v. Smith, 541 F.Supp. 351 (C.D. Cal. 1982), a

  national class action on behalf of Salvadoran nationals blocked from applying for

  political asylum; League of United Latin American Citizens v. Wilson, 908 F. Supp. 755

  (C.D. Cal. 1995), a state-wide class action that overturned a state proposition that would

  have denied health care, social services and education to suspected undocumented

  immigrants; Catholic Social Services v. Immigration and Naturalization Service, 232 F.3d

  1139 (9th Cir. 2000) (en banc), a national class action that restored the right of some

  500,000 class members to apply for legalization under the Immigration Reform and

  Control Act of 1986; and Plyler v. Doe, 457 U.S. 202 (1982), a state-wide class action that

  established the right of children to a public elementary education regardless of their

  immigration status.

         5. I am fluent in English and Spanish. The majority of class members in the

  litigation the CHRCL conducts, including Flores v. Lynch, are monolingual Spanish-

  speakers, and the ability to communicate with these class members in their native
  language is invaluable.

         6. I believe that the successful prosecution of the instant action required an

  unusual combination of skills, knowledge, and experience. Since 1985 I have devoted a

  good part of my practice to working with immigrant and refugee minors; I believe that

  my language skills and the insight I have developed with this population through, for

  example, my work in negotiating and monitoring the settlement in Flores v. Lynch, was

  invaluable to the success of this litigation.

         7. Throughout this litigation, I have maintained contemporaneous records of


                                                  -2-
                                                                                                46
                                                                                     (84 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
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                                                                      8650
                                                                         of of
                                                                            13194 Page ID
                                        #:13161


  time I have spent on this case. Exhibit B to this declaration sets forth a true and correct

  itemization of this time. For the most part, I record a summary of my activity, which

  sometimes comprises related tasks. For example, a time entry indicating that I have

  spent X hours checking a set of citations, for example, includes time spent following the

  history, treatment, related cases, and cases that cite a principal citation. I have exercised

  billing judgment in preparing the attached time records.

         8. The total time I believe compensable for my work on plaintiffs’ motion to

  enforce the Flores settlement against defendant Department of Homeland Security, Dkt.

  No. 100, and tasks related thereto, including opposing defendants’ motion to modify

  the settlement, Dkt. No. 120, is 433.67 hours, as reflected in the attached itemization.

         I declare under penalty of perjury that the foregoing is true and correct.

         Executed this 23rd day of September, 2016, at Los Angeles, California.




                                             _____________________________
                                             Carlos Holguin

  ///




                                              -3-
                                                                                                47
                                                                                     (85 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      8751
                                                                         of of
                                                                            13194 Page ID
                                        #:13162



                                      Curriculum Vitae



  CARLOS HOLGUIN

  Home:                                             Office:
  15920 Calle El Capitan                            256 S. Occidental Blvd.
  Santa Clarita, California 91390                   Los Angeles, CA 90057
  (661) 270-0912                                    (213) 388-8693 x109
  e-mail: crholguin@centerforhumanrights.org



  PROFESSIONAL DEGREES

  •      Juris Doctorate, May 1979.

         Peoples College of Law, Los Angeles, California. Emphasis on civil rights, labor,
         and administrative law.

  BAR ADMISSIONS

  •      Supreme Court of the State of California, November 1979.

  •      United States District Court for the Central District of California, December 1979.

  •      United States District Court for the Eastern District of California, December 1979.

  •      United States Circuit Court of Appeals for the Ninth Circuit, May 1982.

  •      United States Supreme Court, February 1992.

  •      United States District Court for the Southern District of California, July 1992.

  •      United States District Court for the Northern District of California, March 2007.

  PROFESSIONAL EXPERIENCE

  •      General Counsel, Center for Human Rights & Constitutional Law, Los Angeles,
         California. 1984 to present.

  Duties: General counsel for non-profit, public interest legal advocacy center
  specializing in legal, legislative, and educational work in furtherance of the rights of
  immigrants and refugees. Serve as lead and co-counsel in impact litigation involving
  deportation, political asylum, the rights of juveniles, and social services.

  Additional duties include administration of grants, financial operations, office
  computerization, and community liaison.



                                              -1-                             Exhibit A      48
                                                                                     (86 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      8852
                                                                         of of
                                                                            13194 Page ID
                                        #:13163


  •      Staff attorney, Westside Legal Services, Santa Monica, California, 1982-83.

  Duties: Serve as sole staff attorney for community legal assistance office providing
  services for eligible low income clients. Coordinate and supervise U.C.L.A. law
  students in clinical program involving counseling and direct representation of eligible
  clients. Maintain caseload with emphasis on eviction defense, government benefits, and
  consumer rights.

  •      Staff attorney, National Center or Immigrants' Rights, Los Angeles, California (Research
         Associate prior to bar admission), 1977-82.

  Duties: Serve as principal and co-counsel for national Legal Services support center.
  Heavy emphasis on impact litigation involving immigration, civil rights of non-citizens,
  administrative law and procedure, eligibility for government benefits, and
  constitutional law.

  Additional duties include serving as a resource attorney for Legal Services field
  programs in the areas of immigration law and procedure, refugee rights, and federal
  litigation; training of Legal Services attorneys and paralegals; legislative monitoring and
  analysis; preparation of technical articles and training materials on immigrants' and
  refugees' rights and federal litigation; coordination and supervision of El Rescate, a
  direct services project providing legal assistance to Central American refugees.

  SPECIAL SKILLS

  Read, write, and speak Spanish. Extensive experience in non-profit administration.

  REFERENCES

  Furnished on request.




                                               -2-
                                                                                               49
                                                                                                                                                                            (87 of 273)
                           Case 2:85-cv-04544-DMG-AGR
                                    Case: 15-56434, 11/02/2016,
                                                          Document
                                                                ID: 10184263,
                                                                     351-1 Filed
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                                                                                 03/16/17
                                                                                        65-2,
                                                                                           Page
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                                                                                                    of of
                                                                                                       13194 Page ID
                                                                   #:13164

Attorney	Time	Report	—	Flores	v.	Johnson,	Motion	to	Enforce	re:	DHS	—	Carlos	Holguín

Date           Start	Time     Stop	Time    Elapsed	Time Client           Category      Description
     6/19/14         11:27	AM      5:55	PM             4.9 Flores-DHS    Litigation    Investigate	surge	settlement	violations.
      7/7/14         10:39	AM     12:47	PM            2.13 Flores-DHS    Litigation    Review	settlement	compliance;	email	ACLU,	etc.
     7/14/14         10:54	AM      3:28	PM             1.7 Flores-DHS    Litigation    Research	settlement	sunset	provision.
     7/17/14          3:11	PM      4:34	PM            1.39 Flores-DHS    Litigation    Conf	call	w/co-counsel	and	email	re:	settle	monitoring.
     7/22/14          2:33	PM      4:02	PM            1.47 Flores-DHS    Litigation    Conf.	calls	re:	settlement	enforcement.
     8/13/14          8:58	AM     10:46	AM            1.81 Flores-DHS    Litigation    Coordinate	facility	inspections;	book	travel,	etc.
     8/17/14         11:07	AM     10:29	PM           11.38 Flores-DHS    Litigation    Prep	4	class	mbr	interviews;	TV	to	Texas.
     8/18/14          7:40	AM      3:30	PM            6.84 Flores-DHS    Litigation    Class	mbr	interviews
     8/19/14          7:40	AM      6:30	PM           10.83 Flores-DHS    Litigation    Interview	class	mbrs.;	Travel	back	to	LA.
     8/27/14         10:30	AM     12:27	PM            1.95 Flores-DHS    Litigation    Email	to	co-counsel	re:	enforcement	strategy.
     8/29/14          9:30	AM     10:15	AM            0.75 Flores-DHS    Litigation    Telecon	w/ACLU	re:	settle	enforce.
      9/3/14          2:00	PM      4:00	PM               2 Flores-DHS    Litigation    Research	family	detention;	telecon	w/NCYL,	YLC.
      9/8/14         12:03	PM      5:49	PM            4.86 Flores-DHS    Litigation    Telecons,	email,	research	re:	settlement	violations.
      9/9/14          1:18	PM      1:50	PM            0.53 Flores-DHS    Litigation    Emails	to	ACLU,	NCYL	re:	settlement	violations.
     9/10/14          1:16	PM      3:24	PM            2.13 Flores-DHS    Litigation    Telecon	w/Olsi	&	Tamara	&	Judy	re:	settle	violations.
     9/11/14          1:18	PM      6:00	PM             4.7 Flores-DHS    Litigation    Draft	class	mbr	inquiry;	email	co-counsel;	R&D	6-month	inquiry	letter.
     9/15/14          1:17	PM      5:31	PM            4.24 Flores-DHS    Litigation    Email	opp.	counsel	re:class	mbr.;	research	nat'l	security	response.
     9/16/14          8:42	AM      2:32	PM            1.35 Flores-DHS    Litigation    Email	&	phone	calls	with	advocates.
     9/18/14          9:00	AM      8:53	PM           11.88 Flores-DHS    Litigation    Travel	to	Artesia;	meet	w/AILA	volunteers
     9/19/14          5:45	AM      5:57	PM               8 Flores-DHS    Litigation    Interviews	w/class	members.
     9/20/14          8:00	AM      8:00	PM           11.99 Flores-DHS    Litigation    Interview	class	mbrs.,	travel	to	El	Paso.
     9/21/14          8:00	AM     12:30	PM             4.5 Flores-DHS    Litigation    Tv	to	Los	Angeles
     9/21/14          8:25	AM     10:15	AM            1.83 Flores-DHS    Litigation    Draft	6-month	questions	re:	settle	compliance.
     9/22/14          2:12	PM      3:55	PM            1.73 Flores-DHS    Litigation    Telecon	w/PAS	re:	Artesia,	potential	litigation.
     9/22/14          4:03	PM      4:27	PM             0.4 Flores-DHS    Litigation    R&D	6	month	questions.
     9/23/14          6:57	AM      8:41	AM            1.75 Flores-DHS    Litigation    Review,	suggest	edits	to	class	counsel	ltr	to	DHS	secretary	re:	family	detention.
     9/23/14          2:28	PM      4:03	PM            1.57 Flores-DHS    Litigation    Finalize	6-month	letter	re:	settle	implementation.
     9/26/14         10:00	AM     11:09	AM            1.15 Flores-DHS    Litigation    Telecon	w/MTO,	NCYL,	re	settle	enforce.
     9/26/14          1:54	PM      3:06	PM            1.21 Flores-DHS    Litigation    Research	bond	standards;	email	co-counsel.
     9/28/14          7:10	AM      8:16	AM            1.09 Flores-DHS    Litigation    Research	statutory	basis	for	no-bond	policy.
     9/29/14         11:02	AM      6:34	PM            6.66 Flores-DHS    Litigation    Compile	and	revise	6-month	letter.
     9/30/14         12:05	PM      1:16	PM            1.18 Flores-DHS    Litigation    Draft	pre-meet	letter.
     9/30/14          1:16	PM      1:43	PM            0.45 Flores-DHS    Litigation    Telecon	w/B.	Hines,	et	al.,	re:	Karnes	City.
     9/30/14          3:59	PM      4:30	PM            0.51 Flores-DHS    Litigation    Telecon	w/co-counsel	re:	rescheduling	DHS	meeting.
     10/1/14          8:42	AM      9:03	AM            0.35 Flores-DHS    Litigation    Email	co-counsel	re	DHS	meeting.
     10/2/14          7:46	AM      9:20	AM            1.56 Flores-DHS    Litigation    Review	pre-meet	letter;	email	co-counsel	re	same	+	meet/confer.
     10/2/14         11:40	AM      4:24	PM            3.58 Flores-DHS    Litigation    Edit/finalize	6-month	settlement	monitoring	questions.
     10/5/14         10:19	AM      2:52	PM            2.02 Flores-DHS    Litigation    Draft	emails	to	co-counsel	&	OIL	re:	management	of	litigation,	etc.
     10/8/14          5:59	AM      5:04	PM            6.29 Flores-DHS    Litigation    Telecons,	draft	email	to	OIL,	draft	meet/confer	letter.	
     10/9/14          6:35	AM     10:39	AM            1.72 Flores-DHS    Litigation    Draft	meet/confer	letter.
    10/15/14          2:13	PM      3:48	PM            1.58 Flores-DHS    Litigation    Finalize	&	distribute	meet/confer	request.
    10/15/14          3:48	PM      6:22	PM            2.57 Flores-DHS    Litigation    Draft	model	advocate	declaration.


                                                                                                                                                                Exhibit B   50
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                 Case 2:85-cv-04544-DMG-AGR
                          Case: 15-56434, 11/02/2016,
                                                Document
                                                      ID: 10184263,
                                                           351-1 Filed
                                                                    DktEntry:
                                                                       03/16/17
                                                                              65-2,
                                                                                 Page
                                                                                    Page
                                                                                       9054
                                                                                          of of
                                                                                             13194 Page ID
                                                         #:13165

10/21/14    9:13	AM    9:53	AM    0.67   Flores-DHS   Litigation   Email	to	Karnes	advocates,	etc.
10/22/14    9:45	AM   11:05	AM       1   Flores-DHS   Litigation   Email	to	detainee	advocates.
10/27/14    1:06	PM    3:05	PM    1.98   Flores-DHS   Litigation   Telecons	w/ACLU	Prison	Project	&	Orrick	re:	settlment	enforcement.
10/28/14    7:04	AM    7:27	AM    0.39   Flores-DHS   Litigation   Email	Orrick	re:	settle	violation	research.
10/30/14    9:59	AM   11:23	AM     1.4   Flores-DHS   Litigation   Meet/confer.
 11/6/14   12:31	PM    6:51	PM    4.96   Flores-DHS   Litigation   Telecon	w/co-counsel;	draft	email	to	field	re:	enforcement	update,	etc.
11/13/14   11:27	AM    1:36	PM    2.14   Flores-DHS   Litigation   Draft	enforcement	motion	structure;	distribute	to	co-counsel.
11/17/14    2:28	PM    6:38	PM    4.16   Flores-DHS   Litigation   Research	and	draft	motion	to	enforce.
11/19/14    2:30	PM    5:54	PM     3.4   Flores-DHS   Litigation   Assemble	&	distribute	evidence	re:	motion	to	enforce.
11/20/14   10:47	AM   12:59	PM    1.32   Flores-DHS   Litigation   Research	&	draft	motion	to	enforce.
11/24/14   11:08	AM    6:05	PM     5.5   Flores-DHS   Litigation   Research	&	draft	motion	to	enforce.
11/25/14    3:45	PM    4:12	PM    0.45   Flores-DHS   Litigation   Review	and	select	enforcement	exhibits.
11/26/14    2:55	PM    3:36	PM    0.67   Flores-DHS   Litigation   Research	&	draft	motion	to	enforce.
11/28/14   11:52	AM    2:23	PM    2.02   Flores-DHS   Litigation   Research	&	draft	motion	to	enforce.
 12/1/14    8:35	AM    9:09	AM    0.56   Flores-DHS   Litigation   Conf.	call	w/La	Raza	Centro	Legal	re:	enforcement.
 12/1/14    1:44	PM    6:22	PM    4.64   Flores-DHS   Litigation   Research	&	draft	motion	to	enforce.
 12/2/14    3:14	PM    5:25	PM    2.19   Flores-DHS   Litigation   Review	and	critique	draft	advocate	declarations.
 12/4/14    1:41	PM    6:04	PM    4.39   Flores-DHS   Litigation   Review	evidence;	research	&	draft	motion	to	enforce.
 12/5/14    9:07	AM    5:51	PM    2.87   Flores-DHS   Litigation   Telecons	&	email	w/co-counsel	UT	clinic	&	La	Raza	Central.
 12/8/14    1:31	PM    6:07	PM     4.6   Flores-DHS   Litigation   Coordinate	work	w/co-counsel;	email	&	telecons	re:	experts;	research	&	draft	enforcement	motion.
 12/9/14    1:34	PM    5:09	PM     2.6   Flores-DHS   Litigation   Research	&	draft	motion	to	enforce.
12/10/14   10:23	AM    4:29	PM    4.64   Flores-DHS   Litigation   Research	&		draft	motion	to	enforce.
12/10/14    4:00	PM    4:30	PM     0.5   Flores-DHS   Litigation   Conf	call	w/licensing	expert,	Gene	Berger.
12/11/14   10:14	AM    5:00	PM    5.72   Flores-DHS   Litigation   Research	&	draft	motion	to	enforce.
12/12/14    9:00	AM   10:00	AM       1   Flores-DHS   Litigation   Conf.	call	w/co-counsel	re:	status,	division	of	work,	etc.
12/17/14   11:12	AM   11:49	AM    0.61   Flores-DHS   Litigation   Research	Orantes	motion	to	dissolve;	email	decisions	to	co-counsel.
12/18/14    4:17	PM    5:54	PM    1.62   Flores-DHS   Litigation   Research	and	write	motion	to	enforce.
12/19/14    8:39	AM    9:41	AM    1.02   Flores-DHS   Litigation   Review	draft	brief;	conf.	call	w/co-counsel.
12/22/14    9:54	AM   11:32	AM    1.58   Flores-DHS   Litigation   Conf.	call	w/expert,	co-counsel.
12/22/14   11:33	AM    5:51	PM    5.31   Flores-DHS   Litigation   Research	&	write	motion	to	enforce.
12/26/14    8:42	AM    9:22	AM    0.66   Flores-DHS   Litigation   Review	draft	motion;	conference	call	w/co-counsel.
12/29/14   11:29	AM    6:12	PM    3.97   Flores-DHS   Litigation   Draft	motion	2	enforce	re:	release.
12/29/14    3:24	PM    5:26	PM    2.04   Flores-DHS   Litigation   Set-up	class	mbr.	interviews	+	facility	inspections.
12/30/14    1:52	PM    3:28	PM    0.93   Flores-DHS   Litigation   Prepare	&	send	facility	visit	letter.
  1/2/15   10:20	AM   10:48	AM    0.47   Flores-DHS   Litigation   Email	to	OIL	re:	facility	visits.
  1/5/15   11:26	AM    7:02	PM     5.6   Flores-DHS   Litigation   Coordinate	facility	visits;	respond	to	co-counsel	email.
  1/6/15   12:05	PM   12:55	PM    0.84   Flores-DHS   Litigation   Telecon	w/Ranjana	&	Barbara	re:	current	conditions,	briefing	strategy,	etc.
  1/6/15    1:36	PM    3:46	PM    1.24   Flores-DHS   Litigation   Draft	&	distribute	model	detainee	declaration,	interview	checklists.
  1/7/15    8:33	AM    3:30	PM    6.95   Flores-DHS   Litigation   Travel	to	San	Antonio	for	class	mbr	interviews
  1/8/15    7:45	AM    7:33	PM   11.13   Flores-DHS   Litigation   Class	member	interviews:	Dilley
  1/9/15    7:50	AM    6:33	PM   10.47   Flores-DHS   Litigation   Class	member	interviews:	Karnes	City.
 1/10/15    8:40	AM    2:20	PM    5.67   Flores-DHS   Litigation   Travel	to	Los	Angeles	from	San	Antonio
 1/11/15    9:33	AM    4:04	PM    3.19   Flores-DHS   Litigation   Coordinate	completing	motion	to	enforce,	exhibits,	experts.
 1/11/15    4:25	PM    5:46	PM    1.28   Flores-DHS   Litigation   Draft	declaration	re:	Karnes,	Dilley.
 1/12/15   10:48	AM    4:32	PM    2.27   Flores-DHS   Litigation   Draft	Dilley-Karnes	declaration;	select	exhibits;	email	co-counsel.



                                                                                                                                                                51
                                                                                                                                                        (89 of 273)
                Case 2:85-cv-04544-DMG-AGR
                         Case: 15-56434, 11/02/2016,
                                               Document
                                                     ID: 10184263,
                                                          351-1 Filed
                                                                   DktEntry:
                                                                      03/16/17
                                                                             65-2,
                                                                                Page
                                                                                   Page
                                                                                      9155
                                                                                         of of
                                                                                            13194 Page ID
                                                        #:13166

1/13/15    9:23	AM   10:21	AM    0.97   Flores-DHS   Litigation   Draft/circulate	response	to	OIL	re:	additional	meet/confer.
1/13/15    1:37	PM    6:23	PM    4.77   Flores-DHS   Litigation   Research	&	draft	motion	to	enforce	-	no-release	policy.
1/15/15    1:51	PM    3:59	PM    2.12   Flores-DHS   Litigation   R&D	motion	to	enforce,
1/16/15    7:58	AM    9:18	AM    1.33   Flores-DHS   Litigation   Assemble	exhibits;	email	to	co-counsel.
1/16/15   10:36	AM    7:32	PM    3.51   Flores-DHS   Litigation   R&D	motion	to	enforce	-	no-release	policy.
1/17/15    4:21	AM    9:10	AM    3.01   Flores-DHS   Litigation   Research	&	draft	motion	to	enforce	-	no-release	policy.
1/18/15    5:44	AM    4:09	PM    3.39   Flores-DHS   Litigation   Research	&	draft	motion	to	enforce	-	no-release	policy	re:	mothers.
1/19/15    6:30	AM    8:53	AM    1.48   Flores-DHS   Litigation   Complete	&	circulate	draft	enforcement	brief.
1/23/15    8:51	AM   10:19	AM    1.46   Flores-DHS   Litigation   Edit	latest	iteration	of	MTE.
1/26/15   10:21	AM   12:00	PM    1.65   Flores-DHS   Litigation   Draft	proposed	order.
1/26/15   12:00	PM   12:48	PM     0.8   Flores-DHS   Litigation   Teleconf	w/co-counsel	re:	MTE,	proposed	relief,	etc.
1/26/15    2:42	PM    6:17	PM    3.06   Flores-DHS   Litigation   Revise	no-release	argument;	circulate.
1/27/15   10:34	AM    5:59	PM    6.49   Flores-DHS   Litigation   Edit	MTE.
1/28/15    6:59	AM    9:37	AM    2.62   Flores-DHS   Litigation   Complete	MTE	edit;	circulate.
1/28/15    1:00	PM    2:09	PM    1.15   Flores-DHS   Litigation   Conf.	call	w/co-counsel.
1/29/15    2:42	PM    5:54	PM    3.21   Flores-DHS   Litigation   Final	edit	of	MTE	motion,	brief,	etc.
1/30/15    7:19	AM    8:24	AM    1.09   Flores-DHS   Litigation   Prepare	and	forward	stip	&	order	re:	filing	under	seal.
 2/5/15    3:15	PM    5:18	PM    2.05   Flores-DHS   Litigation   Revise	proposed	MTE	order.
 2/7/15    8:08	AM    9:35	AM    1.45   Flores-DHS   Litigation   Revise	proposed	order;	draft	explanation	for	co-counsel.
 2/9/15   11:10	AM    1:02	PM    1.87   Flores-DHS   Litigation   Meet	w/PAS	re:case	management	&	strategy.
 2/9/15    2:57	PM    6:05	PM    3.13   Flores-DHS   Litigation   E-file	&	email	re:	declarations	under	seal.
2/10/15    9:18	AM    9:28	AM    0.17   Flores-DHS   Litigation   Email	to	S.Fabian	re:	hearing	dates.
2/19/15    2:04	PM    6:30	PM    4.43   Flores-DHS   Litigation   Draft	letter	re:	pre-discovery.
2/20/15    1:26	PM    2:13	PM    0.77   Flores-DHS   Litigation   Review	RILR	PI	decision.
2/23/15    4:23	PM    7:33	PM    3.16   Flores-DHS   Litigation   Review	RILR	briefing,	CRS	report	re:	UIM	migration.
 3/2/15   11:00	AM    1:17	PM    2.29   Flores-DHS   Litigation   Review	MTE	opp	&	motion	to	modify;	conf.	call	w/co-counsel;	meet	w/PAS	re	briefing.
 3/2/15    2:11	PM    6:30	PM    2.29   Flores-DHS   Litigation   R&D	MTE	reply.
 3/3/15   10:04	AM    3:18	PM    2.84   Flores-DHS   Litigation   R&D	reply	to	MTE	opposition.
 3/4/15    1:41	PM    6:19	PM    4.57   Flores-DHS   Litigation   R&D	opp	2	mod	settlement.
 3/5/15    9:20	AM    6:47	PM    8.91   Flores-DHS   Litigation   Reseach	&	draft	opposition	to	modify	settlement.
 3/6/15    6:34	AM    5:36	PM    8.83   Flores-DHS   Litigation   Edit	brief	in	opposition	to	motion	to	modify	settlement.
 3/9/15   11:31	AM    1:15	PM    1.72   Flores-DHS   Litigation   Edit,	file	evidentiary	objections;	supplemental	exhibits.
 3/9/15    1:58	PM    6:32	PM    4.56   Flores-DHS   Litigation   R&D	reply	to	MTE	opposition.
3/10/15    1:38	PM    6:07	PM    4.48   Flores-DHS   Litigation   R&D	reply	to	MTE	opposition.
3/11/15    9:16	AM    7:06	PM    6.76   Flores-DHS   Litigation   R&D	reply	to	MTE	opposition.
3/12/15    6:10	AM   12:53	PM    4.52   Flores-DHS   Litigation   R&D	reply	to	MTE	opposition.
3/13/15   12:58	PM    5:19	PM    3.45   Flores-DHS   Litigation   Edit	MTE	reply
3/16/15    3:02	PM    4:11	PM    1.15   Flores-DHS   Litigation   Review	motion	to	amend	repy	&	pre-discovery	supplemental	answers/production.
3/23/15    3:36	PM    6:21	PM    2.74   Flores-DHS   Litigation   Prep	for	MTE/Modify	hearing.
3/25/15   12:30	PM    2:15	PM    0.98   Flores-DHS   Litigation   Prep	for	MTE/modify	hearing.
3/26/15    3:39	PM    4:46	PM    1.11   Flores-DHS   Litigation   Prepare	stip	to	continue	hearing,	proposed	order.
3/27/15    7:34	AM    7:47	AM    0.22   Flores-DHS   Litigation   Finalize	&	e-file	stip	to	continue.
3/30/15    2:37	PM    5:08	PM    2.52   Flores-DHS   Litigation   Review	new	evidence;	structure	rebuttal	evidentiary	filing.
 4/2/15   12:29	PM    5:48	PM    4.32   Flores-DHS   Litigation   Research	&	assemble	additional	evidence.
4/10/15    9:54	AM   12:13	PM    2.32   Flores-DHS   Litigation   Finalize	evidence	objection	response,	4th	set	of	exhibits.



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                                                                                                                                                             (90 of 273)
                 Case 2:85-cv-04544-DMG-AGR
                          Case: 15-56434, 11/02/2016,
                                                Document
                                                      ID: 10184263,
                                                           351-1 Filed
                                                                    DktEntry:
                                                                       03/16/17
                                                                              65-2,
                                                                                 Page
                                                                                    Page
                                                                                       9256
                                                                                          of of
                                                                                             13194 Page ID
                                                         #:13167

 4/23/15   10:21	AM         7:31	PM                   5.99 Flores-DHS   Litigation   Prep	for	MTE	hearing.
 4/24/15    5:44	AM         2:43	PM                   8.25 Flores-DHS   Litigation   Prep	for	MTE	hearing;	3	hrs	travel.
 4/24/15    2:11	PM         4:36	PM                    2.4 Flores-DHS   Litigation   MTE	hearing
 4/27/15    2:57	PM         6:23	PM                   3.44 Flores-DHS   Litigation   Meet	w/PAS;	draft	memo	to	field	re:	4/24	hearing.
 4/28/15    1:51	PM         2:50	PM                   0.99 Flores-DHS   Litigation   Conf	call	w/RILR	counsel.
  5/1/15   12:06	PM         1:09	PM                   1.04 Flores-DHS   Litigation   Conf	call	w/advocates	re:	negotiations.
 7/28/15    9:44	AM         9:59	AM                   0.24 Flores-DHS   Litigation   Research	waiver	of	settlement	benefits.
 8/24/15   11:15	AM         1:00	PM                   1.73 Flores-DHS   Litigation   Meet/telecon	w/PAS,	et	al.,	re:	settlement	compliance.
10/28/15    4:00	PM         5:20	PM                   1.33 Flores-DHS   Litigation   Meet	w/Women's	Commission	re:	CBP	conditions.
  2/5/16   10:17	AM       10:54	AM                    0.62 Flores-DHS   Litigation   Telecon	w/PAS	re:	CBP	conditions,	appeal,	etc.
  5/4/16    3:06	PM         4:31	PM                   1.42 Flores-DHS   Litigation   Research	transition	to	removal/expedited	removal.
  6/4/16   10:28	AM       10:47	AM                    0.32 Flores-DHS   Litigation   Email	to	PAS	re:	argument,	etc.
  6/6/16    1:48	PM         2:51	PM                   1.05 Flores-DHS   Litigation   Revisit	memorandum	of	understanding	re:	accompanied	minors'	coverage.
 6/13/16   11:39	AM         1:46	PM                   2.12 Flores-DHS   Litigation   Conf	w/PAS	re:	discovery,	hearing.
  7/8/16   12:23	PM       12:51	PM                    0.47 Flores-DHS   Litigation   Telecon	w/PAS	re:	9th	Cir.	op,	etc.
  7/9/16   10:33	AM       10:57	AM                    0.39 Flores-DHS   Litigation   Telecon	w/PAS	re:	discovery,	etc.
                      Total	hours                 432.67
                      Rate          $																 725 	
                      Total	Fees         313,685.75
                                    $								




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                                                                                     (91 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
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                                    Exhibit 5

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                                                                                     (92 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      9458
                                                                         of of
                                                                            13194 Page ID
                                        #:13169


                             DECLARATION OF MARCHELA IAHDJIAN


 I, Marchela Iahdjian, declare and say as follows:
        1. I was one of the attorneys representing plaintiffs in this action. I was employed

 by and served as staff attorney of the Center for Human Rights and Constitutional Law

 (CHRCL), a non-profit, public interest law firm that provides free legal representation to

 indigent immigrants and refugees. I execute this declaration in support of plaintiffs'

 motion for an award of attorney's fees pursuant to the Equal Access to Justice Act, 28

 U.S.C. § 2412(d). A true and correct copy of my resume detailing my experience and

 qualifications is included as Exhibit A to this declaration.

        2. I graduated from University of California, Hastings School of Law in May 2011

 and was then admitted to the State Bar of California in January of 2014. I worked as a

 staff attorney at CHRCL from August 2013 October 2015, during which time I served as
 co-counsel for the plaintiffs in this action.

        3. Since 1984 CHRCL’s practice has focused on litigation, advocacy and technical

 support in furtherance of the rights of immigrants and refugees. As regards legal support

 services, the California Legal Services Trust Fund has funded CHRCL since 1982 to

 provide technical support and training to qualified legal services programs and attorneys

 serving pro bono publico in the areas of immigration law, constitutional law, and impact

 litigation. In my capacity as CHRCL’s staff attorney, I regularly provided technical

 support, advocacy support, and training to legal aid and pro bono lawyers on immigration

 law and policy.

        4. Throughout this litigation, I maintained records of time I worked on this case.

 Exhibit B to this declaration sets forth an itemization of this time. I have exercised billing

 judgment in preparing the attached time records. I have not recorded numerous short discussions

 and meetings with Carlos Holguin or Peter Schey involving the Flores litigation on almost a daily

 basis. Nor have I recorded numerous short telephone conversations and emails, likely numbering

 in the hundreds, with consultants and pro bono attorneys involving the motion to enforce.
                                                   -1-
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                                                                                     (93 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      9559
                                                                         of of
                                                                            13194 Page ID
                                        #:13170


        5. The total time I believe compensable for my work related to plaintiffs’ motion
 to enforce the Flores settlement against defendant Department of Homeland Security, Dkt.

 No. 100, is 118.32 hours, as reflected in the attached itemization.

        I declare under penalty of perjury that the foregoing is true and correct. Executed

 this 2nd day of November, 2016, at Los Angeles, California.




                                             s/ Marchela Iahdjian
                                             Marchela Iahdjian
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                                              -2-
                                                                                          56
                                                                                     (94 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      9660
                                                                         of of
                                                                            13194 Page ID
                                        #:13171




                                     Iahdjian Declaration

                                          Exhibit A




                                                                                     57
                                                                                     (95 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      9761
                                                                         of of
                                                                            13194 Page ID
                                        #:13172




                                                                                     58
                                                                                     (96 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      9862
                                                                         of of
                                                                            13194 Page ID
                                        #:13173




                                                                                     59
                                                                                     (97 of 273)
Case 2:85-cv-04544-DMG-AGR
         Case: 15-56434, 11/02/2016,
                               Document
                                     ID: 10184263,
                                          351-1 Filed
                                                   DktEntry:
                                                      03/16/17
                                                             65-2,
                                                                Page
                                                                   Page
                                                                      9963
                                                                         of of
                                                                            13194 Page ID
                                        #:13174




                                     Iahdjian Declaration

                                          Exhibit B




                                                                                     60
                                                                                        (98 of 273)
Case 2:85-cv-04544-DMG-AGR
          Case: 15-56434, 11/02/2016,
                               Document
                                      ID: 10184263,
                                          351-1 FiledDktEntry:
                                                       03/16/1765-2,
                                                                  Page
                                                                     Page
                                                                        10064ofof131
                                                                                  94 Page ID
                                         #:13175
                                    Flores v. Johnson                Prepapred: 10/02/15
                                  Time Records for Marchela Iahdjian

Date       Task                 Notes                                                         Hours
  5/4/15   Flores v. Jophnson   Telecon with Peter re travel to DC, contact info pro bono counsel0.8
 5/12/15   Flores v. Johnson    Meeting with Peter                                                  1.5
 5/13/15   Flores v. Johnson    Telecon w/ Peter meeting with Defs' counsel re settlement           0.7
 5/19/15   Flores v. Johnson    Telecon with Peter re settlement positions / research               1.4
  6/3/15   Flores v. Johnson    Phone Call w/ Peter                                                0.68
 6/12/15   Flores v. Johnson    Telecons Peter review status of litigation, research, settlement drafts
                                                                                                    1.5
 6/18/15   Flores v. Johnson    Telecon PS re status case and next steps re settlement              0.5
 6/30/15   Flores v. Johnson    co-counsel call and follow-up                                         3
  7/1/15   Flores v. Johnson    Phone call w/ Peter re settlement                                  1.23
  7/6/15   Flores v. Johnson    Meet w/ Peter to go over Surge numbers spreadsheet                 0.75
  7/6/15   Flores v. Johnson    Meet w/ law clerk Manuel re: Flores research                        0.5
  7/8/15   Flores v. Johnson    Edit proposed order, emailed co-counsel and consultants, downloaded1.33    and archived
  7/8/15   Flores v. Johnson    Figure out how to encrypt and prevent people from downloading      0.17
                                                                                                     Google drive file
  7/9/15   Flores v. Johnson    Call w/ co-counsel, talk to Peter, call w/ consultants, emails, etc. 5
  7/9/15   Flores v. Johnson    Work on compiling responses to press releases by ICE               3.29
 7/10/15   Flores v. Johnson    Conference call w/ consultants and co-counsel (1pm-3:10pm) 2.33
 7/10/15   Flores v. Johnson    Emails, distribute counter-offer to team, send new consultant agreements,
                                                                                                      1        send doc
 7/13/15   Flores v. Johnson    Call w/ govt.                                                      0.25
 7/13/15   Flores v. Johnson    Call w/ consultants and co-counsel                                 2.42
 7/15/15   Flores v. Johnson    emails, archiving, telecon meeting w/ Peter, research                 5
 7/16/15   Flores v. Johnson    Advisals work                                                      0.58
 7/16/15   Flores v. Johnson    proposed order                                                     2.48
 7/16/15   Flores v. Johnson    conference call w/ David & Leon                                    0.58
 7/20/15   Flores v. Johnson    Research                                                           0.25
 7/20/15   Flores v. Johnson    meet w peterre proposed order, prep cponf call consultants etc.1.67
 7/20/15   Flores v. Johnson    email to co counsel to schedule a call, go through tentative and1.52make notes to propo
 7/20/15   Flores v. Johnson    conference call w/ co counsel                                      1.18
 7/24/15   Flores v. Johnson    Review court order teleconsemailsconsultants re same                  6
 7/27/15   Flores v. Johnson    Flores order summary, draft sign-on, draft email to ngos and qlsps,6.27 conference call w
 7/28/15   Flores v. Johnson    Call w/ Jessica re: pope and join press call                       0.17
 7/28/15   Flores v. Johnson    emails, get to Pope                                                0.58
 7/30/15   Flores v. Johnson    emails recourts july Order                                         0.25
  8/4/15   Flores v. Johnson    telecon Peter re responding to Court's JulyOSC
 8/10/15   Flores v. Johnson    Research, prep for reply filing                                    5.19
 8/11/15   Flores v. Johnson    Research, meeting w/ Peter, draft, emails,review/org exhibits 7.12
 8/12/15   Flores v. Johnson    Research drafting, exhibits prep                                     16
 8/13/15   Flores v. Johnson    Reply filing, exhibit review & prep                                  20
 8/21/15   Flores v. Johnson    Teleon Peter re Court's remeidal Order                             0.66
 8/24/15   Flores v. Johnson    Prep for call w/ advocates and conference call                        6
 8/25/15   Flores v. Johnson    Call re Berks                                                         2
 8/25/15   Flores v. Johnson    Emails                                                                1
  9/2/15   Flores v. Johnson    Telecons with Peter re pltf appeal, monitoring remedial order         2
 9/14/15   Flores v. Johnson    time records                                                       0.97
 9/28/15   Flores v. Johnson    Outreach emails re: monitoring                                      0.5
 10/1/15   Flores v. Johnson    Flores Monitoring Call w/ advocates                                 1.1
 10/1/15   Flores v. Johnson    Prepare draft monitoring form for Flores August 21 Order            1.5
 10/2/15   Flores v. Johnson    Follow-up email re: monitoring Flores August 21 Order               0.2




                                                                                                      61
                                                                                        (99 of 273)
Case 2:85-cv-04544-DMG-AGR
          Case: 15-56434, 11/02/2016,
                               Document
                                      ID: 10184263,
                                          351-1 FiledDktEntry:
                                                       03/16/1765-2,
                                                                  Page
                                                                     Page
                                                                        10165ofof131
                                                                                  94 Page ID
                                         #:13176
                                    Flores v. Johnson                Prepapred: 10/02/15
                              Time Records for Marchela Iahdjian

                                                                        TOTAL:   118.32




                                                                                       62
                                                                                     (100 of 273)
Case 2:85-cv-04544-DMG-AGR
          Case: 15-56434, 11/02/2016,
                               Document
                                      ID: 10184263,
                                          351-1 Filed
                                                    DktEntry:
                                                      03/16/1765-2,
                                                                 Page
                                                                    Page
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                                                                                94 Page ID
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                                    Exhibit 6

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                                                                                     (101 of 273)
Case 2:85-cv-04544-DMG-AGR
          Case: 15-56434, 11/02/2016,
                               Document
                                      ID: 10184263,
                                          351-1 Filed
                                                    DktEntry:
                                                      03/16/1765-2,
                                                                 Page
                                                                    Page
                                                                      10367ofof131
                                                                                94 Page ID
                                         #:13178



                               DECLARATION OF CHAPMAN NOAM
   I, Chapman Noam, declare and say as follows:

          1. I am a legal assistant and paralegal to the attorneys representing plaintiffs in this

   action. I am employed by the Center for Human Rights and Constitutional Law (CHRCL), a non-

   profit, public interest law firm that provides free legal representation to indigent immigrants and

   refugees. I execute this declaration in support of plaintiffs' motion for an award of attorney's fees

   pursuant to the Equal Access to Justice Act, 28 U.S.C. § 2412(d). A true and correct copy of my

   resume detailing my experience and qualifications is included as Exhibit A to this declaration.

          2. I graduated with a Bachelors of Arts in Business Administration from California State

   University, Fullerton in August 2014. Beginning October 1, 2016 I have been enrolled in the

   Law Office Study Program through the State Bar of California with Peter Schey, Executive

   Director of CHRCL and lead counsel for the plaintiffs, supervising my studies.

          3. I have been employed in my current role as paralegal at CHRCL since September

   2015. Before this I volunteered with CHRCL as a legal assistant beginning in July 2015. During

   this time, I have assisted the attorneys of record in the instant litigation Flores v. Lynch. My role

   in this action focused on coordinating with the Flores co-counsel to provide litigation support,

   editing documents, and conducting legal research when necessary.

          4. Throughout my time working on this litigation, I have maintained records of time I

   have spent on this case. Exhibit B to this declaration sets forth an itemization of this time. I have

   exercised billing judgment in preparing the attached time records. I have also excluded hundreds

   of discussions, emails, meetings, phone calls, etc. with class counsel Peter Schey and other co-

   counsel that generally lasted about ten minutes or less.

          5. The total time I believe compensable for my work assisting with litigation related to

   plaintiffs’ motion to enforce the Flores settlement and the appeal is 59.83 hours, as reflected in

   the attached itemization.


                                                    -1-
                                                                                                        64
                                                                                     (102 of 273)
Case 2:85-cv-04544-DMG-AGR
          Case: 15-56434, 11/02/2016,
                               Document
                                      ID: 10184263,
                                          351-1 Filed
                                                    DktEntry:
                                                      03/16/1765-2,
                                                                 Page
                                                                    Page
                                                                      10468ofof131
                                                                                94 Page ID
                                         #:13179


   I declare under penalty of perjury that the foregoing is true and correct. Executed this 2nd day of

   November, 2016, at Los Angeles, California.




                                                _______________/s/______________
                                                Chapman Noam

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                                                   -2-
                                                                                                     65
                                                                                     (103 of 273)
Case 2:85-cv-04544-DMG-AGR
          Case: 15-56434, 11/02/2016,
                               Document
                                      ID: 10184263,
                                          351-1 Filed
                                                    DktEntry:
                                                      03/16/1765-2,
                                                                 Page
                                                                    Page
                                                                      10569ofof131
                                                                                94 Page ID
                                         #:13180




                                      Noam Declaration

                                          Exhibit A




                                                                                      66
                                                                                        (104 of 273)
   Case 2:85-cv-04544-DMG-AGR
             Case: 15-56434, 11/02/2016,
                                  Document
                                         ID: 10184263,
                                             351-1 Filed
                                                       DktEntry:
                                                         03/16/1765-2,
                                                                    Page
                                                                       Page
                                                                         10670ofof131
                                                                                   94 Page ID
                                            #:13181
Chapman Noam                                                   256 S. Occidental Blvd. Los Angles, CA 90057
                                     (213) 388-8693 x301          chapmannoam@centerforhumanrights.org

                                                 Education
The State Bar of California Law Office Study Program                                     Los Angeles, CA
Center for Human Rights and Constitutional Law                                           10/16 – present
   •   Expected completion: 9/2020

California State University, Fullerton                                                   Fullerton, CA
Bachelor of Arts, Business Administration/Marketing                                      9/10 - 5/14
   •   Coursework included strategic internet marketing and professional selling

                                                 Experience
Phantom Ales                                                                            Anaheim, CA
   Social Media Specialist                                                              08/14 – 1/15
   •   Conceptualized and implemented a customer acquisition strategy utilizing a variety of online platforms
   •   Managed social media accounts by interacting with customers and producing engaging content
   •   Monitored and analyzed multiple metrics to continually retool and improve strategies

Center for Human Rights and Constitutional Law                                            Los Angeles, CA
   Research Assistant                                                                     7/15 – 9/15
   •   Conducted extensive research on racial disparities with regard to healthcare and mass incarceration
   •   Coordinated within a team setting to delegate responsibilities and ensure project was executed in an
       organized and timely manner

Center for Human Rights and Constitutional Law                                              Los Angeles, CA
   Legal Assistant                                                                          9/15 – present
   •   Edited and drafted sections of briefing in high impact class action litigation regarding DHS’ detention
       policies toward asylum seeking mothers and children.
   •   Hired, trained, and delegated responsibilities to incoming interns and volunteers.
   •   Coordinated nationwide pro-bono efforts to inspect DHS detention facilities as an enforcement
       mechanism of the 1996 Flores Settlement Agreement.
   •   Prepared and edited parole applications and appeals for a client targeted by the FBI’s Cointelpro
       program.
   •   Organized and coordinated the Tents-4-Homeless project. A grassroots initiative aimed at alleviating the
       immediate needs of homeless populations in Los Angeles County.
   •   Organized CLE trainings; drafted supporting materials and practice advisories.

                                           Additional Training
   •   Parole in Immigration Law – Immigrant Legal Resource Center                       11/15
   •   Looking Beyond DACA/DAPA Part 1: Advance Parole – CHRCL                           6/16
   •   Looking Beyond DACA/DAPA Part 2: Deferred Action Status – CHRCL                   6/16

                                                  Personal
   •   Intermediate written and oral Spanish skills




                                                                                                      67
                                                                                     (105 of 273)
Case 2:85-cv-04544-DMG-AGR
          Case: 15-56434, 11/02/2016,
                               Document
                                      ID: 10184263,
                                          351-1 Filed
                                                    DktEntry:
                                                      03/16/1765-2,
                                                                 Page
                                                                    Page
                                                                      10771ofof131
                                                                                94 Page ID
                                         #:13182




                                      Noam Declaration

                                          Exhibit B




                                                                                      68
                                                                                           (106 of 273)
      Case 2:85-cv-04544-DMG-AGR
                Case: 15-56434, 11/02/2016,
                                     Document
                                            ID: 10184263,
                                                351-1 Filed
                                                          DktEntry:
                                                            03/16/1765-2,
                                                                       Page
                                                                          Page
                                                                            10872ofof131
                                                                                      94 Page ID
                                               #:13183

                                       FLORES	  TIME	  RECORDS	  -­‐	  CHAPMAN	  NOAM
Date       Start              Finish          Hours          Mins               Task
  11/10/15     1:00	  PM         2:00	  PM         1.00                       Conference	  Call	  with	  Flores	  Consultants
  11/13/15     1:00	  PM          2:00	  PM        1.00                       Conference	  Call	  with	  Flores	  Consultants
                                                                                Conference	  Call	  with	  Medical/Psych	  Amicus	  
  11/25/15       1:00	  PM        2:00	  PM        1.00                       Team
                                                                                Conference	  call	  with	  Co-­‐Counsel	  re	  Motion	  to	  
   12/1/15       1:00	  PM        2:00	  PM        1.00                       Expedite
  12/15/15      12:00	  PM        1:00	  PM        1.00                       Conference	  Call	  with	  Flores	  Co-­‐Counsel
                                                                                Telecon	  Noam	  Chapman/interns	  re	  amici	  
  12/21/15                                                                   30 briefs
   1/19/16       4:00	  PM        5:00	  PM        1.00                       Co-­‐Counsel	  Conference	  Call
                                                                                Archived	  RILR	  v.	  Johnson	  Pleadings	  and	  
    1/25/16     12:34	  PM        1:34	  PM        1.00                       Researched	  application	  to	  Flores
                                                                                Excerpted	  DC	  Briefs	  and	  Prepared	  Exhibit	  
     2/5/16      8:45	  AM        1:15	  PM        4.00                    30 Reference	  Table
                                                                                Excerpted	  D's	  References	  to	  RILR	  and	  
     2/5/16      5:00	  PM        6:00	  PM        1.00                       Deterrence	  Argument
     2/8/16     12:02	  PM      12:17	  PM                                 15 Telecon	  PAS	  re	  citations	  for	  answering	  brief
                                                                                Made	  Edits	  and	  Added	  Citations	  to	  Answering	  
    2/12/16      4:00	  PM        6:30	  PM        2.00                    30 brf
                                                                                Executed	  revisions	  to	  Appellee's	  Brief.	  Also	  
     13-­‐Feb   10:00	  AM        7:45	  PM        9.00                    45 began	  excerpt	  citations.
                                                                                Began	  assembling	  the	  Supplemental	  Excerpt	  
     14-­‐Feb   11:36	  AM        7:51	  PM        8.00                    15 of	  Record.	  
                                                                                Made	  necessary	  edits	  to	  App.	  Brief.	  Marked	  
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     15-­‐Feb   11:18	  AM        5:58	  PM        6.00                    40 draft	  the	  SRE
                                                                                Made	  additional	  edits	  to	  brief.	  Coordinated	  
                                                                                with	  volunteer	  attorneys	  to	  arrange	  site	  visit	  
                                                                                to	  family	  detention	  centers	  in	  Texas	  and	  
     16-­‐Feb    8:20	  AM        8:30	  PM       12.00                    10 Pennsylvania.
                                                                                Telecon	  PAS	  re	  pro	  bono	  
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    2/25/16      9:29	  AM      10:00	  AM                                 30 amicus	  briefs,	  etc.
                                                                                Telecon	  w/	  Chapman	  Noam	  re	  updating	  co-­‐
                                                                                counsel,	  scheduling	  conf	  call	  w/consultants,	  
    2/26/16      3:54	  PM        4:16	  PM                                20 research	  re	  next	  steps
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     4/8/16      4:40	  PM        5:34	  PM                                55 etc.


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                                                                                      (107 of 273)
 Case 2:85-cv-04544-DMG-AGR
           Case: 15-56434, 11/02/2016,
                                Document
                                       ID: 10184263,
                                           351-1 Filed
                                                     DktEntry:
                                                       03/16/1765-2,
                                                                  Page
                                                                     Page
                                                                       10973ofof131
                                                                                 94 Page ID
                                          #:13184



6/2/16    7:57	  PM       8:29	  PM             30 Telecon	  with	  PAS	  re	  9th	  Cir	  argument
6/3/16    1:30	  PM       4:30	  PM      3         Ninth	  Circuit	  Oral	  Argument	  Moot	  Court
6/4/16       11:00        12:00	  PM      1         Conference	  Call	  w/	  Co-­‐Counsel	  -­‐	  Case	  Update



                       Total	  Hours   59.83




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                                                                                     (108 of 273)
Case 2:85-cv-04544-DMG-AGR
          Case: 15-56434, 11/02/2016,
                               Document
                                      ID: 10184263,
                                          351-1 Filed
                                                    DktEntry:
                                                      03/16/1765-2,
                                                                 Page
                                                                    Page
                                                                      11074ofof131
                                                                                94 Page ID
                                         #:13185



                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                        	  
                                    Exhibit 7

                                                                                      71
                                                                                     (109 of 273)
Case 2:85-cv-04544-DMG-AGR
          Case: 15-56434, 11/02/2016,
                               Document
                                      ID: 10184263,
                                          351-1 Filed
                                                    DktEntry:
                                                      03/16/1765-2,
                                                                 Page
                                                                    Page
                                                                      11175ofof131
                                                                                94 Page ID
                                         #:13186



                                    DECLARATION OF ALICE BUSSIERE

            I, Alice Bussiere, declare and say as follows:

            1. I am a staff attorney at the Youth Law Center. The Youth Law Center is a public

     interest law firm that works to protect children in the nation’s foster care and justice

     systems from abuse and neglect, and to ensure that they receive the support and services

     they need to become healthy and productive adults. I execute this declaration in support of

     plaintiffs' motion for an award of attorney's fees pursuant to the Equal Access to Justice Act,

     28 U.S.C. § 2412(d).

            2. I was an attorney for the plaintiff class in Flores v. Johnson, No. CV 85-4544 (C.D.

     Cal.) at the time the class-wide settlement (Settlement) of this matter was negotiated and

     approved by this court. I participated in investigating, filing, and litigating this action, and

     in negotiating the terms of the Settlement. Since that time, I have participated in

     investigating violations of the Settlement and enforcing its terms when my expertise on

     child welfare and related issues was needed.

            3. I have been an attorney since 1974. My legal career has been dedicated to legal

     issues that affect poor children and their families. From 1978 to 1981 I was a lecturer in

     clinical studies and supervising attorney at Yale Law School. My courses included a Mental

     Hospital Clinic, in which we represented children and youth in state mental health facilities,

     and a Children’s Rights clinic. Residents in Psychiatry at the Medical School co-taught our

     seminars and participated as experts in our clinical work to ensure that our advocacy was

     consistent with healthy child development and would actually benefit the children we

     represented. From 1984 to 1997 I was a staff attorney at the National Center for Youth Law,

     which was a national support center for legal services advocates on issues affecting children

     and youth. A substantial portion of my work focused on enforcing federal and state laws

     that protect children in out of home care. From 1997 to 2000 I was managing attorney at the

     Child Care Law Center, where our advocacy included ensuring that child care and

     development programs served the needs of children as well as their working parents. In


                                                                                                72
                                                                                     (110 of 273)
Case 2:85-cv-04544-DMG-AGR
          Case: 15-56434, 11/02/2016,
                               Document
                                      ID: 10184263,
                                          351-1 Filed
                                                    DktEntry:
                                                      03/16/1765-2,
                                                                 Page
                                                                    Page
                                                                      11276ofof131
                                                                                94 Page ID
                                         #:13187



     2000 I joined the Youth Law Center. My practice at the Youth Law Center has focused on

     legal issues that affect children and youth in out of home care. Our work has included

     enforcing licensing standards for children in community care facilities, developing

     detention standards for the Juvenile Detention Alternatives Initiative, helping immigration

     advocates understand the child welfare system, and producing a paper on nonfamily

     (congregate care) placements for children in foster care. A true and correct copy of my

     resume detailing my experience and qualifications is included as Exhibit A to this

     declaration.

            4. My work on this motion has been helping lead counsel frame legal issues, prepare

     negotiating positions, and respond to Defendants’ arguments on issues on which I have

     particular expertise. These issues include widely recognized standards for the detention

     and treatment of children, the importance and purpose of licensing standards, and the

     meaning of terms such as “dependent” in the Settlement. For example, I participated in

     discussions with co-counsel about the application of licensing standards to accompanied

     children, factors that must be taken into consideration when children and parents are

     detained, and responses to the Defendants’ assertions that federal family detention practices

     and standards were consistent with good child welfare practice.

            5. Throughout this litigation, I have maintained contemporaneous records of time I

     have spent on this case. Exhibit B to this declaration sets forth a true and correct itemization

     of this time. I have exercised billing judgment in preparing the attached time records.

            6. The total time I believe is compensable for my work in this matter is 65.2 hours, as

     reflected in the attached itemization.

            I declare under penalty of perjury that the foregoing is true and correct.

            Executed this 30th day of October, 2016, at Princeville, HI.


                                                       s/ Alice Bussiere
                                                      _____________________________
                                                            Alice Bussiere



                                                                                            73
                                                                                     (111 of 273)
Case 2:85-cv-04544-DMG-AGR
          Case: 15-56434, 11/02/2016,
                               Document
                                      ID: 10184263,
                                          351-1 Filed
                                                    DktEntry:
                                                      03/16/1765-2,
                                                                 Page
                                                                    Page
                                                                      11377ofof131
                                                                                94 Page ID
                                         #:13188




                                     Bussiere Declaration

                                          Exhibit A




                                                                                      74
                                                                                     (112 of 273)
Case 2:85-cv-04544-DMG-AGR
          Case: 15-56434, 11/02/2016,
                               Document
                                      ID: 10184263,
                                          351-1 Filed
                                                    DktEntry:
                                                      03/16/1765-2,
                                                                 Page
                                                                    Page
                                                                      11478ofof131
                                                                                94 Page ID
                                         #:13189




   ALICE BUSSIERE

   Youth Law Center
   200 Pine Street, Suite 300
   San Francisco, CA 94104
   Phone: (415) 543-3379
   Fax: (415) 956-9022
   Cell: (808) 631-8967
   Email: abussiere@ylc.org

   EDUCATION

    University of Connecticut, J.D. 1974
     Criminal Clinic, Civil Clinic, Student Public Defenders
    University of Hartford, B.A. 1970

   BAR ADMISSIONS

   1974 Connecticut
   1981 Texas
   1984 California

   EMPLOYMENT

   2000 - present       Youth Law Center, Staff Attorney

   1997-2000            Child Care Law Center, Managing Attorney

   1984-1997            National Center for Youth Law, Staff Attorney

   1981-1984            Texas Legal Services Center, Training Coordinator, 1981; Litigation
                        Coordinator, 1982-1984

   1978-1981            Yale Law School, Supervising Attorney and Lecturer in Clinical
                        Studies. Courses taught: Civil Legal Assistance, Mental Hospital
                        Legal Services, Trial Practice, Child Advocacy.

   1976-1978            New Haven Legal Assistance Association, Inc., Staff Attorney, 1976-
                        1977; Managing Attorney, 1977-1978.

   1974-1976            Waterbury Legal Aid and Reference Service, Inc., Staff Attorney,
                        1974-1975; Senior Attorney, 1975-1976.




                                                                                              75
                                                                                     (113 of 273)
Case 2:85-cv-04544-DMG-AGR
          Case: 15-56434, 11/02/2016,
                               Document
                                      ID: 10184263,
                                          351-1 Filed
                                                    DktEntry:
                                                      03/16/1765-2,
                                                                 Page
                                                                    Page
                                                                      11579ofof131
                                                                                94 Page ID
                                         #:13190




   SELECTED CO-COUNSELED LITIGATION

   Morris v. Harper (Superior Court San Francisco) – Enforcement of order requiring state
   officials to provide licensed in patient care to youth in California juvenile justice facilities.
   Settled.

   ACLU of New Mexico v. Children, Youth and Families Department (First Judicial District
   Court, Santa Fe, New Mexico) – Action to enforce agreement to improve conditions and
   services in state juvenile facilities. Settled.

   Wheeler v. Sanders (Superior Court, Los Angeles) – Petition for writ of mandate to require
   Los Angeles County Department of Children and Families to comply with federal and state
   requirements governing assessment of foster care placements. Settled.

   Higgins v. Saenz (Superior Court, San Francisco) - Petition for writ of mandate to require
   the California Department of Social Services to comply with federal and state requirements
   concerning relative placements for foster children. Settled.

   Warren v. Saenz (Superior Court, San Francisco) – Petition for writ of mandate and
   compliant for injunctive relief to require the California Department of Social Services to
   enforce community care licensing requirements with respect to county operated children’s
   shelters. Writ granted. Remaining claims settled.

   Sinclair Paint Co. v. State Bd. of Equalization, 15 Cal.4th 866 (Cal.1997) – Intervention in
   litigation to uphold authority of legislature to impose fees pursuant to the Childhood Lead
   Poisoning Prevention Act.

   Rene M. v. Anderson (Superior Court, San Francisco) - Petition for writ of mandate
   challenging the failure of the California Department of Social Services to monitor counties
   compliance with federal and state laws concerning foster care and child welfare services.
   Settled.

   Jones-Mason v. Anderson (Superior Court, San Francisco) - Petition for writ of mandate to
   compel the California Department of Social Services to promulgate regulations governing
   congregate care of foster children under the age of six as required by a state law passed
   in 1993. Settled.

   Peterson v. Anderson (Superior Court, Alameda County) - Petition for a writ of mandate,
   contract action, and request for injunctive relief challenging the policies and practices of
   the California Department of Social Services and the Alameda County Social Service
   Agency that automatically reduced adoption assistance benefits for children who receive
   SSI benefits. Settled.

   Barajas v. Belshé (USDC ED CA) - Class action challenging California's failure to provide
   dental sealants in the state Medicaid program as required by federal law governing Early
   and Periodic Screening Diagnosis and Treatment (EPSDT). Settled.

                                                                                                       76
                                                                                     (114 of 273)
Case 2:85-cv-04544-DMG-AGR
          Case: 15-56434, 11/02/2016,
                               Document
                                      ID: 10184263,
                                          351-1 Filed
                                                    DktEntry:
                                                      03/16/1765-2,
                                                                 Page
                                                                    Page
                                                                      11680ofof131
                                                                                94 Page ID
                                         #:13191




   Brown v. Kizer (Superior Court, Alameda County) - Challenge to failure of California
   Department of Health Services to cover medically necessary orthodontic services in the
   state Medicaid program as required by federal law governing Early and Periodic Screening
   Diagnosis and Treatment (EPSDT). Settled.

   Timothy J. v. Chaffee (Superior Court, Los Angeles) - Class action claiming that the
   County of Los Angeles failed to comply with state regulations concerning visitation of
   foster children. Settled.

   Flores v. Reno (USDC CD CA) - Class action, on behalf of children taken into federal
   custody because of their immigration status, challenging bond conditions and conditions of
   confinement. Partially resolved through settlement, 52 Fed. Reg. 15569 (April 29, 1987),
   and litigation, Flores v. Meese, 681 F. Supp. 665 (C. D. Cal. 1988). Original release policy
   enjoined by district court. Amended release policy upheld. Reno v. Flores, 507 U.S. 292
   (1993). Final settlement 1996. Ongoing enforcement.

   Sullivan v. Zebley, 110 S. Ct. 885 (1990) - Amicus briefs in the Court of Appeals for the
   Third Circuit and in the United States Supreme Court in support of the plaintiffs' successful
   challenge to the Social Security Administration's disability standards for children in the
   Supplemental Security Income (SSI) program.

   State ex rel Juv. Dept. v. Geist, 310 Or 176, 796 P.2d 1193 (1990) - Amicus brief in
   support of a parent's right to raise effective assistance of counsel claims on direct appeal
   from a termination of parental rights order.

   In re Welfare of Churape, 719 P. 2d 127 (Wash. App. 1986) - Appeal of order terminating
   father’s parental rights. Court of Appeal reversed because the trial court failed to properly
   examine family reunification factors.

   Lelsz v. Kavanagh, 98 F.R.D. 11 (ED Texas 1982) - Class action to enforce the rights of
   institutionalized persons with retardation to protection from harm and to habilitation in the
   least restrictive setting. Preliminary injunction and settlement.

   Consumers Union, et al v. Texas Department of Human Resources - State court challenge
   to Texas implementation of the Low Income Energy Assistance Program. Settled.

   Sanchez v. Maher, 560 F.2d 1105 (2d Cir. 1977) - Class action to obtain bilingual services
   for Spanish speaking clients of state welfare department. Enforcement of consent decree
   and appeal of enforcement order.

   Banks v. St. Mary's Hospital (USDC Connecticut) - Class action to obtain compliance with
   Hill-Burton requirements that hospitals provide free or reduced cost care for persons
   unable to pay. Settled.




                                                                                                   77
                                                                                     (115 of 273)
Case 2:85-cv-04544-DMG-AGR
          Case: 15-56434, 11/02/2016,
                               Document
                                      ID: 10184263,
                                          351-1 Filed
                                                    DktEntry:
                                                      03/16/1765-2,
                                                                 Page
                                                                    Page
                                                                      11781ofof131
                                                                                94 Page ID
                                         #:13192




   United States v. Board of Education of Waterbury Connecticut, 560 F.2d 1103 (2d Cir.
   1977) - Intervention in Justice Department desegregation suit on behalf Hispanic families.
   Injunction against desegregation plan proposed by Board of Education and injunction
   against relocation of middle school bilingual education program and appeals.

   St. Mary's Hospital v. Torres, 33 Conn. Supp. 201, 370 A. 2d 620 (Conn.Com.Pl. 1976) -
   Truth-in-lending claim upheld against hospital.

   Page v. Welfare Commissioner, 170 Conn, 258, 365 A.2d 1118 (Connecticut 1975) - State
   legally liable relative statute, which treated income of women different than income of men,
   violated state equal rights amendment.




                                                                                             78
                                                                                     (116 of 273)
Case 2:85-cv-04544-DMG-AGR
          Case: 15-56434, 11/02/2016,
                               Document
                                      ID: 10184263,
                                          351-1 Filed
                                                    DktEntry:
                                                      03/16/1765-2,
                                                                 Page
                                                                    Page
                                                                      11882ofof131
                                                                                94 Page ID
                                         #:13193




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   Alice Bussiere, Adoption Assistance: An Introduction, 45 CLEARINGHOUSE REVIEW 107- 115
   (July-August 2011.)

   Jennifer Pokempner, Jennifer Rodriguez, Alice Bussiere, Fostering Connections to
   Success: Extending a Social Safety Net for Youth Facing Homelessness and Poverty, 43
   CLEARINGHOUSE REVIEW 139 – 147 (JULY – AUGUST 2009.)

   Alice Bussiere, Permanence for Older Foster Youth, 44 FAMILY COURT REVIEW 231-243
   (APRIL 2006.)

   Alice Bussiere, Jennifer Pokempner, Jennifer Troia, Adolescents, the Foster Care System,
   and the Transition to Adulthood: What Legal Aid Lawyers Need to Know, 39
   CLEARINGHOUSE REVIEW, 159-170 (JULY-AUGUST, 2005.)

   Sue Burrell and Alice Bussiere, Difficult to Place: Youth With Mental Health Needs in
   California Juvenile Justice (Youth Law Center 2005).

   John E.B. Myers, Karen Grace-Kaho, Alice Bussiere, Jennifer Rodriguez, Jennifer
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   8 U.C. Davis Journal of Juvenile Law & Policy, 267 - 314 (Summer Symposium 2004.)

   Sue Burrell and Alice Bussiere, The Inmate Exception and Its Impact on Health Care
   Services for Children in Out of Home Care in California (Youth Law Center 2002.)

   Stephanie Upp, Chris Palamountain, Alice Bussiere, and Brad Caftel, Child Care and
   Community Economic Development: Critical Roles for Legal Services 34 CLEARINGHOUSE
   REVIEW 3-19 (May-June 2000).

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   and Successes of California Advocates, 4 PUBLIC INTEREST LAW REPORTER 28-31 (March
   1999).

   Alice Bussiere and Roslyn Powell, Welfare Reform and Child Care: Needs of Families
   Living with Domestic Violence, 32 CLEARINGHOUSE REVIEW 385-394 (January-February,
   1999).

   Jo Ann Gong, Alice Bussiere, Jennifer Light, Rebecca Scharf, Marc Cohan, & Sherry
   Leiwant, Child Care in the Postwelfare Reform Era: Analysis and Strategies for Advocates,
   32 CLEARINGHOUSE REVIEW 373-384 (January-February, 1999).




                                                                                              79
                                                                                     (117 of 273)
Case 2:85-cv-04544-DMG-AGR
          Case: 15-56434, 11/02/2016,
                               Document
                                      ID: 10184263,
                                          351-1 Filed
                                                    DktEntry:
                                                      03/16/1765-2,
                                                                 Page
                                                                    Page
                                                                      11983ofof131
                                                                                94 Page ID
                                         #:13194




   Alice Bussiere, Child Care for TANF Families: New Block Grant Funds, No Guarantee, XIX
   YOUTH LAW NEWS 1 (March-April, 1998).

   Alice Bussiere, The Development of Adoption Law, 1 ADOPTION QUARTERLY 3 (Haworth
   Press 1998).

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   FEDERAL LAWS ON CONFIDENTIALITY AND DISCLOSURE OF INFORMATION FOR CHILD WELFARE
   AGENCIES (ABA Center on Children and the Law 1997).

   Alice Bussiere and Elizabeth Oppenheim, Adoption: Where Do Relatives Stand? Child
   Welfare (September/October 1996).

   Alice Bussiere and Ellen Segal, Adoption Assistance for Children with Special Needs in
   ADOPTION LAW AND PRACTICE (Hollinger, ed. 1994 & 1996 supp.).

   Alice Bussiere, Joe Kroll, and Charlotte Vick, Ensuring Permanence for Children: The
   Collaborative Court Education Project in CURRENT ISSUES IN PEDIATRIC LAW (National
   Association of Counsel for Children 1993).

   Alice Bussiere, Data as the Foundation for Advocacy. Paper presented at the United
   States Public Health Service Conference, LOOK MA -- CAVITIES STILL! A WORKSHOP ON
   PROMOTING THE ORAL HEALTH OF MOTHERS AND CHILDREN THROUGH NEEDS ASSESSMENT AND
   PUBLIC POLICY DEVELOPMENT in San Francisco, June 1993.

   Alice Bussiere, Henry Freedman, Dan Manning, Lisa Mihaly, and James Morales,
   Homeless Women and Children, 24 CLEARINGHOUSE REVIEW 431 (Special Issue 1991).

   Joan Hollinger and Alice Bussiere, The Child's Rights in Foster Care and Adoption in
   CHILDREN'S RIGHTS IN AMERICA: U.N. CONVENTION ON THE RIGHTS OF THE CHILD COMPARED
   WITH UNITED STATES LAW (American Bar Association and Defense for Children International
   - USA 1990).

   Alice Bussiere, Implementation of P.L. 96-272: Adoption Assistance, in THE ADOPTION
   ASSISTANCE AND CHILD WELFARE ACT OF 1980: THE FIRST TEN YEARS (North American
   Council on Adoptable Children 1990).

   Alice Bussiere, Legal Issues in the Adoption of Children with Handicaps in FORMED
   FAMILIES: ADOPTION OF CHILDREN WITH HANDICAPS (Glidden, ed. 1990).

   Alice Bussiere, Congress Eliminates Discrimination Against Adopted Children in the Social
   Security Program, 24 CLEARINGHOUSE REVIEW 119 (June 1990).

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                                                                                            80
                                                                                     (118 of 273)
Case 2:85-cv-04544-DMG-AGR
          Case: 15-56434, 11/02/2016,
                               Document
                                      ID: 10184263,
                                          351-1 Filed
                                                    DktEntry:
                                                      03/16/1765-2,
                                                                 Page
                                                                    Page
                                                                      12084ofof131
                                                                                94 Page ID
                                         #:13195




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   Families with Children in LEGAL ADVOCACY FOR CHILDREN AND YOUTH: REFORMS, TRENDS,
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   NOTE: Recent Improvements in Foster Care and Adoption Assistance Programs, 20
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   NEEDS: ISSUES IN LAW AND POLICY (E. Segal, ed., 1985).

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   Attorneys, 19 CLEARINGHOUSE REVIEW 565 (1985).

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                                                                                          81
                                                                                     (119 of 273)
Case 2:85-cv-04544-DMG-AGR
          Case: 15-56434, 11/02/2016,
                               Document
                                      ID: 10184263,
                                          351-1 Filed
                                                    DktEntry:
                                                      03/16/1765-2,
                                                                 Page
                                                                    Page
                                                                      12185ofof131
                                                                                94 Page ID
                                         #:13196




                                     Bussiere Declaration

                                          Exhibit B




                                                                                      82
                                                                                   (120 of 273)
    Case 2:85-cv-04544-DMG-AGR
           Case: 15-56434, 11/02/2016,
                                   Document
                                       ID: 10184263,
                                              351-1 DktEntry:
                                                     Filed 03/16/17
                                                               65-2, Page
                                                                     Page86
                                                                          122
                                                                            ofof
                                                                              94131 Page ID
                                             #:13197


                                  Flores First Motion to Enforce Settlement Agreement


                       Activity                                            Memo/Description                                               Duration
Ms. Alice Bussiere
                     11/6/2014      Conference call with co-counsel re factual investigation and legal claims                                   0.8
                     11/10/2014     Review of research and memo to co-counsel re licensing standards                                            0.3
                     11/12/2014     Factual investigation, telephone call with local advocate                                                   0.2
                     11/20/2014     Research licensing standards                                                                                1.2
                     12/2/2014      Conference call with Elena Garcia re licensing standards and settlement agreement history;                  0.9
                     12/4/2014      Communications with co-counsel re experts                                                                   0.2
                     12/5/2014      Communications with co-counsel and research re experts                                                      0.3
                     12/8/2014      Research and communication with co-counsel re experts and co-counsel conference calls                       0.3
                     12/10/2014     Telephone call with potential expert, communication with co-counsel re expert.                              0.4
                     12/10/2014     Conference call with co-counsel and potential expert                                                        0.5
                     1/6/2015       Consultation with local advocate re Flores requirements                                                     0.2
                     1/12/2015      Review of expert declaration                                                                                0.3
                     1/13/2015      Review communications with co-counsel re meet and confer                                                    0.2
                     1/15/2015      Communications with co-counsel re meet and confer                                                           0.2
                     1/16/2015      Communications with co-counsel and defendants' counsel re outstanding issues and meet and                   0.3
                     1/19/2015      Communications with co-counsel re meet and confer                                                           0.1
                     1/23/2015      Review and comment on draft motion to enforce                                                               2.3
                     1/26/2015      Review draft motion to enforce                                                                              0.3
                     1/26/2015      Conference call with co-counsel re Motion to Enforce, issues and logistics of finalizing and filing         0.8
                     1/28/2015      Review and comment on draft motion to enforce                                                               0.3
                     2/11/2015      Review and comment on draft proposed order                                                                  0.4
                     2/19/2015      Review and comment on letter re disclosures                                                                 0.3
                     2/28/2015      Review Motion to Amend and Attachments, Opposition and Attachments                                          1.1
                     3/2/2015       Conference call with co-counsel re: Motion to Modify Consent Decree and Opposition to Motion                0.9
                     3/4/2015       Review and comment on draft Opposition to Motion to Modify Consent Decree                                   0.5
                     3/6/2015       Review and comment on draft Opposition to Motion to Modify Consent Decree                                   0.4
                     3/8/2015       Review draft reply to opposition to motion to enforce                                                         1
                     3/9/2015       Research re opposition to Motion to Enforce                                                                 1.2
                     3/11/2015      Draft declaration re use of "dependent"                                                                     1.7
                     3/11/2015      Preparing declaration re original settlement agreement and dependent children                               0.7
                     3/12/2015      Review and comment on Reply to Motion to Enforce Settlement.                                                0.5
                     3/17/2015      Review supplemental responses                                                                               0.3
                     3/25/2015      Review file, research, draft questions and issues for oral argument                                         0.9
                     3/25/2015      Review declarations in RILR and comment                                                                     0.3
                     3/30/2015      Review emails re supplemental evidence                                                                      0.1
                     4/2/2015       Review emails re supplemental evidence                                                                      0.2
                     4/15/2015      Review proposed declarations and communications re additional evidence                                      0.2
                     4/24/2015      Review notes for oral argument and comment                                                                  1.1
                     4/25/2015      Review tentative ruling and emails re oral argument                                                         0.3
                     4/29/2015      Communications re meet and confer                                                                           0.1
                     5/1/2015       Conference call with attorneys for class members re current facts and proposed demands;                     1.3
                     5/1/2015       Review emails re meet and confer and tentative ruling                                                       0.2
                     5/4/2015       Communications with co-counsel re meet and confer                                                           0.2
                     5/4/2015       Communication with co-counsel re tentative ruling and meet and confer/settlement                            0.2
                     5/6/2015       Review communications with co-counsel and proposed order re confidentiality                                 0.2
                     5/11/2015      Communications with co-counsel re meet and confer                                                           0.2
                     5/12/2015      Review USCIS data re reasonable fear determinations                                                         0.1
                     5/22/2015      Review of child abuse reporting and response proposal                                                       0.2
                     5/22/2015      Communication with co-counsel re settlement proposal                                                        0.1
                     5/23/2015      Review proposed settlement agreement and comment                                                            0.9
                     5/23/2015      Review proposed settlement documents                                                                        0.7
                     5/25/2015      Review proposed stipulation and correspondence. Communication with co-counsel.                              0.3
                     6/3/2015       Review and comment on child abuse proposal                                                                    1
                     6/5/2015       Review and comment on child abuse proposal, communications with co-counsel                                  0.4
                     6/5/2015       Review emails among co-counsel re proposed settlement                                                       0.4
                     6/11/2015      Communications with co-counsel re tentative ruling.                                                         0.1
                     6/22/2015      Review summary of negotiations and proposed next steps                                                      0.1
                     6/23/2015      Review settlement proposal and report from co-counsel re settlement negotiations.                           0.2
                     6/25/2015      Conference call with co-counsel re settlement negotiations.                                                 1.4
                     6/29/2015      Review and comment on proposed stipulation.                                                                   2
                     6/29/2015      Draft comments on proposed stipulation.                                                                     0.9
                     6/30/2015      Conference call with co-counsel re settlement proposal, task assignment, next steps                         1.2
                     6/30/2015      Review comments of co-counsel re settlement, next steps, task assisgment                                    0.3
                     7/1/2015       Review comments from consultants, data and research. Communications with co-counsel re                      0.8
                     7/1/2015       Review proposed stipulation to extend meet and confer and comment                                           0.2
                     7/7/2015       Review research, materials, draft re settlement offer                                                       0.3
                     7/8/2015       Review proposed order and draft comments, communications with co-counsel re settlement                      0.6
                     7/10/2015      Conference call with co-counsel and consultants re settlement proposal.                                     1.5
                     7/12/2015      Review proposed settlement and order and comments from co-counsel; draft comments                           0.6
                     7/13/2015      Draft comments on settlement proposal                                                                       0.2




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                                                                                   (121 of 273)
    Case 2:85-cv-04544-DMG-AGR
           Case: 15-56434, 11/02/2016,
                                   Document
                                       ID: 10184263,
                                              351-1 DktEntry:
                                                     Filed 03/16/17
                                                               65-2, Page
                                                                     Page87
                                                                          123
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                                                                              94131 Page ID
                                             #:13198


                      7/13/2015    Conference call with co-counsel and consultants re settlement proposal                                  2.4
                      7/14/2015    Review recent draft of settlement agreement                                                             0.1
                      7/15/2015    Draft comment on proposed order                                                                         0.2
                      7/15/2015    Review proposed order and comments                                                                      0.4
                      7/15/2015    Review current drafts of settlement proposal and comments                                               0.4
                      7/16/2015    Review communications from co-counsel re settlement discussions and draft proposed order                0.2
                      7/20/2015    Communications with co-counsel re proposed order                                                        0.1
                      7/20/2015    Conference call with co-counsel re proposed order.                                                      0.8
                      7/20/2015    Research (b)(2) class relief.                                                                           0.6
                      7/20/2015    Review proposed order and communications re settlement, proposed order, and current facts.              0.7
                      7/21/2015    Review proposed order and comment.                                                                      0.1
                      7/22/2015    Review lodged proposed order                                                                            0.2
                      7/24/2015    Review and forward information on family shelters                                                       0.1
                      7/24/2015    Review court ruling                                                                                     0.2
                      7/27/2015    Conference call with co-counsel re follow up to order to show cause.                                    0.1
                      7/31/2015    Review ex parte application for extension of time to respond to OSC                                     0.1
                      7/31/2015    Review draft response to application for extension of time and comment                                  0.1
                      8/8/2015     Review Defendants' Response to OSC                                                                      1.2
                      8/11/2015    Review Response to OSC and analyses of co-counsel; research detention provisions                        2.4
                      8/24/2015    Review ruling                                                                                           0.2
                      8/24/2015    Conference call with advocates                                                                          1.9
                      8/25/2015    Conference call with PA advocates                                                                       1.2
                      9/9/2015     Review report about situation in PA                                                                     0.1
                      9/21/2015    Review email from co-counsel re status of case, U S Commission on Civil Rights report, facts in         0.4
                      10/22/2015   Review information about Flores facilities and licensing status                                         0.2
                      10/23/2015   Communications re current fact situations                                                               0.2
                      10/26/2015   Investigation of facts and research re local facility                                                   0.3
                      10/27/2015   Investigation and communication with co-counsel re local facilities                                     0.4
                      11/10/2015   Review Texas v USA (5th Cir)                                                                            0.6
                      11/30/2015   Communications with co-counsel re motion to expedite appeal                                             0.3
                      12/1/2015    Conference call with co-counsel re appeal and extension of time, research rules, memo to file           0.9
                      12/2/2015    Communications with co-counsel re motion to expedite appeal, tasks                                      0.4
                      12/4/2015    Review motion to expedite, memo to co-counsel                                                           0.3
                      12/7/2015    Communication with co-counsel re motion to expedite                                                     0.2
                      12/7/2015    Review materials and prepare for conference call with co-counsel                                        0.3
                      12/7/2015    Conference call with co-counsel re motion to expedite and appeal issues                                   1
                      12/10/2015   Review materials and communications re motion to expedite                                               0.1
                      12/16/2015   Prepare for conference call; co-counsel conference call re appeal arguments and tasks.                  1.2
                      1/18/2016    Review Appellants' brief                                                                                0.9
                      1/18/2016    Review Appellants brief                                                                                 1.4
                      1/27/2016    Review draft appeal brief and file materials and comment                                                1.9
                      1/28/2016    Telephone call with co-counsel re appellate issues                                                      0.3
                      7/6/2016     Review Ninth Circuit decision                                                                           0.3
                      7/7/2016     Review email exchange re discovery, Ninth Circuit decision, schedule                                    0.1
                      7/8/2016     Review letter to Government re discovery, Ninth Circuit decision, Motion to Enforce                     0.1
                      9/18/2016    Review time records and resume for attorneys fee motion                                                 0.5

Total for Ms. Alice                                                                                                                       65.2




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                                                                                     (122 of 273)
Case 2:85-cv-04544-DMG-AGR
          Case: 15-56434, 11/02/2016,
                               Document
                                      ID: 10184263,
                                          351-1 Filed
                                                    DktEntry:
                                                      03/16/1765-2,
                                                                 Page
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Case 2:85-cv-04544-DMG-AGR
          Case: 15-56434, 11/02/2016,
                               Document
                                      ID: 10184263,
                                          351-1 Filed
                                                    DktEntry:
                                                      03/16/1765-2,
                                                                 Page
                                                                    Page
                                                                      12589ofof131
                                                                                94 Page ID
                                         #:13200

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2                                DECLARATION OF VIRGINIA CORRIGAN
3           I, Virginia Corrigan, declare and say as follows:
4           1. I execute this declaration in support of plaintiffs' motion for an award of attorney's
5    fees pursuant to the Equal Access to Justice Act, 28 U.S.C. § 2412(d).
6           2. I am an attorney who is of counsel to the plaintiffs in this action. I am employed as
7    a staff attorney by the Youth Law Center (YLC), a non-profit, public interest law firm that
8    works to protect the rights of children and youth in the nation’s foster care and juvenile
9    justice systems from abuse and neglect. A true and correct copy of my resume detailing my
10   experience and qualifications is included as Exhibit A to this declaration.
11          2. Throughout this litigation, I have maintained contemporaneous records of time I
12   have spent on this case. Exhibit B to this declaration sets forth a true and correct itemization
13   of this time. I have exercised billing judgment in preparing the attached time records.
14          6. The total time I believe compensable for my work in this matter is 116.18 hours, as
15   reflected in the itemization included as Exhibit B to this declaration.
16          I declare under penalty of perjury that foregoing is true and correct to the best of my
17   knowledge.
18          Executed this 2nd day of November, 2016, at Oakland, California.
19

20                                             /s/ ______________________________________
21                                             Virginia Corrigan

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Case 2:85-cv-04544-DMG-AGR
          Case: 15-56434, 11/02/2016,
                               Document
                                      ID: 10184263,
                                          351-1 Filed
                                                    DktEntry:
                                                      03/16/1765-2,
                                                                 Page
                                                                    Page
                                                                      12690ofof131
                                                                                94 Page ID
                                         #:13201




                                     Corrigan Declaration

                                          Exhibit A




                                                                                      87
                                                                                     (125 of 273)
Case 2:85-cv-04544-DMG-AGR
          Case: 15-56434, 11/02/2016,
                               Document
                                      ID: 10184263,
                                          351-1 Filed
                                                    DktEntry:
                                                      03/16/1765-2,
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Case 2:85-cv-04544-DMG-AGR
          Case: 15-56434, 11/02/2016,
                               Document
                                      ID: 10184263,
                                          351-1 Filed
                                                    DktEntry:
                                                      03/16/1765-2,
                                                                 Page
                                                                    Page
                                                                      12892ofof131
                                                                                94 Page ID
                                         #:13203




                                     Corrigan Declaration

                                          Exhibit B




                                                                                      89
                                                                                     (127 of 273)
Case 2:85-cv-04544-DMG-AGR
          Case: 15-56434, 11/02/2016,
                               Document
                                      ID: 10184263,
                                          351-1 Filed
                                                    DktEntry:
                                                      03/16/1765-2,
                                                                 Page
                                                                    Page
                                                                      12993ofof131
                                                                                94 Page ID
                                         #:13204


                                      Flores First Motion to Enforce Settlement Agreement


                           Activity                                              Memo/Description                                              Duration
Ms. Virginia Corrigan
                         9/16/2014      Research potential contacts at Berks and email inquiries                                                      0.4
                         9/23/2014      Phone interview w/Joe Cackley at PIRC re: Berks                                                                 1
                         10/8/2014      Set up/coordinate phone call with local attorneys and Flores counsel re: Berks                                0.2
                         10/31/2014     Phone interview with Bridget Cambria, Jackie Cline, and Carol Anne Donohoe re: Berks                            1
                         10/31/2014     Draft advocate declarations for Cambria and Donohoe re: Berks                                                1.75
                         12/12/2014     Review draft enforcement motion                                                                              0.25
                         12/12/2014     Flores enforcement motion team conference call                                                                  1
                         1/23/2015      Review draft enforcement motion and make edits                                                               1.75
                         3/2/2015       Coordinating call with Flores team to discuss response/reply briefs                                             1
                         3/2/2015       Review response brief and motion to amend                                                                    1.25
                         3/3/2015       Review background documents on Flores litigation                                                             1.67
                         3/4/2015       Review reports on push/pull factors for inclusion in opposition to modify                                     0.5
                         3/5/2015       Review and edit draft response to motion to modify                                                           2.67
                         3/12/2015      Review and edit draft reply brief                                                                               1
                         3/14/2015      Review government opposition to objections                                                                    0.5
                         3/25/2015      Review RILR motion for reconsideration and supporting exhibits                                                1.5
                         3/27/2015      Review defendant's supplemental exhibits                                                                     1.25
                         4/9/2015       Send follow up emails to Cambria and Donohoe on declarations                                                 0.25
                         4/10/2015      Review Cambria response, ask follow-up questions, pass to team for next steps                                0.42
                         4/14/2015      Review and follow up on email from Carol Anne Donohoe                                                        0.17
                         4/18/2015      Draft updated Cambria and Donohoe decs, review info sent by attorneys, circulate decs                         1.5
                         4/27/2015      review emails re: hearing, meet and confer                                                                   0.25
                         4/29/2015      review and circulate revised Cambira and Donohoe decs                                                        0.33
                         5/7/2015       review settlement, tentative order, motions, and settlement priorities document to prepare for                  1
                         5/7/2015       Plaintiff counsel call to strategize for settlement                                                          1.75
                         5/8/2015       Plaintiff counsel call to strategize for settlement                                                           1.5
                         5/8/2015       prep for call by creating list of settlement priorities, suggestions, and concerns                           1.25
                         5/8/2015       review documents, statistics, notes circulated after settlement prep call                                    1.75
                         5/11/2015      settlement discussions with defense counsel                                                                  3.25
                         5/15/2015      Conference call with Flores counsel to prepare for settlement discussions                                    1.75
                         5/25/2015      review proposed abuse reporting guidelines                                                                      1
                         6/16/2015      prep for strategy call                                                                                        0.5
                         6/16/2015      Conference call with counsel to discuss settlement negotiations                                              1.33
                         6/25/2015      Call to discuss strategy after Peter met with gov                                                            1.25
                         6/25/2015      review emails updating on settlement negotiations                                                            0.25
                         6/30/2015      review government settlement offer                                                                            0.5
                         6/30/2015      Counsel call to discuss next steps after offer                                                               1.25
                         7/8/2015       review proposed order draft                                                                                  0.58
                         7/9/2015       call with consultants to discuss strategy re: continued settlement discussions                               0.25
                         7/13/2015      Counsel call on next steps and proposed order                                                                2.33
                         7/27/2015      strategy call with counsel                                                                                   0.83
                         8/7/2015       review gov. motion to reconsider and attached filings                                                         2.5
                         8/13/2015      review respons to motion to reconsider                                                                        0.5
                         8/25/2015      call with Berks advocates re: possible next steps, current conditions                                        0.67
                         12/7/2015      call w/team to discuss strategy and tasks for 9th Cir. Appeal, planned motion to enforce                        1
                         12/10/2015     review and edit motion to expedite in 9th Cir.                                                                1.5
                         12/16/2015     call with counsel                                                                                               1
                         1/29/2016      counsel call to prepare for enforcement visit -- assignments, logistics, etc.                                0.75
                         1/31/2016      travel from Oakland, CA to McAllen, TX for facility visits                                                     12
                         2/1/2016       visits to McAllen and Ursula stations -- tour of stations, Q&A with officials, interviews and                   6
                         2/1/2016       travel from McAllen, TX to Dilley, TX                                                                         4.5
                         2/2/2016       visit to Dilley facility -- facility tour approx. 1.5 hours, interviewing and taking declarations of         10.5
                         2/2/2016       travel from Dilley, TX to Karnes City, TX                                                                    1.75
                         2/3/2016       visit to Karnes facility -- tour of facility, interviewing and taking declarations of detained                 10
                         2/3/2016       travel from Karnes City, TX to San Antonio, TX                                                                  1
                         2/4/2016       travel from San Antonio, TX to Oakland, CA                                                                      8
                         2/9/2016       review, cite check, and spot edits of 9th cir. response brief                                                5.25
                         2/12/2015      review, cite check, and spot edits of 9th cir. response brief                                                 2.5
                         6/3/2016       moot for 9th Cir. Oral argument                                                                              2.83
Total for Ms. Virginia
                                                                                                                                                 116.18




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                                                                                     (128 of 273)
Case 2:85-cv-04544-DMG-AGR
          Case: 15-56434, 11/02/2016,
                               Document
                                      ID: 10184263,
                                          351-1 Filed
                                                    DktEntry:
                                                      03/16/1765-2,
                                                                 Page
                                                                    Page
                                                                      13094ofof131
                                                                                94 Page ID
                                         #:13205



                              CERTIFICATE OF SERVICE

          I hereby certify that on November 2, 2016, I electronically filed the

    foregoing EXHIBITS IN SUPPORT OF PLAINTIFF’S MOTION FOR

    ATTORNEY’S FEES UNDER THE EQUAL ACCESS TO JUSTICE ACT

    VOLUME 1 with the Clerk of the Court for the United States Court of Appeals

    for the Ninth Circuit by using the appellate CM/ECF system. I certify that all

    participants in the case are registered CM/ECF users and that service will be

    accomplished by the appellate CM/ECF system.


                                By: /s/_Peter Schey____


                                    Attorney for Plaintiffs-Appellees




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Case 2:85-cv-04544-DMG-AGR Document 351-1 Filed 03/16/17 Page 131 of 131 Page ID
                                  #:13206

1
2                                    CERTIFICATE OF SERVICE

3          I, Peter Schey, declare and say as follows:
4
           I am over the age of eighteen years of age and am a party to this action. I am
5
6    employed in the County of Los Angeles, State of California. My business address is
7    256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.  
8
           On March 16, 2017 I electronically filed the following document(s):
9
10      •   EXHIBIT A - MOTION FOR ATTORNEYS’ FEES AND COSTS UNDER THE EQUAL
            ACCESS TO JUSTICE ACT AND EXHIBITS IN SUPPORT OF MOTION [PART 1 OF 2]
11
12   with the United States District Court, Central District of California by using the
13
     CM/ECF system. Participants in the case who are registered CM/ECF users will be
14
     served by the CM/ECF system.
15
16
                                                  /s/__Peter Schey_____
17
                                                  Attorney for Plaintiffs
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